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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )
                                   )
TRIBUNE COMPANY,                   )      Chapter 11
                                   )
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 11, 2011
                                   )      9:30 a.m.


                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE


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                                                                              14
 1   WILMINGTON, DELAWARE, FRIDAY, MARCH 11, 2011, 9:34 A.M.

 2              THE CLERK:    Be seated, please.

 3              THE COURT:    Good morning, everyone.

 4              ALL:     Good morning, Your Honor.

 5              THE COURT:    Ready with your first witness?

 6              MR. BENDERNAGEL:      Yes, we are, Your Honor.          And

 7   my partner, Colleen Kenney will be presenting Mr. Mandava.

 8   I'll ask Mr. Mandava to come up and take the witness stand

 9   and Ms. Kenney can take over the podium if that's okay.

10              THE COURT:    Very well.

11              MS. KENNEY:     Colleen Kenney for the debtors.

12   Good morning.

13              THE COURT:    Good morning.

14              MS. KENNEY:     Good morning, Mr. Mandava.

15              MR. MANDAVA:     Good morning.

16              THE COURT:    Please stand and be sworn.

17   SUNEEL MANDAVA, DEBTORS' WITNESS, SWORN

18              MS. KENNEY:     Your Honor, may approach to hand out

19   witness binders?

20              THE COURT:    You may.

21              MS. KENNEY:     Thank you.

22              THE COURT:    Thank you.

23                           DIRECT EXAMINATION

24   BY MS. KENNEY:

25   Q     Mr. Mandava, where are you currently employed?
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                                                                        15
 1   A     Lazard Freres.

 2   Q     How long have you worked at Lazard?

 3   A     I've been there since 2003, so about eight years now.

 4   Q     And what is your current position at Lazard?

 5   A     I'm a director in the financial restructuring group.

 6   Q     And generally, what type of work does Lazard do?

 7   A     Lazard is a global investment bank that provides

 8   investment banking and asset management services.

 9   Q     What industries does Lazard serve?

10   A     Lazard covers a broad range of industries in the

11   investment banking side.     Of course we have a media and

12   telecom practice.    We also have all the other major

13   industries you'd expect, financial services, power and

14   energy, et cetera.

15   Q     Where did you work before you began at Lazard?

16   A     I spent my time at a portfolio company of Capital Z

17   Partners called USI Holdings.       And prior to that, at Capital

18   Z Partners, a private equity fund.

19   Q     And were you anywhere prior to that?

20   A     Prior to that, I spent three years in investment

21   banking doing mergers and acquisitions work at two other

22   investments banks.

23   Q     And how long have you been working in this field?

24   A     I've been spending -- I've had fifteen years

25   cumulatively working in a corporate finance capacity.
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                                                                           16
 1   Q        And where did you go to school for college?

 2   A        I went to the University of Pennsylvania, the Wharton

 3   School.

 4   Q        What are your degree -- what is your degree?

 5   A        I have a bachelors of science in economics with

 6   concentrations in finance, accounting, and statistics.

 7                 MS. KENNEY:     Your Honor, I'm just going to mark

 8   so that we -- for ease as we go through this and for

 9   everyone else, the demonstratives that are in your binder as

10   a group exhibit, DCL Exhibit 1485.            So we know what we're

11   referring to.

12                 THE COURT:    All right.

13   BY MS. KENNEY:

14   Q        Mr. Mandava have -- is the first slide, the first page

15   on your demonstrative exhibits is that your CV?

16   A        Yes, it is.

17   Q        And have you worked on restructurings in the last

18   fifteen years?

19   A        Yes, I've been in the financial restructuring group I

20   guess since 2003 and I've worked on a variety of

21   restructuring matters since then.

22   Q        Could you give us just a brief description of the type

23   of restructuring work that you've done over the last eight

24   years?

25   A        Yeah, the second page of my CV, I believe actually
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 1   summarizes the range of clients that I've advised most

 2   recently before Tribune, the Telephone Company of Hawaii for

 3   instance.    There was movie galleries and other company

 4   people may have heard of.        I was before this Court in the

 5   matter of New Century Financial.

 6   Q     Could you give just a brief description of the type of

 7   restructuring work you've done over the last eight years?

 8   A     Yeah.    As is the case in most of the companies we

 9   advise, we cover a broad range of topics, all the ones that

10   you'd expect in restructuring advisory.            Everything from

11   plan development negotiation to valuation, of course, and

12   debt capacity.

13   Q     Have you done valuation in your work?

14   A     Absolutely.

15   Q     And could you give us some, excuse me, could you

16   provide us a description of the type of valuation work

17   you've performed?

18   A     Yes.     In most of the cases on the restructuring side,

19   we are engaged to value or assess the distributable value of

20   the debtors.

21   Q     Have you done valuation work outside of the

22   restructuring context?

23   A     Yes.     At Lazard, I was involved in Lazard's IPO which

24   involved the assessment of Lazard's value.             And prior to

25   that at USI Holdings I was the lead in that IPO.              Prior to
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 1   that in Capital Z Partners, I was involved in seven

 2   completed investments where we had to value those

 3   businesses.    And then prior to that as an MNA banker, I was

 4   involved in a number of completed MNA transactions where a

 5   critical aspect of those transactions was valuing the target

 6   business.

 7   Q     And does Page 2 of your CV, does that list the

 8   valuation work you did while you were at Lazard with the

 9   checkmarks under the valuation column?

10   A     Yes.    These would be all the debtors for which I've

11   been involved in doing some valuation work.

12   Q     Have you ever submitted an expert report to a Court

13   before?

14   A     Yes, I have.

15   Q     And was that the Hawaiian Telecoms you mentioned

16   earlier?

17   A     Yes, it was.

18   Q     What was the topic of that expert report?

19   A     In that matter, I was an expert testifying the

20   valuation of warrants that were provided as part of the

21   consideration in the plan.

22   Q     Did you -- I'm sorry.      Did you testify in that matter?

23   A     I did.

24   Q     Were you qualified as a valuation expert in that

25   matter?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 19 of 258
                                                                            19
 1   A     I was.     Valuation, clearly, has been a component part

 2   of the experience I've had over the last fifteen years.

 3                 MS. KENNEY:    I'd like to proffer the witness as

 4   an expert in valuation and reorganization.

 5                 THE COURT:    Is there any objection?

 6                 MR. QURESHI:   No objection, Your Honor.

 7                 THE COURT:    You may proceed accordingly.

 8   BY MS. KENNEY:

 9   Q     Mr. Mandava, when did you first become involved with

10   the work that Lazard did for Tribune?

11   A     Lazard was engaged in approximately November 2008 and

12   I was part of the team from that day forward.

13   Q     Could you give us just a brief overview of the type of

14   work you've done for Tribune since November of 2008?

15   A     Yeah.    Since I would say the summer of 2010, I've been

16   the lead investment banker in much of the valuation work

17   that's been performed here.      I've done so additional work in

18   preliminary assessments of debt capacity and then other

19   strategic considerations and opportunities the company has

20   been evaluating.

21   Q     Let's take a look at Slide 3, please.            You said that

22   part of the work that you did was valuation related for

23   Tribune, right?

24   A     That's correct.

25   Q     Okay.    And could you just discuss briefly the type of
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 20 of 258
                                                                             20
 1   valuation specific or some of the work you've done for

 2   Tribune.

 3   A     Well, what I like about Slide 3 here is it sets up

 4   some of the key milestones of the valuation work we've been

 5   doing since the 2010 timeframe.        And it really puts in

 6   context the discussion we're about to have today.

 7   Q     So the first thing we see here is the March valuation

 8   report.    What was the March valuation report?

 9   A     Well, the March valuation report was prepared in

10   connection with the June 2010 disclosure statement.                And at

11   that point in time, we had arrived at a valuation estimate

12   of $6.1 billion.

13   Q     Okay     And then there's an October valuation report

14   listed here.    What was your involvement in the October

15   valuation done by Lazard?

16   A     As I had mentioned before towards the summer of 2010,

17   I became the lead investment banker in preparing the

18   evaluation work.    And in the October -- for purposes of the

19   December 2010 joint disclosure statement, we arrived at our

20   conclusion of valuation and that's the $6.75 billion that

21   people have been discussing.

22   Q     And then you also have a January valuation supplement

23   listed on Slide 3.    What was your involvement in the January

24   valuation supplement work?

25   A     Again, I was the lead person from the Lazard side
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 21 of 258
                                                                           21
 1   conducting that work.    And as you'd expect, as we were

 2   approaching the confirmation hearing, we took -- we

 3   undertook an effort to validate the reasonableness of our

 4   October valuation report and so we took another look at the

 5   valuation for the debtors.

 6   Q     Did you reach a conclusion about the reasonableness of

 7   your October valuation report?

 8   A     Yes.   The January work that we conducted which took

 9   into consideration all the current market information and

10   current company financial information available to us at

11   that time confirmed the reasonableness of the valuation we

12   arrived at in our October report.

13   Q     Can you provide the Court with a brief overview of the

14   valuation methodology that you used to value the debtors and

15   your work that you've performed?

16   A     Well, if we turn to Page 4 and the slides, I think

17   this actually frames it quite nicely.             And I really like

18   going through this slide because it really simplifies

19   exactly what we've done here and breaks down our valuation

20   into its three component parts.        There really is a valuation

21   of the core business, the operations that this company owns,

22   operates, controls.    As we all know, that's a publishing

23   business and broadcasting business.         We add to that the

24   column entitled non-controlled investments.             And that would

25   the value of the company's minority investments.              And
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 22 of 258
                                                                           22
 1   finally, we add to that the cash that exists in this

 2   company.    And those three components comprise the

 3   distributable value of this debtor.

 4                MS. KENNEY:   Your Honor, we're going to come back

 5   to this page and we have a demonstrative blowup that I'd

 6   like to have put up on the easel if that's -- and Joe, would

 7   you mind?   Thank you.

 8   BY MS. KENNEY:

 9   Q       Is this methodology a sum of the parts methodology?

10   A       It is.   With respect to valuing the core business, we

11   used the sum of the parts methodology.

12   Q       And why did you use the sum of the parts methodology?

13   A       Well, the sum of the parts methodology allows us to

14   have the benefit of looking at the component parts or

15   distinguishable parts of the business when the marketplace

16   arise at valuation of them differently.           And in this case,

17   the market assesses value for the publishing industry

18   distinctly from the way it arises at valuation for the

19   broadcasting industry.     And so we believe we are able to

20   arrive at a more informed or more accurate assessment of

21   value by looking at the component parts.

22   Q       And let's take a look at Slide 4.         What was in your

23   opinion is the value of the Tribune's publishing business?

24   A       Well, that would be the bar all the way towards the

25   left.   And we arrived at point estimate of $960 million
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 23 of 258
                                                                        23
 1   approximately in a range of $900 to $1 billion

 2   approximately.

 3   Q     And what about the broadcasting business?

 4   A     The broadcasting business, the bar next over is a $2.6

 5   billion valuation roughly with a range of approximately $2.4

 6   to $2.8.

 7   Q     And what are -- the next bar it says other wholly

 8   owned -- it says other wholly owned owned, but other wholly

 9   owned assets.    What are the Tribune's other wholly owned

10   assets?

11   A     The primary asset there is Tribune Media Services, but

12   we also include a smaller asset called for sale by owner.

13   Q     And in your opinion, what is the value of the

14   Tribune's other wholly owned assets?

15   A     Approximately $200 million.

16   Q     Okay.     The next line are corporate level adjustments.

17   In your opinion, what was the value of the corporate level

18   adjustments?

19   A     It's a reduction in value of approximately $600

20   million.

21   Q     And we'll come back and talk about that in a little

22   more detail.    The next line says non-controlled investments,

23   the next bar.    What are Tribune's non-controlled

24   investments?

25   A     These would principally be related to minority
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 24 of 258
                                                                             24
 1   investments in the TV Food Network, Career Builder, and

 2   classified ventures.

 3   Q       And, in your opinion, what is the value of Tribune's

 4   interest in the non-controlled investments?

 5   A       In aggregate a little less than $1.9 billion.

 6   Q       And then the next bar says distributable cash.              What's

 7   that?

 8   A       This would be all the cash at the company at the

 9   assumed effective date, less emergence related

10   distributions.

11   Q       And the total for the company?       The -- your estimate

12   of value for the total of the company?

13   A       Just under $1.7 billion.

14   Q       Can you briefly describe the steps that you took to

15   inform yourself about Tribune in its operation so that you

16   could prepare your expert valuation report?

17   A       Yes.   So in a -- as we did here and would do in the

18   assignments that we work on, in connection with arriving at

19   our conclusions on distributable value, we, of course,

20   receive the financial projections as prepared by the

21   management.    We review them.     We diligence them through

22   discussions with the management team.             We do generally

23   benchmarking work to evaluate the projections as compared to

24   other indicators of growth and margins that might exist by

25   Wall Street analysts or other forecasting services that
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 25 of 258
                                                                         25
 1   exist out there.    And we look at market data and together we

 2   arrive at our assessment of value.

 3   Q     And I know you had been working with the company for

 4   nearly two years, but did you also meet with company

 5   representatives specifically related to this valuation work?

 6   A     Yes.     When we do our due diligence, a component part

 7   of that is meeting with management, asking questions about

 8   the projections and making sure we walk away with the key

 9   underpinnings or key assumptions that form the basis of the

10   projections.

11   Q     And what methodologies or valuation approaches did you

12   use to value Tribune's parts?

13   A     We used the standard valuation methodologies that I'm

14   sure the Court's familiar with, the comparable companies

15   approach, the precedent transactions approach, and the

16   discounted cash flows approach.

17   Q     What's a comparable company approach?

18   A     That just in summary fashion it means looking at

19   Tribune's comparables or peer companies in the publishing

20   and broadcasting industry assessing how the market values

21   those companies and using that as a basis for valuing

22   Tribune based on EBITDA in this case primarily.

23   Q     And what about discounted cash flow?            What is the

24   discounted cash flow?

25   A     Discounted cash flow is the assessment of the present
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 26 of 258
                                                                        26
 1   value of the companies unlevered cash flows over the

 2   projection period and the present value of the terminal

 3   value of the company which reflects the value of the

 4   business beyond the projection period.

 5   Q     And I think you also said precedent transaction.

 6   What's the precedent transaction approach?

 7   A     The precedent transactions approach looks to

 8   valuations paid in similar businesses and the premiums that

 9   are paid as a basis to assess what might be the value of the

10   debtors in a change of control transaction.

11   Q     In doing your valuation report, did you use the most

12   currently available financial information from the company?

13   A     Each time that we assessed value, we used the then

14   most currently available market data and the then most

15   currently available financial data.

16   Q     And did you do a report that reflects the work that

17   you performed and which contained your opinions as to the

18   distributable value of Tribune?

19   A     We did.

20   Q     And would you take a look at your binder at the tab

21   that says DCL Exhibit 1135.

22   A     Yes.

23   Q     Is this that report?

24   A     It is.

25                MS. KENNEY:   I'd like to submit that into
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 27 of 258
                                                                        27
 1   evidence.

 2         (DCL Exhibit 1135 was received in evidence.)

 3                 THE COURT:   Is there any objection?

 4                 MR. QURESHI:   No objection, Your Honor.

 5                 THE COURT:   Submitted without objection.

 6   BY MS. KENNEY:

 7   Q     And let's go back to the blowup we have there with

 8   Slide 4 and we -- the first thing that's on the very far

 9   left is publishing.    Do you see where I am?

10   A     Yes.

11   Q     And could we turn to Slide 5, please and come back to

12   that number?    Is -- what is Slide 5?

13   A     Slide 5 summarizes the valuation work that we did with

14   respect to the publishing segment.

15   Q     And do the numbers on Slide 5 are those the numbers

16   that work back to the large blowup we have there which is

17   Slide 4?

18   A     Yes, it is.

19   Q     Okay.    Could you describe to the Court, the valuation

20   methodologies you used to value the Tribune's publishing

21   business?

22   A     Yes.     As shown on Page 5, we relied principally here

23   on the comparable company approach and the discounted cash

24   flow approach.

25   Q     And, in your opinion, what is the range of value for
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 28 of 258
                                                                             28
 1   the Tribune's publishing business?

 2   A        The reference range indicated in the blue box shows

 3   $895 to $1 billion, roughly and a point estimate of $962.

 4   Q        Well, why don't we start with the comparable company

 5   approach?       Would you look at Slide 6, please?

 6   A        Okay.

 7   Q        What is Slide 6?

 8   A        Slide 6 summarizes the methodology we used to arrive

 9   at the comparable company valuation for the publishing

10   segment.

11   Q        And there's information on the right side of the slide

12   and then there's another chart on the left side of the

13   slide.    Could you explain what those two parts of Slide 6

14   are?

15   A        Yes.    On slide -- on the left hand side of the page,

16   we used the company's 2010 estimated EBITDA for the

17   publishing segment which we show here to be $273 million.

18   And we apply our assumed multiple range of 4.25 to 4.75 to

19   arrive at our assessment of the comparable company

20   evaluation.      On the right side of the page, we highlight the

21   peer comparables that we relied upon to come up with that

22   multiple range of 4.25 to 4.75.          And the numbers on the

23   right, the comparables, the multiples.              There's something

24   called pure play and diversified.

25   Q        What is pure play?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 29 of 258
                                                                            29
 1   A     Yes.    Remember, we're using some of the parts

 2   methodology here as we described before.           And what one

 3   should be doing is when you're going through the effort of

 4   valuing the component parts of the business, you should be

 5   looking to comparables that are most similar to the

 6   component part of the business you're valuing.            So in this

 7   sense, since we're valuing a newspaper business, we want to

 8   look at comparables that are principally newspaper

 9   businesses.   Hence, we relied principally upon the pure

10   place plays here.

11   Q     There's also diversified.        What are diversified in

12   this chart?

13   A     As it would imply by the title, diversified companies

14   have not only newspaper revenue, but also a mix of other

15   revenue.   In most cases here, it's broadcasting revenue, but

16   there are also other unrelated revenues as well.

17   Q     And looking at Slide 6, I see that three of the

18   companies that are listed on the right side, they have red

19   boxes around them.    Could you explain why there's red boxes

20   around those?

21   A     Well, these would be the three primary companies we

22   looked to in arriving at our range.

23   Q     And why did you look primarily to these three

24   companies in arriving at your multiple range?

25   A     So first, the backdrop is that as always, this is
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 30 of 258
                                                                             30
 1   usually the case in comparable companies analysis.              You

 2   rarely have perfect comparables.        So you need to look at

 3   companies which are the most similar.             And that's the case

 4   here.    In New York Times, we have a newspaper that obviously

 5   you have the large metro of New York Times and you have the

 6   Boston Globe.    And that -- those papers bear some

 7   resemblance and similarities to the large papers that

 8   Chicago Tribune has, namely the Chicago Tribune, LA Times.

 9   So we viewed New York Times as a good proxy or indicator of

10   how the market may look at large metro paper valuations.

11   And, of course, the New York Times on a relative basis has

12   the closest EBITDA margin to Tribune's publishing segment.

13   Q        And then McClatchy is another one that's circled or

14   boxed in red?

15   A        McClatchy directly underneath.      McClatchy has a number

16   of papers that are more akin to the size of Tribune's papers

17   outside of the LA and Chicago markets.            The sort of the

18   second tier or mid-tier cities.        And in that respect,

19   McClatchy was useful as an indicator of how the market would

20   look at a company with mid-size papers.            However, it does

21   have some differences.     It's margins are higher and we take

22   that into consideration as well when coming up with our

23   range.

24   Q        And finally, the last one that has the red box around

25   isn't diversified and it's Gannett.
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 31 of 258
                                                                              31
 1   A       Yes.    We looked at Gannett to inform ourselves of the

 2   reasonableness of our range.        Gannett has some similarities

 3   and with USA Today, Big National Paper, that give us some

 4   indication of how again the large papers and Tribune may be

 5   assessed.      But Gannett has a number of differences and many

 6   of its papers are much, much smaller papers.             And then, of

 7   course, the Gannett multiple is involved by the broadcasting

 8   business it has, as well as, other investments.

 9   Q       And based on the companies that you said that you

10   relied on, how did you use those companies to derive your

11   multiple range of 4.25 to 4.75 that's on the chart on the

12   left?

13   A       Well, looking at New York Times and McClatchy, we used

14   those two multiples to inform us of the high end of our

15   range and they're out in the 4.75 that we used in the high

16   end of our range.     But again, we took into consideration the

17   differences I talked about before.          In particular, the

18   margin as well.     And we took a half turn discount to come up

19   with the low end of our range at 4.25.             We then looked at

20   the Gannett multiple to confirm the reasonableness of our

21   range and we see that Gannett at 4.50 fell squarely within

22   our range and that gave us additional comfort.

23   Q       And I think you said you used 2010 estimated EBITDA as

24   the financial metric applied against those multiples.               Is

25   that right?
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 32 of 258
                                                                               32
 1   A        We did.

 2   Q        And why did you use 2010 estimated EBITDA as your

 3   financial metric?

 4   A        Well, in our assessment, we believe that markets are

 5   generally forward looking in arriving at their assessment of

 6   value.    And we gave this careful consideration at the time

 7   that we did this being October.          You have two choices, do

 8   you look at 2010 as your forward estimate or 2011?               And we

 9   erred on the side of using 2010 because at that point, that

10   was six months of forward information with only June results

11   being available.      As compared to 2011, which would have been

12   18 months forward.      And our assessment at that time was that

13   the marketplace on a comparable companies approach

14   methodology would look to 2010 as the basis for valuing this

15   segment.

16   Q        You also said you did a DCF analysis of the publishing

17   business?

18   A        We did.

19   Q        Is that summarized on Page 7 or Slide 7?

20   A        It is.

21   Q        And very generally, how did you do the DCF for the

22   publishing business?

23   A        Yeah.    The DCF analysis, the standard methodology of

24   arriving at unlevered free cash flows, calculating their

25   present value using an assumed discount rate, calculated
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 33 of 258
                                                                            33
 1   into a terminal value as well and discounting that as well.

 2   Q     How did you calculate the terminal value?

 3   A     Well, the terminal value here we did using -- we

 4   arrived at using the Gordon Growth Model or discount

 5   approach.

 6   Q     What is a Gordon Growth Model?

 7   A     It capitalizes or assesses the value of the outer year

 8   or terminal year cash flow based on a discount rate and

 9   growth assumption.

10   Q     Why did you use a Gordon -- is there another

11   methodology you could use?

12   A     Yeah.   Another approach that's often used and we, in

13   fact, used it elsewhere in our report is applying a terminal

14   value, EBITDA multiple or some other sort of trading

15   multiple.

16   Q     So why did you use the Gordon Growth Model for the

17   publishing business instead of a terminal?

18   A     It's -- that's a great question.            And we spent a fair

19   amount time discussing and thinking about this as well.            And

20   it really boils down to one or two considerations.             In my

21   judgment, it's appropriate to use a terminal value multiple

22   approach which is based on currently trading multiples that

23   are observed in the marketplace when the terminal value cash

24   flow or EBITDA bears similarity to the current financial

25   profile of the business.     But here, if one looks at the 2015
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 34 of 258
                                                                               34
 1   EBITDA of $100 million and the cash flow of $16.8 and

 2   compares that to the EBIDA in 2011 of $223 of EBITDA and

 3   $142 of unlevered cash flow, it's pretty obvious that the

 4   financial profile of this business in 2015 is markedly

 5   different than it is in 2011.       And, therefore, applying a

 6   multiple in the current marketplace against a set of

 7   projections in outer years which are markedly different,

 8   wouldn't be appropriate.

 9   Q     And what range did you use in the Gordon Growth

10   methodology?

11   A     So the Gordon Growth, what that allowed us to do is

12   take into consideration that there is an expected decline in

13   the cash flows of this business which we didn't believe the

14   terminal -- the multiples approach would allow us to do.

15   And so we used a Gordon Growth methodology which

16   incorporated an assumed growth rate or brought us a growth

17   rate of -3 percent to positive 3 percent.

18   Q     Would you please turn back to Slide 5, please?               What

19   was the -- or in your opinion, what was the estimated range

20   of value of the publishing business under the discounted

21   cash flow approach?

22   A     So on Page 5, we indicate using the DCF approach that

23   we arrived at a range of $330 million to $456 million.

24   Q     How did you weight the various methodologies in coming

25   up with your final estimate of the value of the Tribune's
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 35 of 258
                                                                            35
 1   publishing business?

 2   A       Well, clearly, we gave greater consideration to the

 3   comparable company approach.       And we used 70 percent

 4   weighting for the comparable company approach and a 30

 5   percent weighting for the DCF.

 6   Q       And why did you use a 30 percent weighting for DCF?

 7   A       Well, what you're confronted here with are two

 8   distinct outlooks for this segment or this industry, if you

 9   will.   The comparable company approach essentially is saying

10   that the industry outlook here is going to be a very akin or

11   similar to the near term outlook of this business which is a

12   business with, you know, the current margins its

13   experiencing, the current cash flow its experiencing, and

14   that, in fact, it will -- the market is saying that this

15   industry will somehow revitalize itself, attenuate the

16   secular trends that it's facing, crack the internet

17   challenge with an opportunity.       And the DCF analysis is

18   assuming the opposite.     It's assuming that this industry

19   will continue to face and struggle with the secular

20   challenges that it's currently experiencing and it won't be

21   able to turn those around.       So we had two different

22   outlooks.   And we had to make a judgment as to which one do

23   we think, the marketplace or how do we think investors would

24   assess value for this business at emergence.            And we erred

25   on the side using our professional judgment, the marketplace
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 36 of 258
                                                                             36
 1   would take a point of view more similar or more akin to the

 2   way that the capital markets are currently valuing

 3   publishing companies.

 4   Q     Would it have been appropriate to give only a 10

 5   percent weight to the DCF methodology?

 6   A     In my judgment, it would not.         Using 10 percent is

 7   akin to just saying I'm not giving any consideration or any

 8   weight to it.   And in our view, you cannot completely ignore

 9   the discounted cash flow implied valuation here for a couple

10   of reasons.

11   Q     And what are those reasons?

12   A     The first being is that we all know that capital

13   markets aren't always correct.       We just have to go back to

14   2007 and see that.    The other is that the projections that

15   are prepared by management here are those of a management

16   team that is in the trenches involved day to day with each

17   of the specific papers, each of the individual markets that

18   this company is operating in, and they have a front row seat

19   to exactly what's happened.      Thirdly, the potential that

20   this industry may remain in a state of secular decline is

21   not a wild and crazy assumption.        We have to keep in mind

22   that this paper, the Tribune itself has lost $1 billion of

23   publishing ad revenue in the space of three to four years.

24   That's an enormous number and it continues to decline.             So

25   it's not -- so while every paper out there including the
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 37 of 258
                                                                              37
 1   Tribune has strategies of how it will address this secular

 2   challenge, it's not a foregone conclusion that they will all

 3   prevail and they will be successful.

 4   Q     Are the projections that are used in the DCF that you

 5   prepared are those management's projections?

 6   A     They are.

 7   Q     Okay.   Do you have a view as to whether both of those

 8   views of the market or of this business, one that will

 9   recover and one that is in decline, whether both of those

10   are reasonable?

11   A     I think they're both legitimate perspectives on which

12   way this industry may go.

13   Q     In your opinion, what is the value of the Tribune's

14   publishing business?

15   A     We arrived at a range of approximately $900 million to

16   $1 billion.

17   Q     Let's go back to the blowup that's next to you.              And

18   the next bar is the publish -- or I'm sorry, is the

19   broadcasting business.     Could you turn to Slide 8, please?

20   What does Slide 8 show?

21   A     Slide 8 summarizes the approach we use to arrive at

22   our estimate of the broadcasting valuation.

23   Q     And which -- what methodologies did you use to value

24   the broadcasting business?

25   A     We relied on the comparable company approach and the
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 38 of 258
                                                                            38
 1   discounted cash flow approach.

 2   Q        I see there's a line here for precedent transactions.

 3   Did you rely on the precedent transaction approach?

 4   A        Yeah, we considered it, but we did not rely upon it.

 5   Q        And why didn't you rely upon it?

 6   A        Pretty simply, there really were no precedent

 7   transactions that we could actually look to.

 8   Q        Would you look to Slide 9, please?         What is Slide 9?

 9   A        Slide 9 highlights the work that we did to arrive at

10   the comparable company valuation.

11   Q        And would you briefly describe how you arrived at a

12   comparable company valuation?

13   A        Very similar to the way we discussed in the

14   publishing.      You arrive at a multiple range in this case

15   based again on EBITDA and apply it to Tribune's estimated

16   EBITDA for the broadcasting segment.

17   Q        And again, there's two sides on this page and on the

18   right side are a list of multiples and on the left side are

19   -- is another chart.     What are those two sides showing?

20   A        Sure.   So the left hand side of the page we show the

21   EBITDA estimates that we use for each of the component parts

22   of the broadcasting segment, as well as, the EBITDA multiple

23   range.    Taken together, they are used to arrive at the

24   estimate for enterprise value.

25   Q        When I look at the left hand side under business
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 39 of 258
                                                                              39
 1   segment, there's television station and cable operations.

 2   Could you explain why those are broken into two pieces?

 3   A     Yes.    So within the broadcasting segment, there is a

 4   business called WGN America which has some characteristics

 5   that distinguish it from the other TV stations and, in our

 6   judgment, warranted being valued distinctly.

 7   Q     And then under televisions station there's two -- a

 8   breakout there between profitable stations and developing

 9   stations.    Can you explain that breakout, please?

10   A     Yes.    So within the TV stations, there were a handful

11   of stations that had margins that were below those of the

12   profitable stations, were recovering, if you will, as the

13   economy was recovering.     And we had to value those in a

14   manner distinct from the way we valued the profitable

15   stations.

16   Q     And I look to the right under the multiples for TV

17   broadcasting and there's pure play and diversified.                And

18   could you explain the difference in broadcasting between

19   pure play and diversified?

20   A     Yeah.    Once again, since we're using sum of the parts

21   approach, we want to reply upon those companies that are

22   most similar to the broadcasting stations and we look to the

23   pure plays here which are businesses who drive the majority

24   of their revenue from the broadcasting business.             Whereas,

25   the diversified would as it would suggest, be companies that
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 40 of 258
                                                                           40
 1   derived their revenue from broadcasting and publishing or

 2   other businesses.

 3   Q      And, in your opinion, which are more comparable to

 4   Tribune's broadcasting, the pure play or the diversified?

 5   A      We would use the pure play.

 6   Q      And why is that?

 7   A      Again, for the reasons I just described.           If we're

 8   valuing a broadcasting business, we would like to look at

 9   broadcasting businesses.

10   Q      And I see that the multiple you used for the

11   profitable stations for the television stations is 6.5 to

12   7.5.   I'm on the chart on the left.

13   A      That's right.

14   Q      Okay.   And how did you derive the multiple of 6.5 to

15   7.5?

16   A      So using the pure plays, we ultimately took the mean

17   multiple applied by the pure plays of 7.4 to come with the

18   high end of our range of 7.5.       And then we took a one turn

19   discount to that to come up with the low end of our range of

20   6.5.

21   Q      And why did you use the mean effectively as the high

22   end of your range?

23   A      Well, that again, involves assessing the comparable

24   companies, how comparable they are, what are the

25   differences, what are the similarities?           And in this case,
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 41 of 258
                                                                        41
 1   there are a number of differences that I can describe in

 2   greater detail, but ultimately, what we looked to was the --

 3   that we felt that the Tribune's broadcasting businesses

 4   principally because of their affiliate relationships which

 5   are those -- which are associated with the CW network as

 6   compared to NBC, FOX, CBS, ABC, the big four, if you will,

 7   that it warranted taking a valuation multiple that would be

 8   informed by the mean on the high end and a discount to the

 9   mean on the low end.

10   Q       Are you saying that the companies in the comparables

11   have different relationships with affiliates than Tribune

12   does?

13   A       Yes.   And it's a good question, thank you for asking

14   that.   The TV stations at Tribune have affiliate

15   relationships more heavily skewed towards the CW network.

16   Whereas, in the pure play, those these companies have

17   stations which may be in smaller markets than the Tribune,

18   they are much more heavily weighted towards the ABC, CBS,

19   FOX, NBC's of the world.

20   Q       And why does it matter that they're more -- that the

21   comparable companies are more heavily weighted to FOX and

22   CBS, and NBC?

23   A       I think we all just need to ask ourselves which

24   stations do we watch when we watch TV and it makes it sort

25   of obvious.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 42 of 258
                                                                        42
 1   Q     If you turn now to the cable stations, how did -- I

 2   see that on the left again under cable operations, what is

 3   Tribune's cable operations?

 4   A     So the cable operations is that the title we use to

 5   refer to WGN America, a large business within Tribune's

 6   broadcasting segment.

 7   Q     And what type of programming does WGN America show?

 8   A     So WGN America is -- principally has syndicated shows

 9   or reruns.

10   Q     And I look at the left hand chart here and I see that

11   the multiple that was used for cable operations is eight to

12   nine times EBITDA.

13   A     That's right.

14   Q     And how did you derive the eight to nine times EBITDA

15   for the cable operations?

16   A     So we had to -- in arriving at the multiple range that

17   we selected -- just as a matter of background here, WGN

18   America is a hybrid, if you will, between a regular TV

19   station and a cable network.       It's what people refer to as a

20   superstation.   And what that means is that it bears

21   characteristics of both.     And WGN America has the national

22   reach of a cable network in the sense that it touches over

23   70 million homes, but it doesn't have the original content

24   of some of the cable networks that we show here like TV Food

25   Network or others.    In fact, it shows, you know, Andy
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 43 of 258
                                                                            43
 1   Griffith show or Cheers and other reruns. So the content is

 2   just different.

 3                THE COURT:   Or Two and a Half Men.

 4                MR. MANDAVA:   There you go.

 5   (Laughter)

 6                MR. MANDAVA:   Exactly, thank you.          And then --

 7   and so by virtue of not having original content, it bears

 8   the more similarities to TV stations.             And so again, it's

 9   sort of hybrid, in between.      And that give us, that informs

10   us of how we would come up with a valuation multiple range.

11   And in this case, what we tried to do was come up with a

12   range that was somewhere in between the TV stations and

13   somewhere in between the cable.        One more factor that I

14   failed to point out was that WGN America revenue mix bears

15   some similarities to a cable network in the sense that its

16   revenue mix comes from both ad revenue and subscriber fees,

17   whereas, the TV stations derived their revenues principally

18   from ad revenue.

19   BY MS. KENNEY:

20   Q     And based on what you've just told us, how did you

21   come to -- I'm sorry 8 to 9 as your multiple range?

22   A     Again, just you can see the multiple range that we

23   used for the TV stations of 6.5 to 7.5.            We wanted to take a

24   premium to that and so we have 8 to 9.            And then we looked

25   at the Scripps Networks multiple and concluded that it
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 44 of 258
                                                                          44
 1   needed to be a discount, the Scripps multiple and the use of

 2   8 to 9 confirmed that reasonableness.

 3   Q     Why did you focus on Scripps Network?

 4   A     Well, Scripps we looked at primarily because of the

 5   mix of revenue at Scripps as between subscriber fees and ad

 6   revenues was most close to the mix at WGN America.

 7   Q     I want to ask a little bit about the financial metric

 8   that you used against your multiples.             So let's turn back to

 9   the television stations and what financial metric did you

10   use to apply against the multiples that you selected on the

11   left hand side of the chart under 2010 estimated EBITDA?

12   A     For the TV stations?

13   Q     Correct.

14   A     We used as shows on the table, 6.5 to 7.5 times.

15   Q     I'm sorry, what financial metric did you use?

16   A     Oh, I apologize.     We used EBITDA and this is a

17   distinction as well that's worth making.            In the case of the

18   TV stations, we took a blend of 2010 EBITDA and 2011 EBITDA.

19   Q     And why did you take a blend of 2010 EBITDA and 2011

20   EBITDA for the TV stations?

21   A     Well, when doing the comparable company approach,

22   remember, we're using our best estimate of what is sort of

23   the recurring EBITDA of a business.         And in the case of TV

24   stations which have big fluctuations between even years and

25   odd years, political years and off political years, we take
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 45 of 258
                                                                        45
 1   an average of the two to take into consideration that

 2   fluctuation and political ad revenue.

 3   Q     Did you do the same for cable?

 4   A     Well, the WGN America has very little political ad

 5   revenue, so in that instance, we just look at the forward

 6   estimate of EBITDA and we used 2010 EBITDA in this case.

 7   Q     And based on a comparable company methodology, what is

 8   your opinion as to the range of value for the Tribune's

 9   broadcasting business?

10   A     Yeah.   In taking in consideration the segment level

11   corporate overhead which is identified in group allocations,

12   we arrived at a range of approximately $2.6 billion to $2.95

13   billion.

14   Q     You said you also did a DCF for the broadcasting

15   business?

16   A     We did.

17   Q     Is that what's shown on Page 10?

18   A     Yes.

19   Q     And if you'd just briefly describe how you performed

20   the DCF valuation.

21   A     Again, the same general approach, arriving at

22   unlevered cash flows over the projection period and

23   discounting them and then arriving at an estimate of the

24   terminal value and discounting that.

25   Q     And how did you arrive at an estimate of the terminal
     Case 08-13141-BLS      Doc 8350-3   Filed 03/14/11   Page 46 of 258
                                                                                46
 1   value?

 2   A        Well as I said before, in other parts of the valuation

 3   we use a multiple and that's exactly what we did here.                We

 4   applied an estimate of the current trading multiple, blended

 5   trading multiple to come up with the terminal value here.

 6   Q        Could you explain why you used a terminal multiple

 7   value here instead of Gordon Growth?

 8   A        Absolutely.    As distinct from the publishing forecasts

 9   and I think I'm probably reminding myself I'm not supposed

10   to say these numbers aloud, Your Honor, you can see that in

11   2015 here at the EBITDA numbers, that the EBITDA numbers

12   bear much more similarity to the 2011 EBITDA numbers much --

13   they -- and so as a result, given that the financial profile

14   of the business in the outer years is going to much more

15   similar to it is in the near term, the use of current

16   trading multiples is appropriate.

17   Q        Are you looking at the line on Slide 10 where it says

18   revenue and then growth and then the next line is EBITDA?

19   A        That's right.

20   Q        And then across you're looking at the columns?

21   A        Yes, that's correct.

22   Q        Okay, thank you.     Let's turn back to Slide 8 just for

23   a minute.    What is your estimate of the value of the

24   broadcasting business based on a discounted flow

25   methodology?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 47 of 258
                                                                              47
 1   A     We arrived at a $2.2 billion to $2.6 billion range.

 2   Q     How did you weight the methodologies that you used for

 3   the broadcasting business?

 4   A     We gave a slight preference toward the DCF here and

 5   gave it a 60 percent weighting and gave a 40 percent

 6   weighting to the comparable companies approach.

 7   Q     Why did you give that weighting to the various

 8   approaches?

 9   A     Well the comparable companies as I began discussing

10   earlier, are somewhat different.        The -- and that at a high

11   level is the answer.    And specifically, when you look at a

12   number of the stations here that we relied upon for the

13   comparables, they're in smaller markets than the Tribune.

14   Tribune's in Chicago, LA, New York Times, the largest

15   markets, whereas the peers tend to be in smaller markets.

16   But then the flip side is that within the large markets,

17   Tribune is in by virtue of the CW network, it's not a top

18   rated station within those markets.         So there are important

19   differences.   As well when you look at the comparables, two

20   of them approximate the size of Tribune and even then are

21   smaller.   And the others are significantly smaller.               And

22   then similarly, you can see that the multiple range that we

23   had in the pure plays if you go to Page 9, you can also see

24   that it's influenced also by the gray multiple of 8.9 which

25   is an outlier.   So that's a long way of saying when you go
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 48 of 258
                                                                        48
 1   through all of these comparables, in many respects, they are

 2   different, but given that they're only ones that we have, we

 3   had to use them.    But the differences in the comparables and

 4   Tribune factored into our thinking on the reliance we

 5   ascribed to the comparable company approach.

 6   Q     And in total, what is your -- based on all the

 7   approaches that you've used and I think you said you gave no

 8   weighting to the precedent transaction?

 9   A     That's right.

10   Q     Okay.   And based on the methodologies you used, what's

11   your valuation of the Tribune's broadcasting business?

12   A     We arrived at a range of approximately $2.4 billion to

13   $2.8 billion with a point estimate of $2.6.

14   Q     Turning back to the blowup which is really large, but

15   I still can't read the number there, what -- I'm turning

16   next to wholly owned assets.

17   A     Correct.

18   Q     Do you see where I am?

19   A     Yes.

20   Q     Okay.   Did you perform evaluation of Tribune's other

21   wholly owned assets?

22   A     We did.

23   Q     And is that shown on page or Slide 10?

24   A     It's my Slide 11.

25   Q     It is my Slide 11 as well, thank you.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 49 of 258
                                                                             49
 1   A     Okay.

 2   (Laughter)

 3   BY MS. KENNEY:

 4   Q     Slide 11.

 5   A     Yes.

 6   Q     What are Tribune's other wholly owned assets?                I think

 7   I asked but --

 8   A     Yeah, the principal asset here is Tribune Media

 9   Services which is a data provider for TV listing so, you

10   know, when you hit the guide button on your cable remote and

11   the shows pop up and their timing, this is the company that

12   provides that data.

13   Q     Okay.   And what valuation methodologies did you use to

14   value Tribune's other wholly owned assets?

15   A     The three approaches comparable companies, precedent

16   transaction, and DCF.

17   Q     Could you briefly describe to the Court the comparable

18   company analysis that you used?

19   A     Yeah.   We came up with a peer set of comparables.              In

20   this instance, they weren't that comparable and used the

21   same approach of a multiple, applied it against the TMS

22   EBITDA.

23   Q     And was that again, 2010 estimated EBITDA?

24   A     Yes, it is.

25   Q     And what about the precedent transaction analysis?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 50 of 258
                                                                              50
 1   How did you perform a precedent transaction analysis?

 2   A     Yeah.   Here we call it precedent transaction analysis,

 3   but put in an important footnote down below which is to say

 4   that we relied upon an actual process that Tribune undertook

 5   in the 2008 timeframe to sell this very asset.            The company

 6   received actual bid letters, signed term sheets, if you

 7   will, and reached out to over 30 market participants.              And

 8   so while it wasn't a completed transaction, obviously, the

 9   Tribune still owns it, we thought it was very useful just to

10   give us a sense of what the marketplace would assess value

11   to this particular asset in the context of other

12   methodologies which are, you know, provide us some

13   indication of value, but ultimately are difficult as well to

14   use in arriving at an assessment of value here.

15   Q     You also did a discounted cash flow?

16   A     We did.

17   Q     And how did you create a discounted cash flow or

18   perform a discounted cash flow for the Tribune Media

19   Services?

20   A     We used the company's five year projections and used

21   the standard discounted cash flow methodology.

22   Q     Could you explain the various weightings you gave to

23   the methodologies and Slide 11 to value TMS?

24   A     Yes.    Given the what I described before was the

25   challenges of the comparable set.        We gave a 40 percent
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 51 of 258
                                                                              51
 1   weighting to the comparables approach, 10 percent weighting

 2   to the precedent's approach, and a 50 percent weighting to

 3   the DCF.

 4   Q     Let's start with the precedents.            Why did you give

 5   that a 10 percent weighting?

 6   A     Well, the -- in the precedent transactions analysis,

 7   you would like to rely upon announced or completed precedent

 8   transactions.   In this instance, we didn't have that.             The

 9   best that we had was the process I have described to you

10   before that the company actually undertook.            And in our

11   judgment, thought it wasn't obviously a completed

12   transaction, we wouldn't be talking about this today had it

13   been, but in the absence of other reliable data points, we

14   felt that we couldn't ignore, we had to, in fact, take

15   serious consideration to the market discovery process that

16   the company undertook to inform us of what might be a

17   reasonable valuation range here.

18   Q     And how did that lead to a weighting of 10 percent?

19   A     Again, taking into consideration the factors we just

20   discussed which is it wasn't announced, it wasn't a

21   completed precedent transaction, but it was a market

22   discovery process.    We apply 10 percent weighting which

23   means it informed us of our judgment, but ultimately we

24   didn't give a great deal of reliance upon it.

25   Q     And why did you give 50 percent to DCF and 40 percent
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 52 of 258
                                                                         52
 1   to comparables?

 2   A     Well, in general, I think that many people would

 3   agree, when you have an assessment of company's cash flows

 4   over time, that that would -- that's the approach that is

 5   generally favored in arriving at valuation conclusions.

 6   Here we had that and the tradeoff was a comparable company

 7   approach with comparable companies that were somewhat

 8   dissimilar to this business.

 9   Q     In your opinion, what is the value of Tribune's other

10   wholly owned assets?

11   A     Taken together with the small asset for saw by owner,

12   we arrived at approximately $200 to $222 million.

13   Q     And if we go back to the blowup, the corporate

14   allocation amount of $602 million --

15              THE COURT:    Excuse me, Ms. Kenney.          I'm going to

16   ask you to pause here.     We're going to take a five minute

17   recess.

18              MS. KENNEY:     Certainly.

19              THE COURT:    Just five minutes and then we'll

20   resume.

21              MS. KENNEY:     Thank you.

22   (Recess from 10:23 a.m. to 10:30 a.m.)

23              MS. KENNEY:     Your Honor, fairly shortly after the

24   very next piece of testimony, we're going to be getting into

25   some very highly confidential information and I know Mr.
     Case 08-13141-BLS   Doc 8350-3      Filed 03/14/11   Page 53 of 258
                                                                                   53
 1   Bendernagel mentioned this to you yesterday in Court.                  We've

 2   turned off the two side television monitors and we've also

 3   turned off the monitors in the back row because of the

 4   highly confidential nature of the upcoming testimony.

 5                 THE COURT:    Thank you.

 6                 MS. KENNEY:    Mr. Mandava, several people have

 7   asked me if you could please move the microphone closer to

 8   you.

 9                 MR. MANDAVA:   Is that better?

10                 MS. KENNEY:    Yes.

11                 MR. MANDAVA:   Okay, great.

12   BY MS. KENNEY:

13   Q      I think we left off on corporate allocations.                  Would

14   you please turn to Page 12 or Slide 12?              What does this

15   slide show?

16   A      Right.    So this summarizes the cost, the true economic

17   cost that are born by Tribune at the corporate level.                  Or

18   said differently, to economic costs that aren't born at the

19   publishing or broadcasting segments that we just valued.                    So

20   they need to be taken into consideration when arriving at

21   our conclusions on the value of the core operations.

22   Q      So these numbers are not included in the EBITDA or the

23   discounted cash flows for the publishing or broadcasting

24   business?

25   A      Exactly.
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 54 of 258
                                                                              54
 1   Q        And very generally, how did you value the items that

 2   are listed on Slide 12?

 3   A        We had estimates for these costs and we calculated

 4   their present value.

 5   Q        What are corporate expenses, the first line there that

 6   says corporate expenses, what are those?

 7   A        This is the overhead at Tribune Corp.

 8   Q        The next line says pension cash contribution in excess

 9   of expense.     What's that?

10   A        This would be the -- this would actually reflect the

11   cash funding requirements of Tribune in excess of the

12   expense that's born in the corporate expense slide.

13   Q        So this doesn't include the pension expense at the

14   publishing or broadcasting segment?

15   A        No.   This relates solely to that at the corporate

16   level.

17   Q        And does the company have an unfunded pension?

18   A        Yes, it does.

19   Q        What -- do you know what the amount of the unfunded

20   pension is?

21   A        It's in excess of $200 million.

22   Q        The next line says tax settlement payments.           What is

23   that?

24   A        These are estimates as prepared by management as to

25   settlement payments they may make with respect to ongoing
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 55 of 258
                                                                        55
 1   disputes the company has with the IRS and other state level

 2   taxing authorities.

 3   Q     So these are payments the company's going to have to

 4   make for those per month?

 5   A     Expects or anticipates making.

 6   Q     And remedial income allocation, what is that?

 7   A     This is again the present value of the tax liability

 8   associated with the Cubs and Newsday transactions.

 9   Q     Looking back to the page, Slide 4 of the blowup that

10   we have there, the next line we have, the next bar we have

11   is non-controlled investments.       And I think you said what

12   those were, but if -- since we're talking about them now,

13   could you just describe briefly what the company's non-

14   controlled investments are?

15   A     Yeah.   The three principal components are the minority

16   investments and TV Food Network, Career Builder, and

17   classified ventures.

18   Q     Would you look at Slide 13, please?           What is Slide 13?

19   A     Slide 13 summarizes the component parts of the

20   minority interest valuation.

21   Q     Okay.   And I can see the largest one on here under --

22   is under broadcasting and it's TV Food Network and so let's

23   talk about that first.     What is TV Food Network?

24   A     Yeah.   The TV Food Network is a partnership which is

25   controlled and majority owned by Scripps Network and Tribune
     Case 08-13141-BLS      Doc 8350-3   Filed 03/14/11   Page 56 of 258
                                                                           56
 1   has a 31 percent minority interest in that partnership.

 2   Q        What type of programming does the TV Food Network

 3   show?

 4   A        Yeah.    The TV Food Network is a premier destination

 5   for food related content on TV.

 6   Q        And so what type of shows?

 7   A        Some of the shows would be Emeril Lagasse's cooking

 8   show or Rachel Ray.       I think there's an Iron Chef show on

 9   there.    There's show people have started watching related to

10   Diners and Drive-Thru's and Dives and so a bunch of shows

11   that -- for people who like watching TV --

12   (Laughter)

13                    MR. MANDAVA:    -- cooking shows and food related

14   shows.    It's a popular destination.

15   BY MS. KENNEY:

16   Q        And I think you said Tribune's ownership interest was

17   31.3, 31 percent?

18   A        Yes.    Tribune has a non-controlling minority interest

19   in this partnership.

20   Q        Okay.    What valuation methodologies did you use to

21   value TV Food Network.          And perhaps I should take you to

22   Slide 14, take everyone to Slide 14.

23   A        Okay.    The methodologies that we used in our expert

24   report or that are reflected on our expert report are the

25   comparable companies and precedent transactions approaches.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 57 of 258
                                                                             57
 1   Q       And could you explain how you used the comparable

 2   company approach to value Tribune's minority interest in

 3   this partnership?

 4   A       Yeah.   Much the same as we did before.          We arrived at

 5   a multiple range and applied it to some measure of earnings.

 6   In this case, we looked at both EBITDA and net income and we

 7   looked at it on a 2010 and 2011 basis.

 8   Q       Okay.   And why did you do that?          Why did you look at

 9   both EBITDA and net income?

10   A       Well, in -- we tried to take a broader look at the way

11   that the investment community may evaluate valuation --

12   value of this entity here and the -- we do realize that some

13   analysts are giving consideration to net income so we looked

14   at net income multiples.

15   Q       And why did you look at 2010 and 2011?

16   A       Well, in our judgment that give the outlook for this

17   particular segment, we felt that the marketplace was looking

18   to both 10 and 11 as indications of the outlook for this

19   segment or this business, whereas in others, we felt maybe

20   they were looking towards more the immediate year's results.

21   Q       And what company or companies did you look at as the

22   comparable companies in valuing this partnership?

23   A       Well in this instance, we looked at a number of cable

24   network companies that we showed on the earlier broadcasting

25   page.   But we principally relied upon the Scripps Network
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 58 of 258
                                                                         58
 1   multiple.

 2   Q     Could you explain to the Court why you principally

 3   relied on the Scripps Network multiple?

 4   A     Well, remember, that the Food Network is a subsidiary

 5   or majority owned by the Scripps Network and is one of its

 6   two principal assets.    So in our judgment, the best

 7   indicator of how the marketplace is going to assess the

 8   value of TV Food is simply by looking at the Scripps

 9   multiple.

10   Q     And did you take the Scripps multiple or what did --

11   how did you use the Scripps multiple to derive the operating

12   -- I'm sorry, the multiples that we see on Chart 10 under

13   multiple?

14   A     Well, we in the October timeframe here, we used the

15   Scripps multiple, but we took a discount to the Scripps

16   multiple at the high end to arrive at the high end of our

17   range, our multiple range here and we took a greater

18   discount to arrive at the low end.         You can see on the page,

19   a one turn discount to arrive at the low end vis-à-vis the

20   high with respect to EBITDA.

21   Q     And why did you take a discount off the high end?            Why

22   didn't you just take the Scripps multiple in deriving your

23   multiple?

24   A     Well, in my judgment, I did -- the Food Network is a

25   subsidiary of Scripps, a much larger company, a business
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 59 of 258
                                                                        59
 1   that has other attractive assets as well, and I didn't feel

 2   that the marketplace would ascribe the same multiple to a

 3   much bigger company which has the benefit of other assets

 4   that it can turn to to negotiate rates, subscriber fees, and

 5   so forth with cable operators.       It didn't seem appropriate

 6   to me that you would -- that TV Food, a component part of

 7   Scripps would enjoy the same multiple.

 8   Q     Okay.    And then how did you determine Tribune's 31.3

 9   percent of the partner -- TV food partnership?

10   A     I'm sorry, could you repeat the question?

11   Q     I'm sorry.    How did you determine from the value you

12   created -- you determined for the entire TV Food

13   partnership, how did you determine Tribune's minority

14   interest in the Tribune -- I'm sorry, in the TV Food

15   partnership?

16   A     Well, again, Tribune has a 31.3 percent interest in

17   this partnership.    And so when we arrived at our assessment

18   of the value of the TV Food partnership using the comparable

19   companies approach, we then took 31.3 percent of that to

20   arrive at the estimate of the minority interest.

21   Q     You said that you also used a precedent transaction

22   methodology.   Is that right?

23   A     Yes, I did.

24   Q     Could you describe how you used a precedent

25   transaction methodology to determine Tribune -- the value of
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 60 of 258
                                                                         60
 1   Tribune's interest, minority interest in the partnership?

 2   A        Yeah.   So we looked to the relevant precedent

 3   transactions in this industry.        And the one that we felt was

 4   most comparable or most relevant was the Scripps acquisition

 5   of the Travel Channel which happened in the 2009 timeframe

 6   and we used that as the basis of arriving at the multiple

 7   range.    And we applied that against the trailing twelve

 8   months EBITDA of the TV Food partnership.

 9   Q        And did you look at any other transactions in the

10   cable business?

11   A        We did.   We looked at other ones that are more

12   historic, but ultimately concluded that they were less

13   relevant and useful vis-à-vis the Travel Channel.

14   Q        Was the sale of the Weather Channel one of the

15   precedent transactions you looked at?

16   A        Indeed, that was one that we did review.

17   Q        And why didn't you include the sale of the Weather

18   Channel in your analysis on valuing TV Food?

19   A        Well, the judgment that was applied at the time was

20   that the Weather Channel as we all know, has a very popular

21   website, weatherchannel.com that I'm sure many of us

22   frequent.    And in our assessment, the valuation was probably

23   heavily driven by the value of that asset.             And that's

24   distinct from the TV Food Network where viewers are

25   principally going to the -- to watch it on TV, not
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 61 of 258
                                                                          61
 1   necessarily go onto the internet to go the TV Food Network

 2   site.

 3   Q       And how did you use the multiple for the Travel

 4   Channel in determining the range you have here of 12 to 14

 5   for the precedent transaction methodology?

 6   A       Yeah, well I believe the Travel Channel acquisition

 7   multiple was in the high 13's, if I remember correctly.             And

 8   so that informed us of the high end of our range here which

 9   we used fourteen times.     And then we took a two turn

10   discount to come up with the low end.

11   Q       Why did you use a two turn discount?

12   A       Well, when you're using one transaction, you would

13   have obviously only one number.        So -- but we think it's

14   appropriate to come up with a range.         Otherwise, what you're

15   saying is that the TV Food Network is exactly like the

16   Travel Channel and obviously, they're not.             So it's

17   important to come up with a range to reflect the

18   similarities and differences between the asset that's being

19   valued and the precedent transaction.             And in the absence of

20   multiple transactions, we used our judgment to apply a two

21   turn discount and ultimately in looking at twelve times at

22   the low end of the range, it was still a premium to the

23   trading multiple that we applied on the high end of the

24   range which is what you would expect a precedent transaction

25   multiple higher than the trading multiple.             And that gave us
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 62 of 258
                                                                        62
 1   comfort that we came up with a reasonable range.

 2   Q     Was EBITDA the operating metric that you used in the

 3   precedent transaction you said?

 4   A     It was.

 5   Q     So we would compare the multiple in the precedent

 6   transaction like to the EBITDA multiples above?

 7   A     That's right 12 compared to 10 for instance.

 8   Q     Did you in any of the work that you've done for

 9   Tribune, have you ever performed a discounted cash flow of

10   the TV Food Network?

11   A     Yes.    We did some unrelated work in the

12   August/September timeframe where we arrived at a valuation

13   of the TV Food Network.     In doing so, we used a discounted

14   cash flow analysis.

15   Q     Is the summary of the discounted cash flow analysis

16   you performed is that Slide 13?        I'm sorry, Slide 15?

17   A     It is.

18   Q     Okay.    And why was the discounted cash flow

19   methodology performed, I think you said in the summer?

20   A     We were doing some work on behalf of Tribune which

21   this Court's familiar with in connection with the Cooking

22   Channel contribution to the TV Food partnership and

23   Tribune's investment of $53 million in connection with that.

24   And in the course of doing that work, we were able -- we

25   performed a valuation of the TV Food partnership and the DCF
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 63 of 258
                                                                        63
 1   was one component of that work.

 2   Q       What was the range of value under the DCF methodology

 3   from last summer?

 4   A       The blue text at the top of the page indicates using

 5   the DCF methodology, that we arrived a range of $3.6 to $4.1

 6   billion.

 7   Q       Why didn't you include the discounted cash flow

 8   methodology in your approach in your expert report?

 9   A       Well, my understanding was that these projections were

10   subject to confidentiality restrictions and as such, we

11   weren't able to incorporate this work specifically into our

12   expert report.

13   Q       Now you said specifically, did you incorporate it in

14   another way?

15   A       Well, having done the work, of course, it informed our

16   judgment and ultimately, we considered it when selecting our

17   range of value for the TV Food partnership.

18   Q       And how does the value under the discounted cash flow

19   analysis, how does that compare to the valuation under the

20   other methodologies that you've used?

21   A       The DCF value here bears very close similarity to the

22   comparable company valuation we arrived at on the previous

23   page.

24   Q       And how does that impact your analysis of the value of

25   the TV Food Network?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 64 of 258
                                                                        64
 1   A     It suggests that had we used the DCF approach, we

 2   would have arrived at very similar, if not the same

 3   conclusions.

 4   Q     Would you turn back to Slide 14, please?            What

 5   weighting did you give to the various -- to the comparable

 6   company and precedent transaction approaches on valuing the

 7   partnership?

 8   A     We gave a 70 percent weighting to the comparable

 9   company approach and 30 percent weighting to the precedent

10   transaction.

11   Q     Why did you give that weighting to those approaches?

12   A     Yeah, that's a good question and one that we spent

13   time as well thinking about.       So what's important to

14   remember in all of this valuation work is that with respect

15   to the minority investments, these are minority investments.

16   These are not wholly owned assets, wholly owned businesses

17   that Tribune controls.     When applying a precedent

18   transactions valuation methodology to value a minority

19   investment, what in essence you're saying is that a buyer of

20   a minority interest would, in fact, pay a controlled

21   premium.   And remember, controlled premiums are paid to

22   control an asset in its entirety.        So when providing -- when

23   apply a precedent transactions approach without adjustment,

24   in essence, you're saying that let me value a minority stake

25   in a business in the same manner I would value a controlling
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 65 of 258
                                                                              65
 1   stake.    And there's a lot of challenges in doing that.            So

 2   there are multiple ways to address that.           People can apply

 3   their judgment.     People can apply discounts.         People can

 4   apply weightings.    We wanted to offset the impact of that

 5   premium, if you will, of a controlled premium in our

 6   analysis by giving less weighting to the precedent

 7   transactions.

 8   Q        Did you apply a discount -- let me first ask, what was

 9   the range of value for the TV Food -- Tribune's minority

10   interest in the TV Food Network partnership?

11   A        We arrived at a range of 1.2 to 1.4.

12   Q        In arriving at that range, did you apply a discount

13   for lack of marketability or minority discount?

14   A        No, we did not.   Just one observation on the precedent

15   transaction approach.      The precedent transaction multiple

16   range of 12 to 14 is a premium to the trading multiple that

17   I described before of ten times on the high end.             And so

18   what we would in essence be saying by giving equal weighting

19   to the precedent transaction approach is that a buyer would

20   be willing to pay a price, if you will, a premium for a

21   minority interest in a subsidiary of Scripps, a multiple

22   greater than what Scripps is actually trading at.             And

23   that's kind of like the common sense check here.             Would you

24   pay a premium to have the right to own a minority interest

25   in a subsidiary of a publically traded company greater than
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 66 of 258
                                                                             66
 1   the multiple of that publically traded company?             Maybe you

 2   would if it were some internet company or something with

 3   entirely different growth prospects, but if it is similar or

 4   in this case maybe even less than the remaining assets in

 5   the publically traded company, why would a buyer come in and

 6   pay a premium to the publically traded valuation of Scripps

 7   as a whole to enjoy the right to be a minority investor in

 8   one of its subs.    That just doesn't hold up.          And that's

 9   important to consider in arriving at the weighting that we

10   applied here.

11   Q     Did you apply a minority discount or a discount for

12   lack of marketability to the value you derived on the chart?

13   A     No.   So that's the, you know, in the academic books

14   and the other valuation research that's out there for sure,

15   an approach that people take which is to say after I do

16   arrive at my valuation assessment and this is distinct from

17   what I just described which is I just wanted to eliminate

18   the control premium in the value, that there's a further

19   discount that one should take to your valuation assessment

20   to take into consideration that you don't have control or

21   that you would be unable to liquidate your interest in this

22   minority interest and those two discounts would be either

23   minority interest discount or a lack of marketability

24   discount.   And we did not apply either of those two in the

25   valuation of Tribune's TV Food minority interest.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 67 of 258
                                                                         67
 1   Q       Why didn't you apply a minority discount or a discount

 2   for lack of marketability?

 3   A       Well, every time you do apply that discount, it's a

 4   facts and circumstances decision.        And you have to take into

 5   consideration a whole range of topics, what board rights do

 6   you have?   What rights do you have in the operating

 7   partnership, the size of this asset, the ability to extract

 8   cash.   It's a heavily facts and circumstances decision.           We

 9   -- and because it would be without -- because there are

10   multiple points of view that exist on this matter, we erred

11   on the side of giving a very full valuation to this asset

12   and did not apply those discounts here.

13   Q       If you would take a look at Slide 16, could you give a

14   brief description of what Slide 16 shows?

15   A       This page summarizes the valuation that we arrived at

16   for Career Builder.

17   Q       What methodologies did you use to derive a value for

18   Tribune's minority interest in Career Builder?

19   A       We utilized the comparable companies approach.

20   Q       What is Career Builder?

21   A       Career Builder is an online job site, job posting

22   site.

23   Q       And why did you use only a comparable companies

24   approach?

25   A       In this sense, we did not have reliable precedent
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 68 of 258
                                                                             68
 1   transactions.   There was one transaction Hot Jobs where we

 2   could not confirm the multiple.        It was sort of more of a

 3   rumored multiple.    And we did not have long range

 4   projections to utilize the DCF methodology.

 5   Q     And in your opinion, what is the Tribune -- the value

 6   of Tribune's minority interest in Career Builder?

 7   A     Here we have $240 million to $300, and again, we did

 8   not apply any minority discounts.        We did not apply any lack

 9   of marketability discounts.

10   Q     Would you turn to Slide 17, please?           What does Slide

11   17 show?

12   A     Slide 17 shows the valuation of Tribune's minority

13   interest in classified ventures.

14   Q     And what is Classified Ventures?

15   A     Classified Ventures owns two websites where they're

16   online car listing and apartment rentals.

17   Q     What methodologies did you use to value Tribune's

18   minority interest in Classified Ventures?

19   A     This approach admittedly is more of a hybrid.                We used

20   a multiple of EBITDA as indicated on the page, but in

21   reality, the high end of this range was informed by a

22   precedent transaction, the Internet Brands transaction which

23   was done at about a 12.5 times forward 2010 multiple just

24   before it was closed.    And so what you have here on the high

25   end, in fact, is a valuation of a controlled transaction or
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 69 of 258
                                                                           69
 1   a precedent transaction and then we have a two turn discount

 2   to come up at the low end.       So this valuation is a very full

 3   valuation for this asset.

 4   Q     And were there any discounts applied to this

 5   valuation?

 6   A     There was not.    There was no adjustment made.

 7   Q     And what would -- and what is your opinion as to the

 8   value of Tribune's minority interest?             I think it's 27.8

 9   percent as it says on the -- in the blue bar of Tribune's

10   minority interest in Classified Ventures.

11   A     We arrived at a -- excuse me.         We arrived at a range

12   of $195 to $230 million here.

13   Q     Now I think you said that you did some valuation work

14   in January.    Is that right?

15   A     Yes, we did.

16   Q     Okay.    And why did you do valuation work in January?

17   A     Well, as we approached the confirmation hearing, as

18   you would expect, we would want to go back and revisit the

19   October valuation -- sorry, the valuation that we did that

20   underlies the disclosure statement to confirm for ourselves

21   the reasonableness of it.

22   Q     And if we look at the chart there, this was the blowup

23   we have.   That's the value -- your valuation of the company.

24   Correct?

25   A     Right.    Three component parts as I described before,
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 70 of 258
                                                                             70
 1   $3.2 billion for the core business, $1.9 for minority

 2   investments, $1.7 for the cash together gets you $6.75

 3   billion.

 4   Q     Did you look at all three of those component parts in

 5   January?

 6   A     Yes, we did.

 7   Q     Okay.   And what was generally the conclusion of your

 8   work in January?

 9   A     The work we did in January confirmed the

10   reasonableness of the valuation of $6.75 billion.

11   Q     Would you look at Slide 18, please?

12   A     Yes.

13   Q     What does Slide 18 show?

14   A     Slide 18 summarizes the work that we did in the

15   January timeframe and reflects that we used the current

16   market and company financial information available to us at

17   that time.

18   Q     Okay.   Let's start with updated market data, the first

19   line on the slide under the January valuation supplement.

20   Could you explain how you -- what update you did to the

21   market data in your January work?

22   A     As we talked about before, we relied upon the

23   comparable companies in arriving at our valuation.             And so

24   we were able to update the trading multiples to January 19.

25   We then did another search for precedent transactions and
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 71 of 258
                                                                            71
 1   did not find any.    And then we updated our discount rates to

 2   the market data as of January 19 as well.

 3   Q     Now the next line says that you updated company

 4   financial data.     Could you explain what work you did

 5   updating company financial data?

 6   A     Right.    So when we were doing this work in January, it

 7   was very much real time.     The company was in the midst of

 8   preparing its budget.    The majority owners of the minority

 9   investments that we have are -- were also preparing their

10   budget so we were getting information real time.             What we

11   incorporated in our work was a preliminary version of the

12   2011 budget as prepared by Tribune for its two main

13   operating segments.    We did have preliminary actuals for

14   2010 that we were able to incorporate.            And then we received

15   budgets for the principal minority investments.

16   Q     Did you have meetings with management in January?

17   A     Yes, we did towards -- we were speaking with

18   management and had a meeting with them in the early February

19   timeframe.

20   Q     Okay.     Did you prepare work papers that reflected the

21   work that you did in January?

22   A     Yes, we did.

23   Q     If you would look in your binder at exhibit DCL

24   Exhibit 1092.    Is that a copy of the work papers that

25   reflect your work and opinions in January?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 72 of 258
                                                                            72
 1   A     Yes.

 2         (DCL Exhibit 1092 identified.)

 3                 MS. KENNEY:    I'd like to move that into evidence.

 4                 THE COURT:    Is there any objection?

 5                 MR. QURESHI:   No objection, Your Honor.

 6                 THE COURT:    It's admitted without objection.

 7         (DCL Exhibit 1092 received in evidence.)

 8   BY MS. KENNEY:

 9   Q     Can you turn to Slide 19, please?           Can you explain to

10   the Court what this page shows?

11   A     This page reflects the updated market data we relied

12   upon in doing our January work.        And so on the one hand, on

13   the columns which fall underneath January 19, that would

14   have reflected the multiples as calculated on that date and

15   it compares it to multiples that were calculated in our

16   evaluation report.

17   Q     So I'm looking at Chart 19.        I'm going to the far left

18   side under the word publishing.        Do you see where I am?

19   A     Yes.

20   Q     Okay.    And I see that on 10/4 it says 2010 estimated

21   EBITDA and on 1/19 it says 2011 estimated EBITDA.             Do you

22   see where I am?

23   A     Yes.

24   Q     Could you explain why you used 2011 estimated EBITDA

25   in your January work?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 73 of 258
                                                                         73
 1   A     Well, by the time we get to the January timeframe,

 2   2010 has passed, even though maybe the financial results

 3   haven't been reported.     Our assessment at that time was that

 4   investors were beginning to look at estimates for 2011

 5   principally, instead of where 2010 might come in at as the

 6   basis for valuing these businesses.         And so we shifted our

 7   focus to looking at 2011 as our forward estimate of earnings

 8   instead of looking at 2010, with respect to the publishing

 9   segment.

10   Q     Did you switch to 2011 for any of the other segments

11   or parts of Tribune that you valued?

12   A     Well, when we valued WGN America which we called the

13   cable operations, we did that on the same basis.

14   Q     And what about the minority investments?

15   A     And we did so as well on the minority investments.

16   Q     And how did the market update on Page 19, how does

17   that play into your analysis that you did in January?

18   A     Again, the multiples that we used here informed us of

19   the valuations we were able to arrive at using the

20   comparable companies approach.

21   Q     Okay.   And some of the numbers on here are in boxes.

22   What does -- what are the boxes for?         Are these the

23   companies you relied on?

24   A     Yes.    The boxes if we remember from the earlier

25   schedules, represent the key comparables that we looked at
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 74 of 258
                                                                                74
 1   in arriving at our multiple range.

 2   Q       Would you take a look at Slide 20, please?

 3   A       Yes.

 4   Q       What does Slide 20 show?

 5   A       Slide 20 shows a comparison of the earnings metrics

 6   that we use in the comparable companies approach to value

 7   each of these component pieces of Tribune.

 8   Q       And what does Slide 20 tell you about what the core

 9   business operations of Tribune?

10   A       Well, the important take away here is when looking at

11   publishing, that the EBITDA metric that we're looking at

12   goes down.     In 2010, we have an estimate of EBITDA of 273,

13   but by 2011, we're expecting diminished performance.                It's

14   an important consideration.       On the broadcasting side, even

15   though we continued to use a blend of 2010 and 11 to reflect

16   the political on and off cycle that I discussed earlier,

17   that there was a diminished outlook for the broadcasting

18   segment as well.     As you can see, it goes down.

19   Q       And what does Slide 20 -- what happened with the

20   minority investments?

21   A       Well, the one that's of key interest here, of course,

22   is Food Network and you can see that the expectation is for

23   2011.   The blue and the gray here both reflect 2011.               The

24   outlook for 2011 had improved.

25                  MS. KENNEY:   Could you please turn to slide 21,
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 75 of 258
                                                                         75
 1   and Your Honor, we have another gigantic demonstrative I’d

 2   like to put up on the -- Angela, do you mind?

 3         (No audible response)

 4              MS. KENNEY:     Thank you.

 5   BY MS. KENNEY:

 6   Q     What is slide 21?     Thank you, Angela.

 7         (No audible response)

 8   A     Slide 21 here shows a comparison of the valuation work

 9   that was done in January in the supplement, as compared to

10   our valuation on the left-hand side.

11   Q     Well, in light of the differences -- slide 21, in the

12   variance column that I see here, in light of those

13   differences, what did you conclude about your valuation

14   report?

15   A     Well, this work highlighted to us the reasonableness

16   of our valuation and the plan of disclosure statement.

17   Q     And how does it highlight the reasonableness of your

18   valuation to you?

19   A     Well, good question.       And this is another area that we

20   spent time thinking carefully about.         There are three main

21   reasons that we concluded that our valuation was reasonable

22   and the plan disclosure statement, or the 6.75 billion.            The

23   first, if you look at, on this page, is that where did the

24   composition of this change in value occur.            And if you look

25   at the variance column, you can see that the total change in
     Case 08-13141-BLS   Doc 8350-3    Filed 03/14/11   Page 76 of 258
                                                                            76
 1   distributable value is 269.       And it comes, really, in two

 2   pieces.    One is that the core business valuation went down.

 3   So let me just pause there.       The business that this company

 4   actually controls/operates is actually going down.              The

 5   second is where did the increase in valuation come from.              It

 6   came from the non-controlled investments.            These, again, are

 7   the assets that this company does not control, may face

 8   challenges and limitations in its ability to ever realize

 9   their value, liquidate these interests.            And so, taken

10   together, we’re being asked, do we think that we have a

11   fundamentally different view or assessment of valuation for

12   Tribune when the change in value is being principally driven

13   by changes in minority investments.          And our professional

14   judgment is that wasn’t a basis to -- particularly when, as

15   I described in our October work, we felt we had given very

16   full valuation to the minority investments by not applying

17   any of the minority discounts, lack-of-marketability

18   discounts, which I know other experts have done so.

19   Q        You said there were three points.         What’s the second

20   point?

21   A        Well, the second point would be, you -- sometimes, I

22   think you just need to take a step back from it all and take

23   a big-picture look at it.        And $270 million, against the

24   context -- well, we all agree it’s a big number.              I probably

25   wouldn’t be sitting here today if I had that in my bank.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 77 of 258
                                                                          77
 1   But against the $6.75 billion valuation, we just have to

 2   keep in perspective the magnitude of it and the significance

 3   of it.    And if I did a work in January and the number didn’t

 4   change, you’d probably all look at me kind of funny, too.

 5   So we just have to keep in perspective here that it’s not

 6   surprising that there is some change, but we have to think

 7   about the magnitude of it, relative to the 6.75.             I believe

 8   it’s less than five percent.

 9   Q        And you said there were three reasons.         What’s the

10   third?

11   A        Well, the third would be that when you look at this

12   number of $7 billion, and we discussed earlier the range

13   that we arrived at in our October valuation of 7.1 billion

14   on the high end.    Well, this point estimate still falls

15   within that range.    And that was another consideration that

16   gave us comfort that the range that we had come up with in

17   our valuation was reasonable.

18   Q        Do you believe that 6.75 billion is still a reasonable

19   point estimate as of the date of emergence?

20   A        Yeah, and you make an important distinction there.

21   What we were being asked to do here is not value this

22   company on January 19 of 2011.       We’re being asked to come up

23   with our estimate of the value of this business at

24   emergence: 6/30.    And given that, I think the range we

25   arrived at was reasonable, the then-question is, well what
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 78 of 258
                                                                           78
 1   is the best point estimate within that range.            And in our

 2   judgment, the midpoint still best represents the most

 3   reasonable estimate of this company’s valuation at

 4   emergence, because the midpoint best takes into

 5   consideration the chance or risk or opportunity of the

 6   valuation either improving between now and then or going

 7   down between now and then.       One only has to look at the

 8   stock market every day for the last two weeks to realize

 9   markets are highly volatile, and they will change.             They

10   will change -- changed since January 19.           It will continue

11   to change every day between now and June 30.            So 6.75 as the

12   approximate midpoint best reflects that risk.

13   Q     Now, you said you did your January work based on

14   preliminary 2011 financial information, correct?

15   A     That’s correct.

16   Q     And are you aware that the company finalized its 2011

17   numbers?

18   A     Yes, there was a board budget dated February 2, which

19   was ultimately approved.

20   Q     Okay.   And have you done any analysis to determine

21   whether there was any changes from the numbers that you used

22   in January and the final board-approved numbers in February?

23   A     Yes, so again, we were preparing this January

24   supplement in real time, as numbers were coming in, and the

25   numbers we had were provided to us towards the end of
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 79 of 258
                                                                        79
 1   January and didn’t fully reflect the numbers that were

 2   finally approved by the board.       Those numbers were approved

 3   very shortly in the same time that this expert report was

 4   due.   And so, having the benefit of that budget, we wanted

 5   to make sure that we went back and confirmed that there

 6   wasn’t anything materially different between those numbers

 7   and the preliminary numbers.       And in fact, in our diligent

 8   sessions with management, they indicated to us that there

 9   would be immaterial differences.        We confirmed that, and

10   that’s shown on page 22, by comparing the what we call total

11   OCF here between the final board-approved budget and the

12   preliminary numbers we used, and the difference is, we noted

13   here, $12 million.

14   Q      And you have broken out a line for non-cash-pension

15   expense here, which is 47 million.         Why do you have that

16   broken out, Mr. Mandava?

17   A      Well, the reported OCF number, if you will, the total

18   operating cash-flow, would be 532, as compared to 497, a

19   $35-million difference.     But the big component of that

20   change was this new actuarial assumption of pension expense.

21   The core operations of the business, or the cash-flow of the

22   business, were not impacted materially.

23   Q      And the information on page 22, does that lead you to

24   any conclusion as to whether your January supplemental work

25   is valid?
     Case 08-13141-BLS   Doc 8350-3     Filed 03/14/11   Page 80 of 258
                                                                                80
 1   A     No, in fact, it confirms the reasonableness.

 2   Q     I’m sorry?

 3   A     In fact, it confirms the reasonableness.

 4   Q     Thank you.    Would you turn to slide 23, please?              Did

 5   you perform any analysis as to the feasibility of the plan?

 6   A     We did.

 7   Q     In your opinion, will the reorganized debtors likely

 8   have sufficient liquidity to operate their business and meet

 9   their financial obligations after the effective date under

10   the DCL lender plan?

11   A     We do think that they will.

12   Q     And why is that?

13   A     Looking at the implied credit statistics here, as

14   provided in the projections in the disclosure statement, it

15   shows the company with very healthy credit statistics.

16   Q     In your opinion, if the DCL plan is confirmed, is it

17   likely that confirmation will be followed by the liquidation

18   or the need to -- for further reorganization of the debtors?

19   A     I do not.

20   Q     Mr. Mandava, would you be available to come back, if

21   needed, to provide rebuttal testimony?

22   A     Yes.

23                MS. KENNEY:    Thank you.

24                THE COURT:    Okay.     Cross examination?

25                MR. QURESHI:   Your Honor, may I approach with the
     Case 08-13141-BLS      Doc 8350-3     Filed 03/14/11   Page 81 of 258
                                                                                 81
 1   binder?

 2                    THE COURT:    Yes.   Thank you.

 3                    MR. QURESHI:    May I proceed, Your Honor?

 4                    THE COURT:    You may.

 5                    MR. QURESHI:    Thank you.

 6                                 CROSS EXAMINATION

 7   BY MR. QURESHI:

 8   Q        Good morning.    For the record, Mr. Mandava, Abid

 9   Qureshi of Akin Gump, on behalf of Aurelius Capital

10   Management.       Sir, I want to start with talking a little bit

11   about the evolution of Lazard’s valuation.                 So I think you

12   testified that the first, at least formal, report that

13   Lazard did on valuation was in March, and there, your

14   conclusion was 6.1 billion, correct?

15   A        That is correct.

16   Q        Okay.    And then, you took another look at valuation

17   informally in around the July timeframe, and in July, you

18   found the value had gone up to about $6.5 billion.                  Is that

19   right?

20   A        That was our assessment at that time.

21   Q        And then, we get to October, and of course, we’ve seen

22   the October report, and that is where you get to the

23   conclusion of $6.75 billion, right?

24   A        That’s correct.

25   Q        And am I correct that the best way to think about the
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 82 of 258
                                                                        82
 1   October valuation report is that it really is an update to

 2   your March report, in that you rely upon the same approach,

 3   the same methodologies and, in most instances, the same

 4   comparable companies and transactions?

 5   A     I think that’s a fair description.

 6   Q     Okay.   And you were the lead banker at Lazard with

 7   respect to the October valuation report, right?

 8   A     Yes, I was.

 9   Q     Okay.   And in the March report, the media bankers at

10   Lazard took the lead, and you worked alongside them, right?

11   A     I worked closely with them, yes.

12   Q     And then, we get to the January update, and in

13   January, what you wanted to do is you wanted to validate the

14   reasonableness of your October conclusion of 6.75, right?

15   A     That’s correct.

16   Q     Okay.   And you were the lead banker at Lazard on the

17   January update?

18   A     Yes, I was.

19   Q     Okay.   And you agreed with the methodologies, the

20   calculations, and the results of the January update?

21   A     I agreed with the results that we provided, yes.

22   Q     Okay.   And as you can see from the big chart right

23   beside you, the midpoint that you concluded in January was

24   7.019, correct?

25   A     That’s correct.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 83 of 258
                                                                         83
 1   Q     Okay.     And then you submitted an expert report, and

 2   the report is dated February the 8th, and I’ve handed you a

 3   copy of it.    And you were the lead banker responsible for

 4   the preparation of the report, right?

 5   A     I was, indeed.

 6   Q     Okay.     And turn to page 14, please, of the report.

 7   And that’s your signature on that page, along with Mr.

 8   Kurtz, right?

 9   A     This thing’s kind of all upside-down.            Can I take

10   another copy of it?

11   Q     Yeah, of course.

12   A     Yes, that’s my signature.

13   Q     And that’s also the signature of Mr. Kurtz?

14   A     It is.

15   Q     And is Mr. Kurtz the lead restructuring banker at

16   Lazard with respect to this engagement?

17   A     He is.

18   Q     Okay.     And your February report, you can see the

19   signature; it’s dated February 8.        But your conclusion on

20   February 8 is that the midpoint distributable-enterprise

21   value is 6.75 billion, is that right?

22   A     I’m sorry.    Ask that question one more time.

23   Q     Sure.     The signature page on your report is dated

24   February 8 --

25   A     Yes.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 84 of 258
                                                                              84
 1   Q     -- but your conclusion, as of February 8, is that the

 2   midpoint distributable-enterprise value for Tribune is 6.75

 3   billion.   Is that right?

 4   A     That’s right.

 5   Q     Okay.   And although Mr. Kurtz signed the report,

 6   you’re aware that he has no opinion as to what the

 7   distributable-enterprise value is of Tribune?

 8   A     I’m not sure how -- is that a technical matter?               Do

 9   you need an expert opinion or a judgment?           Or what do you

10   mean by that statement?

11   Q     I mean I asked Mr. Kurtz, at his deposition, if he had

12   an opinion as to the -- an expert opinion as to the

13   enterprise value of Tribune, and he said no.            Were you aware

14   of that?

15   A     I did not have the benefit of Mr. Kurtz’s testimony.

16   No.

17   Q     Okay.   And did you know that Mr. Kurtz, although he

18   signed the report, does not have an opinion that the DCF

19   analyses that are contained in your February report were

20   done correctly?     Were you aware of that?

21   A     I’m aware that he relied upon my expert judgment in

22   this analysis and that his involvement was with respect to

23   some high-level conclusions and important judgments.               That’s

24   what I’m aware of.

25   Q     Okay.   So you were not aware, then, that he did not
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 85 of 258
                                                                           85
 1   have an opinion as to whether the DCF analyses in your

 2   report were done correctly?

 3   A     I have no basis to yes or no if that was what --

 4   Q     Okay.

 5   A     -- he said.

 6   Q     And were you aware that Mr. Kurtz, who signed your

 7   expert report, did not have an expert opinion as to the --

 8   whether the comparable company analysis contained in your

 9   expert report were correct?

10   A     Again, I think I just explained to you my

11   understanding of his involvement and what he is an expert

12   on.

13   Q     Okay.    So you didn’t know that, that he was not

14   prepared to testify that you did it correctly?

15   A     I know that he wasn’t going to testify to that.              I do

16   know that.    I -- what I’m distinguishing is I don’t know

17   what he said that day, because I was preparing myself.

18   Q     Okay.    So then likewise, with respect to the precedent

19   transactions, you did not know that Mr. Kurtz, though he

20   signed the report, was not prepared to come in here and give

21   an expert opinion that you applied the precedent transaction

22   analysis correctly?

23   A     Again, I knew he was not going to provide expert

24   testimony on that, if that’s --

25   Q     Okay.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 86 of 258
                                                                          86
 1   A        -- what you’re asking me, but I don’t know he said

 2   during his testimony.

 3   Q        And some of the important conclusions that you reached

 4   in your expert report you, in fact, reached in consultation

 5   with Mr. Kurtz, isn’t that right?

 6   A        There were a handful of important determinations that

 7   I consulted with him on.

 8   Q        And in one of those important determinations, wasn’t

 9   it also the conclusion that your October valuation of 6.75

10   billion is still reasonable today?

11   A        I did ask him on -- consult with him on that matter.

12   Q        Okay.    Now, let’s talk about the decision to stick

13   with 6.75 billion as the value.          Am I correct that Lazard’s

14   practice, as a firm, is that if a valuation that underlies a

15   filed plan and disclosure statement is still materially

16   accurate, Lazard’s practice is that it will not update its

17   valuation and provide a new, formal report?

18   A        That’s my understanding of our practice, as confirmed

19   by my discussions with one of the most senior members of our

20   group.

21   Q        Right.   And that would be Mr. Ridings, correct?

22   A        That’s right.

23   Q        Okay.    But you agree, sir, do you not, that in

24   conducting an analysis of the total enterprise value of

25   Tribune, any valuation expert should rely upon the most up-
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 87 of 258
                                                                        87
 1   to-date information available?

 2   A       I believe, in my deposition, I said that valuation

 3   experts should certainly consider and take -- and review all

 4   the currently available information.

 5   Q       Indeed, you did.    And your January update, in fact,

 6   does that, right?      So you -- if you look at that document

 7   and you have it in the binder I handed up, it is the second

 8   document in the binder.      And our version is marked as NPP-

 9   2284.    And in fact, that’s what you do in the January

10   update, right?     So you look at, for example, stock prices

11   for your comparable companies as of --

12   A       Hold on, let me --

13   Q       -- January the 19th.

14   A       Let me just get to this --

15   Q       Sure.

16   A       -- if I can.

17   Q       Take your time.

18   A       Yes, that is the January supplement work that we did.

19   Q       Okay.   And it relies upon the most up-to-date stock

20   information, right?     So you take stock prices for your comps

21   as of January the 19th?

22   A       Yes, that’s correct.

23   Q       Okay.   And the weighted-average cost of capital that

24   you calculate in your DCF also is calculated as of January

25   the 19th, right?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 88 of 258
                                                                        88
 1   A     That’s correct.

 2   Q     Okay.     And you would agree with me that those are,

 3   therefore, better indicators of at least those two metrics

 4   than October?

 5   A     They are the current indicators, that’s for sure.

 6   Q     And so I gather you also agree that the overall

 7   conclusion in your January, it’s more recent; it’s more up

 8   to date than what you did in October?

 9   A     I would say it’s the assessment on that date.

10   Q     Okay.     And your work was accurate in January, wasn’t

11   it?

12   A     I believe it was.

13   Q     Okay.

14   A     But remember what I just said: it’s the assessment as

15   of that date.

16   Q     Understood.    So as of January the 19th, you concluded,

17   according to the big board right beside you, midpoint

18   distributable-enterprise value of 7.019 billion, right?

19   A     The midpoint would be 7.019, that’s correct.

20   Q     And yet, you’re sticking with your conclusion in your

21   testimony before this Court, that the Court should find that

22   the distributable-enterprise value is $6.75 billion,

23   correct?

24   A     That’s what I’m saying.

25   Q     Okay.     And sir, are you asking the Court to accept
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 89 of 258
                                                                         89
 1   that because it’s Lazard’s policy that you don’t formally

 2   update?

 3   A        No, I think I actually spent a fair amount of time up

 4   here, explaining the judgment that was applied and why we

 5   felt 6.75 was the reasons be best estimate.

 6   Q        Okay.   And is there an agreement, among the DCL plan

 7   proponents, that the distributable-enterprise value has to

 8   be 6.75?

 9   A        Nothing that I’m aware of.

10   Q        Or are you aware of any consequences that there might

11   be to the DCL plan if the Judge finds distributable-

12   enterprise value to be higher than 6.75?

13   A        There’s certainly nothing taken into consideration in

14   arriving at our valuation estimate.

15   Q        Okay.   And as distributable-enterprise value

16   increases, do you know if that has any effect on the natural

17   recoveries of the senior notes?

18   A        I’m -- I am -- I understand how the recovery model

19   works.    I’m not an expert in that area, but I do have an

20   understanding.

21   Q        Okay.   And so what happens if value goes up?

22   A        Well, it depends where it goes up and at what level

23   and the magnitude.     And if it goes up at the operations of

24   this business, then it really doesn’t matter.

25   Q        Well, if natural waterfall recoveries go up, doesn’t
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                                                                               90
 1   it follow that settlement consideration to the senior notes

 2   goes down?

 3                 MS. KENNEY:    I object.

 4                 THE WITNESS:   Well, you just asked me a

 5   question --

 6                 THE COURT:    Please --

 7                 THE WITNESS:   -- that --

 8                 THE COURT:    I’m sorry, sir.       When there’s an

 9   objection, you must hold your answer until I’ve resolved it.

10                 MS. KENNEY:    Misrepresents Mr. Mandava’s

11   testimony.

12                 MR. QURESHI:   I didn’t represent it at all.            I

13   asked a question.

14                 THE COURT:    Overruled.   You may answer, sir, if

15   you’re able.

16                 THE WITNESS:   Could you repeat that again,

17   please?

18   BY MR. QURESHI:

19   Q     Sure.    The question was, sir, if natural waterfall

20   recoveries go up, doesn’t it follow that settlement

21   consideration to the senior notes goes down?

22   A     So, if I assume something different, then what I just

23   said would be a consequence of valuation going up.             If I

24   make that assumption, then would the settlement -- implied

25   settlement be lower?
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 91 of 258
                                                                         91
 1   Q       Of course.

 2   A       Okay.

 3   Q       Now, let’s go, for a moment, in your report, please,

 4   to page 47.      And on page 47, you set forth summary financial

 5   projections for the publishing segment of Tribune, is that

 6   correct?

 7   A       I’m sorry, which page?

 8   Q       47.

 9   A       Right.    We do have segment level projections on this

10   page.

11   Q       And this is as of March, right, so this section of

12   your February expert report, if you flip back to -- in front

13   of page 43, there’s a title page.         This is your March

14   valuation materials, right?

15   A       That appears to be correct.

16   Q       Okay.    And the 2011 to 2014 long-term projections for

17   publishing, you don’t recall personally meeting with

18   management to discuss the reasonableness of those numbers,

19   do you?

20   A       I think, in my deposition, I said I don’t recall

21   whether I did or not, but I do know that members of the

22   Lazard team diligenced these, and what I do remember is

23   being part of -- and this is subsequent to our deposition.

24   I do remember attending meetings that the company held with

25   the creditors broadly to discuss the business plan.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 92 of 258
                                                                          92
 1   Q        Right.   But at your deposition, you told me that you

 2   don’t recall personally sitting down with management to

 3   discuss the reasonableness of this set of projections,

 4   right?

 5   A        Yeah, I said I was -- I think I said I wasn’t sure,

 6   but you may be right.

 7   Q        Okay.    Now, let’s just talk generally for a second

 8   about a couple of your methodologies, comparable companies

 9   and transactions.      First of all, I gather, from your direct

10   testimony, sir, that you agree that it is important, when

11   selecting comparable companies, to analyze the specific

12   characteristics of each company that you’re considering,

13   right?

14   A        Yeah, it’s important to take the consideration of each

15   of the comparables, yes.

16   Q        And likewise, when you’re selecting precedent

17   transactions, it’s important to consider the specific

18   characteristics of each transaction before you include it in

19   your analysis, right?

20   A        They should be reviewed.

21   Q        Okay.    And indeed, it requires the exercise of your

22   professional judgment to come up with what you believe to be

23   a good set of comparable companies and precedent

24   transactions, doesn’t it?

25   A        Well, in general, it’s better to be informed by your
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 93 of 258
                                                                        93
 1   assessment of what is comparable versus just wildly

 2   assuming, you know, averages and means, if you can.

 3   Q     Right.   So ultimately, it’s a subjective exercise, but

 4   you have to rely upon your professional judgment and

 5   analysis of the facts to get to the right outcome, isn’t

 6   that so?

 7   A     When it’s informed judgment, yes.

 8   Q     Okay.    Now, let’s flip, sir, to page 3 of your report,

 9   and talk for a minute again about the long-term projections.

10   So you told me that you don’t recall discussing in March --

11   or in connection with the March report, the 2011 to 2014

12   numbers, in your October valuation, the projections go out

13   one more year, to 2015, correct?

14   A     They do.

15   Q     Okay.

16   A     But in -- one thing I just want to point out is, I

17   don’t disagree with you that I may have said I might not

18   have been at those direct diligence meetings, but remember,

19   at Lazard, we operate as a team, and we have a group of

20   bankers, and we all get the benefit of the knowledge that is

21   imparted upon us by the various work streams that we’re

22   involved in.   So whether I was or wasn’t in diligent session

23   doesn’t mean that, at the end of the day, I don’t get the

24   benefit of the knowledge of the broader team on assessments

25   of the business.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 94 of 258
                                                                        94
 1   Q     Now, sir, on page 3 of your report, you describe, in

 2   the first bullet point, what you call a top-down process

 3   that management engaged in to add 2015 to the projections

 4   period, correct?

 5   A     That’s right.

 6   Q     And you recall attending at least one meeting with

 7   management to discuss the projections in -- that are used in

 8   your October report?

 9   A     Yes, I believe I discussed that in my deposition.

10   Q     Right.   And that was a meeting with Chandler

11   Bigelow and at least one of his finance staff, right?

12   A     That’s right.

13   Q     Okay.    And your understanding of how management went

14   through this top-down process to come up with the 2015

15   number is that it represents an extrapolation based upon

16   growth and margin and other assumptions that the company

17   used to come up with the 2011 to 2014 projections, right?

18   A     Right, in the October timeframe, what I was

19   distinguishing was that, at that point in time, there wasn’t

20   a set of projections that were developed on a paper-by-paper

21   or station-by-station basis, but instead, the outer-year

22   projections were developed at the segment level, and as

23   such, in extending the projections one more year, they

24   relied upon assumed growth rates and margins at the segment

25   level to forecast out one more year.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 95 of 258
                                                                            95
 1              MR. QURESHI:     Okay.    Your Honor, what I’d like to

 2   do, because I’m now going to get into some numbers all in

 3   the expert report but that I believe the company considers

 4   to be confidential.    So I have created a couple of

 5   demonstrative exhibits, given those exhibit numbers.               And if

 6   I may, Your Honor, what I’d like to do is hand up a set and

 7   just read the exhibit numbers into the record.

 8              THE COURT:    All right.

 9              MR. QURESHI:     Thank you.

10              THE COURT:    Thank you.

11              MR. QURESHI:     And Your Honor, for the record, the

12   two charts that I’ve handed up, one of them has been marked

13   as NPP-2467, and that one, the title page is publishing

14   comparison of October and March projections.            I’m sorry.

15         (NPP Exhibits 2467 and 2468 identified.)

16              MR. BENDERNAGEL:      Your Honor, just so it’s

17   absolutely clear, these documents are highly confidential,

18   and they should be so designated.        The charts that were

19   handed out don’t have any designation on them in that regard

20   at all, and we just don’t want to be sort of wandering with

21   them back and forth without that classification.             We can fix

22   it later, but I just wanted to make sure that people are

23   aware of that instruction.

24              THE COURT:    All right.

25              MR. BENDERNAGEL:      I’m sorry.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 96 of 258
                                                                           96
 1                 MR. QURESHI:    No, no, that’s fine.         And indeed, I

 2   was going to suggest that the record reflect that these two

 3   exhibits be submitted under seal, so that they are not part

 4   of the public record.

 5                 THE COURT:   Is there any objection?

 6   (No audible response)

 7                 THE COURT:   So ordered.

 8   (NPP Exhibits 2467 and 2468 received in evidence, under

 9   seal.)

10                 MR. QURESHI:    And to complete the record, Your

11   Honor, the second of the two charts that I handed up contain

12   some financial information from the Food Network, and it is

13   marked NPP-2468.

14   BY MR. QURESHI:

15   Q        Now, Mr. Mandava, what I want to point you to first is

16   the publishing comparison chart.          Do you have that in front

17   of you?

18   A        Yes, I do.

19   Q        Actually, before we get to the chart, you’re aware

20   that in 2010, for publishing, the company substantially

21   outperformed against the projection that it had at the

22   beginning of the year, right?

23   A        Yes, and revenues did decline that year.

24   Q        And if you look at the chart that I handed up, and

25   again, unless Mr. Bendernagel tells me otherwise, you
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 97 of 258
                                                                        97
 1   shouldn’t read these numbers into the record, but I want you

 2   to compare the EBITDA number for 2010 taken from the March

 3   projections and that taken from the October projections.           Do

 4   you see that?

 5   A     Yes, I do.

 6   Q     And that increase in EBITDA reflects the

 7   outperformance of the company in publishing through the

 8   first three quarters of 2010, correct?

 9   A     Yes, it does and takes into consideration the outlook

10   for the balance of the year.

11   Q     Right.    And indeed, if we looked at numbers for year

12   end for -- in the fourth quarter, the company continued to

13   outperform, even against its revised projections for

14   publishing for the rest of the year, right?

15   A     I believe so.

16   Q     Okay.     And if we look at the percentage EBITDA growth

17   lines, and what I’d like you to do is just compare, in the

18   out-years -- so from 2011 through 2014 -- the percentage

19   EBITDA growth that Tribune is projecting in March, and

20   you’ll see they’re all negative numbers, and then the

21   percentage EBITDA growth that it is projecting in October.

22   And I gather, sir, from the chart here, you would agree with

23   me that -- well, we’ve established that 2010 -- the EBITDA

24   numbers went up.    And you would agree with me that, in each

25   of the years that follow, despite EBITDA for 2010 having
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 98 of 258
                                                                         98
 1   been ahead of plan, the percentage decline in growth

 2   increases each and every year, through 2014, correct?

 3   A       It does continue to decline.

 4                MS. KENNEY:    I’m sorry.      I object to the

 5   question.   It -- I don’t actually understand it, but I don’t

 6   know what he’s comparing.

 7                THE COURT:    I’ll allow him to answer, if he’s

 8   able.

 9                THE WITNESS:    The only thing I understand on this

10   page is that there is an expectation of annual decline each

11   year --

12                MR. QURESHI:    Okay.

13                THE WITNESS:    -- whether you look at it in the

14   March timeframe or the October timeframe.

15   BY MR. QURESHI:

16   Q       Right.   And just so we’re clear, Mr. Mandava, the two

17   numbers that I was asking you to prepare -- to compare, you

18   see the line labeled “percentage growth”?

19   A       Yes, I do.

20   Q       Right.   And there’s a “percentage growth” line for the

21   March 2010 projections, and there’s a “percentage growth”

22   line for the October 2010 projections, correct?

23   A       I do see that.

24   Q       And they’re all negative, right?

25   A       That’s what I just indicated, yes.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 99 of 258
                                                                        99
 1   Q     Okay.    And if you compare, in any one year, between

 2   ’11 and ’14, the numbers, you would agree with me that the

 3   October numbers are more negative in each and every year

 4   than the March numbers, correct?

 5   A     Yes, but I mean, they’re on different starting points.

 6   I’m not -- I -- yes, there’s an observation.

 7   Q     Right.

 8   A     Yes, okay.

 9   Q     Okay.    And despite that, your valuation went up from

10   March to October, correct?

11   A     Well, remember, the EBITDA is higher.

12   Q     Right.

13   A     So I mean, that’s --

14   Q     So the answer is yes?

15   A     Yes, the EBITDA of the company is higher, so if the

16   EBITDA of the company is higher and multiples are the same

17   or higher, you would get a higher valuation.

18   Q     Okay.    Now, the March projections, they included

19   certain assumptions from management concerning what you

20   describe in your deposition as digital initiatives, right?

21   A     That’s right.

22   Q     So the projections included projected capital

23   expenditures as well as projected revenues and EBITDA

24   associated with those initiatives, I think you told me

25   particularly in the outer years of the forecast, right?
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 100 of 258
                                                                            100
 1   A        That’s correct.

 2   Q        Okay.    And then, in October, management removed both

 3   the CAPEX from the EBITDA associated with those initiatives,

 4   right?

 5   A        With respect to the digital initiatives, yes.

 6   Q        In your understanding is that management decided to

 7   eliminate the strategy of expanding and growing the digital

 8   initiative revenue in an effort to present a set of

 9   projections that reflect the base operations of the

10   business, right?

11   A        I may    have used words to that effect, and I also

12   believe what I was trying to communicate also at that time

13   was that the strategies to improve revenues through, you

14   know, the internet channel were still strategies, and they

15   did not have a detailed business plan behind them.                And in

16   an effort to try to present a set of projections, which were

17   as supportable, as defensible as possible, there was a

18   decision to eliminate that revenue and income stream

19   associated with initiatives for which there wasn’t a

20   detailed business plan behind it.

21   Q        Right.   And I asked you, at your deposition, if you

22   concluded that it was reasonable for the company to take the

23   digital initiatives entirely out of the forecast in October.

24   And what you told me is that the conclusion that you reached

25   is that by taking out these initiatives, the publishing
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 101 of 258
                                                                         101
 1   projections reflected, I think your phrase was, the status-

 2   quo outlook for the business, right?

 3   A     I may have used those words.

 4   Q     Okay.    And what you mean by status-quo outlook is that

 5   these publishing projections reflect a scenario where the

 6   secular decline that’s facing the publishing industry cannot

 7   be turned around, right?

 8   A     That’s right.

 9   Q     Okay.

10   A     Notwithstanding all the efforts, that’s right.

11   Q     All right.    And 2010 publishing outperformed plan at

12   the beginning of the year by around $100 million, right?

13   A     Ultimately it did, yes.

14   Q     Right.   And despite that outperformance against the

15   plan in 2010, I take it that you still don’t question the

16   reasonableness of the company’s assumption reflected in the

17   projections that the secular decline in the industry will

18   continue?

19   A     Well, I think I made a comment earlier that

20   notwithstanding that, the company’s revenue has continued to

21   decline, so I understand that you’re commenting that actuals

22   came in better than budget, but the revenues continue to

23   decline.

24   Q     Okay.    Sir, if you could, turn in your binder, please,

25   to the -- I believe it’s the third tab in the document -- in
     Case 08-13141-BLS      Doc 8350-3   Filed 03/14/11    Page 102 of 258
                                                                              102
 1   the binder, rather.        It’s called “peer and market data,

 2   Tribune”, and it’s a Lazard document.                Do you see that?

 3                    THE COURT:   Is that NPP-2305?

 4                    MR. QURESHI:   I was about to say that.           Yes, Your

 5   Honor.

 6                    THE COURT:   Okay.

 7                    THE WITNESS:   That’s right.

 8   BY MR. QURESHI:

 9   Q        Okay.    And you were involved in the preparation of

10   this document, right?

11   A        That’s right.

12   Q        And turn, please, sir, to page 2 of the document.              And

13   am I correct that what you are doing on this page is you are

14   comparing.       At the bottom of the page, you’ve got a line

15   showing Tribune publishing total advertising and its

16   projections through 2015, and then below that, you show

17   annual growth, correct?

18   A        That’s right.

19   Q        And what you’re doing is you’re comparing those

20   numbers to some other indices.           Can you please explain to

21   the Court what it is that you’re comparing it to?

22   A        I’m highlighting the annual growth assumptions

23   embedded in Tribune’s print advertising revenue stream, as

24   compared to broader industry forecasts, again, for the

25   industry as a whole, what their expectation is, with respect
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 103 of 258
                                                                                103
 1   to the annual growth or decline of advertising print

 2   revenue.

 3   Q       Okay.    And the conclusion that you draw from this

 4   page, sir, is that Tribune’s projections for the publishing

 5   sector are more conservative than, at least, this set that

 6   you’re comparing it to, right?

 7   A       Well, if you look at 2011, the number for Tribune is

 8   not more conservative than what’s provided by the peers.                   If

 9   you look at 2012, it’s consistent with one of them.                  And

10   then, if you look at 2013 and beyond, well, now you have

11   less data.      And when you look at the forecasting services

12   that are providing data at that point in time, it’s all over

13   the place.      One is showing negative 3.5, and the other is

14   showing positive.     So all that shows me is that the long-

15   range forecasting services have disparate views as well.

16   And the Tribune numbers in the outer years are lower than

17   the one data point that we have, which shows declining

18   revenues.

19   Q       Well, in 2012, Tribune is more negative than two of

20   the three --

21   A       Okay.

22   Q       -- services, and the same as the third, right?

23   A       Well, you said more conservative then, and I -- my

24   point was, well, there’s actually one that it’s lined up

25   with.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 104 of 258
                                                                               104
 1   Q     Right.    So 2012, one service reports the same

 2   decline --

 3   A     Right.

 4   Q     -- as Tribune, and the other two are less negative

 5   than Tribune.

 6   A     Okay.     But again, it’s not a blanket statement they’re

 7   more conservative.

 8   Q     Understood.    And 2013, Tribune is more negative than

 9   both of these services that report for 2013, correct?

10   A     That’s right.

11   Q     And same for ’14.

12   A     That’s correct.

13   Q     Okay.     But you also told me, at your deposition, sir,

14   didn’t you, that Tribune’s projections for publishing are

15   more conservative than the companies that you have

16   identified as being the most relevant or the most comparable

17   to Tribune?

18   A     They are somewhat more conservative, that’s right.

19   Q     Now, turn to page 4, please, of this document.                And

20   can you please explain to the Court what it is that you’re

21   comparing on this page?

22   A     Well, we wanted to have a perspective on how Tribune’s

23   projections would compare to the sets of projections that

24   have been put out by other newspapers that have emerged from

25   bankruptcy, just as a point of reference.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 105 of 258
                                                                             105
 1   Q       And what did you conclude from the comparison?

 2   A       Well, it shows, on this page, that Tribune’s

 3   publishing revenue outlook reflects that again of an

 4   industry that is in secular decline, whereas the assumptions

 5   for these individual papers that are coming out of

 6   bankruptcy are assuming growth.

 7   Q       Okay.   Sir, you can put that document aside, and now

 8   I’d like you to go back to your expert report and look at

 9   page 21, which is your DCF analysis for publishing.                 And in

10   particular, the two lines I’d like to draw your attention to

11   are the EBITDA projections for publishing from 2011 through

12   2015.   If we can bring this up on the monitor, please, and

13   highlight that line.     And I want you to compare it to the

14   capital expenditure line for the same years: for ’11 through

15   ’15.    Do you have those two lines in front of you?            We’ll --

16   A       Yes.

17   Q       We’re just getting them highlighted on the screen for

18   you, to make it a little easier.

19   A       Okay.

20   Q       And again, I think Mr. Bendernagel is going to yell at

21   me if we mention the numbers, so let’s try not to do that.

22   But you’ll see that the CAPEX line through the entire

23   period, ’11 to ’15, remains flat, does it not?

24   A       It does.

25   Q       Okay.   And over that same period, the EBITDA
     Case 08-13141-BLS      Doc 8350-3   Filed 03/14/11   Page 106 of 258
                                                                            106
 1   projections, they fall substantially, correct?

 2   A        That’s correct.

 3   Q        Okay.    And you concluded, sir, that it was reasonable

 4   that the company would have a set of projections showing

 5   that the EBITDA would fall by the very significant margin

 6   that it does, while during that same period, the company

 7   expends exactly the same in CAPEX each and every year,

 8   right?

 9   A        I think I explain the thesis behind why CAPEX remains

10   flat, which is that you’ve now gotten to a level of

11   maintenance CAPEX that’s necessary to support the operations

12   of the business, as they’ve been downsized dramatically in

13   the last several years, and that at some point, it becomes

14   difficult to continue to cut away at both expenses and

15   capital expenditures and maintain the existing footprint

16   that you have.

17   Q        So you concluded that management was reasonable in

18   concluding that while EBITDA falls by more than half, they

19   can’t take a dollar of expense out of the business?

20                    MS. KENNEY:    Objection to the form of the

21   question.    It’s mischaracterized.

22                    THE COURT:    Overruled.    You may answer, sir.

23                    THE WITNESS:   I believe it’s -- I believe that it

24   was a reliable set of projections that management felt that

25   it had gotten the business downsized to a point now where it
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 107 of 258
                                                                         107
 1   would have a minimum maintenance capital expenditure

 2   requirement going forward.

 3   BY MR. QURESHI:

 4   Q     Okay.   And did you ever ask management the specific

 5   question of if EBITDA is dropping by more than half, isn’t

 6   it possible to cut some of these expenses along the way?

 7   A     Well, it would -- the discussion was it would require

 8   transformation of the footprint, and that, again, costs --

 9   requires capital as well.        So whether it becomes maintenance

10   or CAPEX to transform the footprint, it’s going to be spent.

11   Q     Okay.   Now, in your DCF, you talked a little bit on

12   direct about how you elected to use, for publishing the

13   Gordon growth method, rather than using a terminal multiple,

14   correct?

15   A     That’s right.

16   Q     And one of the reasons that you did that is that the

17   trading multiples -- your comparable companies, they show

18   that the market believes that the publishing industry is

19   going to turn around, whereas Tribune continues to project

20   secular decline for publishing, right?

21   A     Either turnaround or the rate of decline will not be

22   to the same degree that’s implied in the projection, because

23   in fact, if you look at analyst        estimates for the peers,

24   they, in fact, are assuming continued revenue decline for

25   the most part --
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 108 of 258
                                                                            108
 1   Q     Right.

 2   A     -- in the near-term.

 3   Q     Right.   So lesser decline by the market than what

 4   Tribune is forecasting?

 5   A     That’s right.

 6   Q     And because of that disconnect, you decided that it

 7   would lead to an unreliable outcome in your DCF if you used

 8   an exit multiple, that the better approach was to assume a

 9   long-term growth rate, correct?

10   A     I thought the premise of using the comparable

11   companies was such that it made it inapplicable to the

12   terminal year projections.

13   Q     Okay.    Now, I want to pull back up page 21, please, of

14   your report.

15   A     Okay.

16   Q     And this time, I’d like you to focus on the

17   unleveraged free cash-flow line for publishing.              And it is

18   shaded in blue at the bottom of the box, and we’ll get it

19   highlighted for you here in a moment.             Page 21 of the

20   report.   And what I’d like you to focus on, Mr. Mandava, is

21   again, the period going from 2011 through to 2015.               And

22   again, without revealing numbers, I think you would agree

23   with me that it shows a fairly dramatic decline in unlevered

24   free cash-flow, right?

25   A     Yes, it does.
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11    Page 109 of 258
                                                                           109
 1   Q       Okay.    And in fact, if you were to extrapolate out a

 2   few more years, you’d get to zero pretty quickly, wouldn’t

 3   you?

 4   A       Unless you had a change in the assumed growth.

 5   Q       Right.   So you wouldn’t have a going concern if you

 6   continued on this rate.

 7   A       At the rate that’s shown in the outer years here, yes.

 8   Q       Okay.    And by the way, have you looked at the

 9   liquidation analysis prepared by Alvarez & Marsal in this

10   case?

11   A       I’ve reviewed it, but I have not looked at it

12   recently.

13   Q       So do you know whether your DCF conclusion for

14   publishing, that’s contained in your expert report, is in

15   fact less than the liquidation value that A&M projects?

16   A       I don’t recall off the top of my head.

17   Q       Okay.    And despite the unlevered free cash-flow line,

18   following as dramatically as it does, you nonetheless

19   concluded that you should still give the DCF analysis a 30-

20   percent weighting in your overall evaluation for publishing,

21   correct?

22   A       Well, we concluded it was appropriate to give a 30-

23   percent weighting.

24   Q       Okay.    Now, let’s go to your January update, please.

25   Do you have that one in front of you?              It is in the binder
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 110 of 258
                                                                         110
 1   at tab -- it’s the second tab.        And again, for the record,

 2   it’s Exhibit NPP-2284.

 3   A     Okay.

 4   Q     Turn, please, sir, to page 6.

 5   A     I’m there.

 6   Q     Okay.    And in -- this is your January update, right?

 7   A     That’s right.

 8   Q     And so in your January update, you actually ran a

 9   version of your publishing valuation analysis, where you

10   gave a zero-percent weighting to the discounted cash-flow

11   analysis, right?

12   A     That’s right.

13   Q     And the conclusion that that yielded was a midpoint

14   distributable value of $7.258 billion, correct?

15   A     That’s right.

16   Q     And when running it in this scenario, the variance to

17   your $6.75 billion conclusion is a little over half-a-

18   billion dollars, right?

19   A     That’s right.

20   Q     Okay.    All right.   Now, let’s switch gears and go to

21   your broadcasting analysis.       Please turn, sir, to page 24 of

22   your report.

23   A     But you know, it’s probably helpful if I just spend a

24   minute to inform the Court of why we did that analysis.

25   Q     No, I think you can do that in response to --
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 111 of 258
                                                                         111
 1   A     Okay.

 2   Q     -- your counsel’s questions.         I’m sure she will ask

 3   you that.

 4   A     Fair enough.     I’m sorry.     Which page would you like me

 5   to go to?

 6   Q     I’d like you to go to page 24.          And page 24 should be

 7   your comparable company analysis for the television

 8   industry.

 9   A     Oh, I’m sorry.     You’re in the October.

10   Q     Yes, I’m -- I apologize.        We’re in your -- back in

11   your expert report.

12   A     Okay.     I’m there.

13   Q     Okay.     And you discussed, on direct, why you chose

14   PurePlay as well as diversified comps, right?

15   A     Yeah.

16   Q     Okay.

17   A     You could be more specific.         Yeah.

18   Q     And you’ve got a box around -- under the EBITDA

19   columns, you’ve got a blocks around -- a box around blended

20   10/11 EBITDA, right?

21   A     That’s right.

22   Q     Okay.     And you use, in your comparable company

23   analysis, the 10/11 blend to even out for the cyclicality of

24   advertising spending between election and non-election

25   years, right?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 112 of 258
                                                                           112
 1   A     That’s right.

 2   Q     Okay.   And from this comp set, if you’d turn to page

 3   26, I think you told us on direct that you arrived at your

 4   selected multiple range of 6.5 to 7.5 times for the

 5   profitable stations, right?

 6   A     That’s right.

 7   Q     Okay.   Now, what I want you to do is just leave page

 8   24 open, and if you can, flip to your January update.               And

 9   I’d like you to compare page 12 of the January update,

10   please.

11   A     Okay.

12   Q     And in particular, look at your blended 10/11

13   multiples, and you’ll see that the mean in January goes up

14   from 7.4 to 7.6 times, is that right?

15   A     That’s right.

16   Q     And the median goes up from 6.9 to 7.2 times, correct?

17   A     That’s right.

18   Q     Okay.   And if you look at your diversifieds, the mean

19   goes from 6.6 times up to 7.4, and the median goes from 7.5

20   to 8.0, correct?

21   A     That’s right.     And remember, we relied upon the

22   PurePlays principally.

23   Q     Understood.    And turn, then, to page 14 of the January

24   update.

25   A     Okay.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 113 of 258
                                                                         113
 1   Q     And you still, in January, used the same concluded

 2   multiple range of 6.5 times to 7.5 times to value your

 3   profitable TV stations, correct?

 4   A     Yeah, remember the mean went from 7.4 to 7.6.

 5   Q     Right.     The question was, you still used the same

 6   reference range, right: 6.5 to 7.5 times?

 7   A     Yes, that’s right.

 8   Q     Okay.    And you concluded that the changes that we just

 9   reviewed, when you updated the comps for January, weren’t

10   material, on your -- in your view didn’t warrant changing

11   the reference multiple range that you relied upon, correct?

12   A     Yeah, I didn’t use the word material.            I said the --

13   it went from 7.4 to 7.6, and remember the Gray multiple,

14   which is the outlier, at 9 times, pulls that average up, so

15   we felt 7.5 actually was a reasonable multiple to use.

16   Q     Okay.    Let’s go to page 30 of your report, please, and

17   here, we’re going to look at your valuation of Tribune media

18   services.   And I want to talk specifically about footnote

19   one on this page.    You testified on direct, sir, that you

20   did a precedent transaction analysis, and you show the

21   range, relying upon a sell-side process that occurred in

22   2008, correct?

23   A     That’s right.

24   Q     Okay.    And you were not involved in the sell-side

25   process, right?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 114 of 258
                                                                         114
 1   A     I was not.

 2   Q     Okay.    And you told me at your deposition that you

 3   didn’t know how many bids were received, right?

 4   A     I did not.    What I did was, subsequent to that

 5   deposition -- I thought, you know, it was a good question

 6   you asked.    I should probably go back and make sure I

 7   understood what actually happened and inform myself of that.

 8   Q     And at your deposition, you also told me that you

 9   didn’t have an understanding of how contingent the bids that

10   were received back in 2008 might have been, correct?

11   A     Again, you asked me some good questions, and I wanted

12   to go and have a better understanding, so I went back and

13   studied it further.

14   Q     All right.    But obviously, you didn’t know those

15   answers at your deposition, safe to assume you didn’t know

16   those answers when you prepared your February expert report?

17   A     Well, no, I did not, but remember I have a team

18   involved here, and I rely upon my team as well, and

19   different parts of my team have the opportunity to --

20   whether they be the current team members or the team that

21   existed in March, were available to assess this.

22   Q     And the precedent transaction analysis that you

23   concluded here, it’s the lowest of the three metrics that

24   you looked at, right?

25   A     That’s right.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 115 of 258
                                                                         115
 1   Q     Okay.    And you’ve never, in a formal valuation

 2   analysis, relied upon precedent transactions based solely

 3   upon an indication of interest, have you?

 4   A     Not that I recall.

 5   Q     And indeed, in your entire career at Lazard, you told

 6   me at your deposition that you don’t recall ever having seen

 7   any formal valuation that relies upon a precedent

 8   transaction analysis that is based solely upon an indication

 9   of interest, right?

10   A     That’s -- I probably said something similar to that

11   effect.

12   Q     Okay.    Now, let’s talk about TV Food Network for a

13   moment, and turn to page 36 of your report, please.

14   A     I’m sorry.    Which page?

15   Q     Your February expert report, page --

16   A     Right.

17   Q     -- page 36.

18   A     Okay.

19   Q     And this is the summary page, showing your conclusions

20   for this valuation, correct?

21   A     That’s right.

22   Q     Okay.    And the weighting -- well, you applied two

23   methodologies, first of all, right: comparable companies and

24   precedent transactions?

25   A     That’s right.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 116 of 258
                                                                          116
 1   Q     And the weighting that you arrived at as between the

 2   two were 70 percent to your comps and 30 percent to your

 3   transactions.

 4   A     That’s right.

 5   Q     All right.    And you didn’t, anywhere in your expert

 6   report, do a DCF for TV Foods, correct?

 7   A     I testified earlier that I had done a DCF, but it’s

 8   not reflected -- it’s not incorporated into this --

 9   Q     Right.

10   A     -- expert report.

11   Q     And now, I want to take a quick look at the DCF that

12   you did do in September, so if you turn to your binder, and

13   go to -- I think it is the fourth tab in.            It’s a Lazard

14   document, called the Cooking Channel discussion materials,

15   and for the record, it is Exhibit NPP-2306.            And it is

16   marked highly confidential.

17              MS. KENNEY:     I’d just like to emphasize that this

18   is TV Food Network.     It’s highly confidential information of

19   how the partnership -- that the company has minority

20   interest in, and it’s extremely confidential.

21              THE COURT:     Very well.

22   BY MR. QURESHI:

23   Q     And Mr. Mandava, this is the document that you were

24   referring to, where you did a DCF back in this timeframe?

25   A     That is correct.
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 117 of 258
                                                                           117
 1   Q       And I’d like you to turn, please, to page 30 of the

 2   document.   And actually, you know what?           It’s going to be

 3   easier if you turn to the second of the two demonstratives

 4   that I’ve handed up.      And what I’ve done on this page is

 5   I’ve just summarized a couple of numbers that are contained

 6   in this report.      And you’ll see I’ve -- there’s a footnote

 7   to the page number, if you’d like to check it, but again,

 8   without revealing the numbers, you can see that I’ve set

 9   forth your 2010 estimated EBITDA number and the 2011

10   estimated EBITDA number that are reflected in this document.

11   Do you see those numbers?

12   A       Yes, I do.

13   Q       Okay.    And those are the numbers that you used in the

14   DCF that you’ve conducted in September of 2010, correct?

15   A       I’d have to review.

16   Q       So --

17   A       Let me go to the DCF page.        Oh, the row -- the numbers

18   on the top appear to be the numbers that we relied upon --

19   Q       Right.

20   A       -- for purposes our DCF.

21   Q       Okay.    Now, I want you to -- if you flip in your

22   binder to the next document, again, it’s a TV Food Network

23   highly confidential document.         The exhibit number is NPP-

24   2309.   And on --

25   A       I’m sorry.    Which page?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 118 of 258
                                                                          118
 1   Q     It’s Exhibit 2309, and in that document, if you go to

 2   page 16, you’ll see a couple of numbers there that I’ve also

 3   summarized on the demonstrative exhibit.            And this is an

 4   updated projection for the TV Food Network for both -- for

 5   2011, and it also reflects 2010 actual numbers, correct?

 6   A     That’s correct.

 7   Q     Okay.   And again, just draw your attention, without

 8   referencing the numbers, to the demonstrative that I handed

 9   you, and you’ll see the comparison of 2010 estimated EBITDA

10   that you used in the September DCF and 2010 actual, and

11   you’ll agree with me that it went up.

12   A     It did.

13   Q     Okay.   And then, look at the estimate for 2011 that

14   you used in your September valuation, and compare that to

15   what was in the TFN document that’s dated January the 27th,

16   and again, you’ll agree with me that the number went up.

17   A     Yes, it did.

18   Q     Okay.   And in your January update, you didn’t do a DCF

19   for TV Foods, did you?

20   A     Well, we didn’t have current long-range projections.

21   Q     Well, you had September long-range projections, right?

22   A     I’m sorry?

23   Q     You had long-range projections that were from

24   September.

25   A     Yeah, as --
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 119 of 258
                                                                         119
 1   Q      Okay.

 2   A      -- you pointed out, those were actually prepared

 3   earlier in 2010.

 4   Q      Right, so you --

 5   A      So they were, at that point, a year stale.

 6   Q      Right.   And you’ll agree with me that, had you run a

 7   DCF using the new 2011 numbers, the value would’ve gone up

 8   from what you did in September of 2010?

 9   A      It would have gone up.      If I had just replaced the

10   2011 number in the DCF, I would have to do the math, but it

11   would go up marginally, and in fact, the valuations that we

12   did in October took into consideration the outperformance

13   that TV Food Network was experiencing in 2010, in fact.

14   Q      Do -- sir, do you think it’s reasonable, when valuing

15   a company worth several billion dollars, to conclude a

16   valuation range where you give zero-percent weight to the

17   DCF?

18   A      I’m sorry?

19   Q      Well, go back to page 36.

20   A      Right.

21   Q      It’s your summary -- I’m sorry, page 36 of your expert

22   report --

23   A      Right.

24   Q      -- to be clear.    That’s your summary page, and you’ve

25   told me there that you arrived at your conclusion, based
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 120 of 258
                                                                          120
 1   upon a 70/30 weighting of comps to the transactions, right?

 2   A     Right.     Remember the comps, at this point, do reflect

 3   the current estimates for EBITDA and all this outperformance

 4   you just described.

 5   Q     Right.

 6   A     Right.     So we do take into consideration, in that

 7   approach, the most current estimates.

 8   Q     Right.     But you don’t give any weight at all to a DCF

 9   analysis in this valuation --

10   A     And I --

11   Q     -- right?

12   A     -- would have relied upon staled data, right?

13   Q     Now, in your precedent transaction analysis for the TV

14   Food Network, on footnote four on this same page, you show

15   one transaction that you relied upon, correct?

16   A     I’m sorry.     Which page, again, are we on?

17   Q     Page 36.      It’s the valuation summary page for TV Food

18   Network in your expert report.

19   A     Okay.    I’m there.

20   Q     And you show one transaction, and that’s in footnote

21   four, correct?

22   A     That’s right.

23   Q     And that’s the multiple that you used to inform the

24   high end of your range, and then I think you described how

25   you take a discount off of that to get to the low end of the
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 121 of 258
                                                                         121
 1   range, correct?

 2   A     That’s right.

 3   Q     Go back one more time, please, to page 33 of the

 4   Cooking Channel document.        And again, for the record, that

 5   is Exhibit 2306.

 6   A     Which page in our --

 7   Q     Page 33.

 8   A     33.

 9   Q     And this is in your September valuation.

10   A     Okay.   I’m with you now.

11   Q     Okay.   And you’ll see there, that’s your precedent

12   transaction page, correct?

13   A     That’s correct.

14   Q     And you list a bunch of transactions on that page,

15   correct?

16   A     That’s right.

17   Q     And those transactions, you don’t list in your expert

18   report, I think we just established.

19   A     Yeah, we footnoted the one that we relied upon, and

20   that’s provided, as you correctly pointed out.

21   Q     Would you agree with me that your September valuation

22   document of the Food Channel, which includes a DCF, which

23   shows an analysis of multiple precedent transactions as a

24   more comprehensive valuation of the Food Channel than what

25   you did in your October report?
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11    Page 122 of 258
                                                                                  122
 1   A        I would say it’s informed by more information that was

 2   available at the time.

 3   Q        Let’s go back to your expert report, please.

 4   A        And if I’m not mistaken, in our October valuation, we

 5   arrived at a valuation higher than what’s in this report.

 6   Q        Sir, turn to page 39, please, of your expert report,

 7   and this is your valuation summary for classified ventures.

 8   Do you have that page in front of you?              Oh, I’m sorry.      I’m

 9   I did misspeak.      Page 38.      I apologize.

10   A        Okay.    I’m with you now.

11   Q        And I believe you explained on direct that your

12   multiple range of 10-and-a-half to 12-and-a-half times is

13   derived principally from Internet Brands, is that right?

14   A        The high end, yes, that’s right.           And I -- as I

15   described before, this really reflects a control premium

16   transaction on the high end.

17   Q        Okay.    And Internet Brands was subsequently acquired,

18   correct?    Are you aware of that?

19   A        Right, that’s what I just said.            The high end of the

20   range --

21   Q        Right.

22   A        -- at 12.5 reflects a change-of-control transaction.

23   Q        Okay.    And why did you choose 12.5 for the high end?

24   A        Well, this asset is just a difficult value -- asset to

25   value.    There aren’t a lot of comparables out there.                 The
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 123 of 258
                                                                             123
 1   principle operating asset within classified ventures is

 2   Cars.com.    That’s where you derive the majority of its

 3   revenue from.     And there just aren’t a lot of good

 4   comparables out there, frankly, and the best comparable at

 5   the time was Internet Brands.         So the best data we had out

 6   there to value this business was, unfortunately, a company

 7   that had announced that it was going to be sold.              So with

 8   the limitations of the data we had, we used that to come up

 9   with the high end of the range, recognizing again that that

10   was a control-premium-transaction multiple.             We took a

11   discount to it, and those formed the bookends of a valuation

12   range.    And we did look at the other real estate listing

13   companies as well to come up with our assessment, too, but

14   given that the majority of revenue at classified ventures,

15   as related to the cars business, this was the best data that

16   we had available at the time, and it results in, frankly, a

17   full valuation for this asset.

18   Q        And by the time you did your January valuation, that

19   Internet Brands transaction had closed, right?

20   A        I believe it closed at the end of 2010.

21   Q        Okay.   And did you reflect that transaction multiple

22   in your January update?

23   A        I have to look back at what we have there.

24   Q        Well, if you go to your January update, it’s page 26.

25   A        I believe, in the January timeframe, we were able to
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 124 of 258
                                                                          124
 1   use that multiple and Move.com as well, if I’m not mistaken.

 2   Right, so we have 12-and-a-half on the high end, a two-turn

 3   discount on the low end, and if you look at, on page 25 of

 4   that report, amongst the real estate listing companies, that

 5   the Move.com multiple against 2011 EBITDA was 11.6.

 6   Q      And sir, in your January update, you don’t show the

 7   Internet Brands acquisition as a precedent transaction, do

 8   you?

 9   A      Admittedly, the presentation here of the valuation is

10   a bit shorthand, if that’s what you’re getting at, in that

11   we collapsed everything into one row, and it may be less

12   clear, if that’s what you’re asking me.

13   Q      Well, do you know what the multiple of enterprise

14   value to LTM EBITDA was for the Internet Brands transaction?

15   A      Well, we’re valuing here on forward EBITDA.             We’re not

16   valuating against LTM EBITDA, right?

17   Q      I -- the question is whether you looked at the

18   multiple of the Internet Brands transaction when it closed,

19   because you don’t reflect it in your report, do you?

20   A      No, because we’re valuing it on a forward basis, so we

21   looked at the forward multiple, and I’m sure, given that

22   it’s a growth business, the LTM multiple was somewhat

23   higher.

24   Q      Okay.   And you didn’t reflect the multiple of a

25   relevant precedent transaction in your January update,
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 125 of 258
                                                                         125
 1   because you didn’t have time?        I mean, why is --

 2   A     I’m sorry?

 3   Q     Why didn’t you reflect the multiple of an admittedly

 4   relevant transaction in your January update?            Is it because

 5   this is not a formal valuation report?

 6   A     No, because we talked about earlier how valuing a

 7   company is based on forward earnings, and the outlook of how

 8   the business will do is generally a preferable approach, and

 9   so since we did have an estimate of what the Internet Brands

10   transaction was on a forward basis, we continued to rely

11   upon that against an improved EBITDA estimate for classified

12   ventures of ’11, which is now a forward estimated EBITDA.

13   Q     Mr. Mandava, let’s talk for a minute about a meeting

14   that you mentioned that you had with management in February.

15   Now, in early February, I think you told me that you had a

16   meeting to diligence the 2011 budget and to discuss the

17   reasonableness of the projections for 2012 to 2015, right?

18   A     We discussed the numbers so that we could get

19   comfortable with that, yes.

20   Q     And the two management representatives that you recall

21   being present at this meeting were Neils Larsen and Chandler

22   Bigelow, correct?

23   A     That’s right.

24   Q     And from Lazard, you were there, along with Mr.

25   Chachas.
     Case 08-13141-BLS       Doc 8350-3   Filed 03/14/11   Page 126 of 258
                                                                                 126
 1   A        Yeah, I believe there was another colleague of mine as

 2   well there.      Yes.

 3   Q        And among the topics of discussion at that meeting

 4   were the 2012 to 2015 projections, correct?

 5   A        Yes.

 6   Q        And specifically, what you wanted to discuss was the

 7   reasonableness of Lazard relying upon those projections for

 8   the January updated valuation that you were performing,

 9   correct?

10   A        That’s right.

11   Q        And the principle speaker at this meeting for the

12   company was Mr. Larsen, correct?

13   A        I think he was.      I may have said that.         I don’t

14   recall.

15   Q        Okay.   And at your deposition, you told me that at

16   this meeting, Mr. Larsen said that if he was asked to

17   reforecast 2012 to 2015 projections that were originally

18   prepared in October, he acknowledged that there would be a

19   slight improvement in the numbers, correct?

20   A        That was my recollection of the conversation.                  That’s

21   right.    And I -- you know, and you raised some good

22   questions in that deposition, and again, all -- made me want

23   to go back and revisit that and make sure I fully understood

24   exactly what I was saying, and I did have an opportunity to

25   go back and talk with management.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 127 of 258
                                                                         127
 1   Q     Okay.     Well, before you tell me about the

 2   conversations after your deposition, let’s talk about what

 3   you told me there.

 4   A     Sure.

 5   Q     And what you told me there was that Mr. Larsen also

 6   said that if he were to reforecast the long-term numbers to

 7   reflect the improvement that he thought there might be, that

 8   that improvement in the publishing projections would not be

 9   material, correct?

10   A     Yeah, I don’t --

11   Q     That’s what he told you?

12   A     -- think that’s the entirety of what I said, but

13   that’s probably a right sound byte of something that I said.

14   That’s right.

15   Q     And you also told me that you never asked Mr. Larsen

16   what it was that he meant when he said material, correct?

17   A     I think that’s probably right.

18   Q     Okay.     And you didn’t ask -- you also didn’t ask Mr.

19   Larsen if the increase in revenues that might result if he

20   were to reforecast the long-term plan would have an impact

21   on EBITDA, correct?

22   A     I think what I said was -- the statement was that,

23   taken in its entirety, the numbers were reliable and that he

24   wouldn’t change them: that you can’t just look at revenue;

25   you have to look at expenses and CAPEX.           Everything has to
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 128 of 258
                                                                         128
 1   be taken into consideration.       I believe those -- that was

 2   the fuller conversation we had, but you probably have it

 3   down on paper and can remind me.

 4   Q     Indeed I do.     Why don’t we play clip 32, please?

 5   (The previous record was played back:)

 6        “Q       And did you ask Mr. Larsen, at this meeting,

 7        whether the increase in revenues that might result if

 8        he were to have reforecast the 2012 to 2015 years would

 9        have an impact on EBITDA?

10        “A       We asked the question on -- in totality, would

11        the numbers change materially, and the answer was no.”

12   Q     And again, Mr. Mandava, you never asked --

13   A     Isn’t that what I just said?

14   Q     It is, and you never asked Mr. Larsen what he meant by

15   material, right?

16   A     It means that he wouldn’t change them.            Right.

17   Q     Okay.    During the meeting, when Mr. Larsen said that

18   the numbers were not material -- would not be materially

19   different, you never formed an understanding of what he

20   meant by material, because you never asked him.             Isn’t that

21   the case?

22   A     I agree, and that’s why I say you asked some good

23   questions, and I went back, and I had that conversation.

24                 MR. QURESHI:   Okay.    Your Honor, can I ask for a

25   short break, please?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 129 of 258
                                                                             129
 1              THE COURT:     Well, I’m thinking we’ll take a

 2   longer break, at this point, unless you tell me you’re a

 3   minute from concluding.

 4              MR. QURESHI:     I may be, but I don’t mind taking a

 5   break now, and we can come back after lunch and do redirect

 6   or whatever remaining cross there --

 7              THE COURT:     Well --

 8              MR. QURESHI:     -- may be.

 9              THE COURT:     -- if you need a minute to -- before

10   you conclude, I’ll give it to you now --

11              MR. QURESHI:     Okay.     Thank you.

12              THE COURT:     -- so we can be done with this phase.

13              MR. QURESHI:     I have nothing further, Your Honor.

14              MS. KENNEY:     And very short, Your Honor.

15              THE COURT:     Then, go right ahead.           Well, first

16   let me ask, is there any other cross examination?

17         (No audible response)

18              THE COURT:     Okay.    Redirect.

19                          REDIRECT EXAMINATION

20   BY MS. KENNEY:

21   Q     Colleen Kenney for the debtors.             Mr. Mandava, you said

22   you had talked with Mr. Larsen since the time of your

23   deposition, and Mr. Qureshi didn’t want to hear about that

24   conversation.    Could you tell us what occurred in that

25   conversation?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 130 of 258
                                                                         130
 1   A     All right.    We -- I wanted to recollect the

 2   conversation that I had with Mr. Larsen, given the

 3   importance Mr. Qureshi had given it.          And Mr. Larsen

 4   confirmed that you can’t just look at the revenue line item.

 5   You have to look at the achievability of the cost savings

 6   that are embedded in the plan and realizing those, and that,

 7   taken together, that there’s nothing that he sees today that

 8   would cause him to fundamentally -- have a fundamentally

 9   different view of the business that would warrant changing

10   these numbers.

11   Q     And when did you have that conversation?

12   A     I believe a couple days ago.

13   Q     Okay.   Would you take a look at the binder Mr. Qureshi

14   gave you?   It’s tab four, please.        It’s the Cooking Channel.

15   Would you take -- turn to page 33, please?

16   A     I’m sorry.    Which document again?         Tab four?

17   Q     I think -- yeah, it’s in tab -- it’s in my tab four.

18   A     Yes, that’s right.     Okay.

19   Q     And turn to page 33.

20   A     That’s right.

21   Q     In the September valuation for TV Food, what was the

22   rate -- range, the multiple range that you used for the

23   precedent transaction analysis?

24   A     We used 12 to 14 times EBITDA against LTM EBITDA.

25   Q     And what would -- how did you select that multiple?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 131 of 258
                                                                         131
 1   A     Again, the principle transaction we relied upon was

 2   the Scripps Network, Travel Channel acquisition.

 3   Q     And is the 12 to 14 the same range you used in your

 4   October valuation?

 5   A     It is.

 6   Q     And is it the same range you used in your January

 7   supplemental work?

 8   A     It is.

 9   Q     Okay.     You were asked some questions about the DCF

10   that was performed in September for TV Foods.             It’s in the

11   same exhibit.    Do you recall those questions?

12   A     That’s right.

13   Q     Okay.     And you said that the DCF, the out-year

14   forecast for the DCF were dated for earlier than September.

15   Do you recall that?

16   A     Yes, I believe these are the same projections that we

17   had earlier in the year, when we were -- this work had been

18   ongoing since early in the year.

19   Q     Were those from the spring time period?

20   A     Yes, I believe so.

21   Q     Okay.     And you were asked some questions about

22   replacing some numbers in the DCF.         In your opinion, is it

23   appropriate to replace just two years of numbers in a DCF if

24   you don’t have new forecasts for the out-years?

25   A     I would prefer not doing that methodology of
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 132 of 258
                                                                             132
 1   selectively changing numbers and not looking at the numbers

 2   in totality.

 3   Q     Okay.    I’d like you to look at the January

 4   supplemental work.    And if you could turn to the binder we

 5   had, it’s the DCL Exhibit 1092.        And I believe it’s page 6.

 6   You offered to explain why you had run a comparison

 7   evaluation with a zero-percent DCF, and Mr. Qureshi didn’t

 8   want to hear your answer.        Could you explain to the Court

 9   why you did that?

10   A     Right.   We understood that that may be a point of view

11   taken by people with different perspectives on what

12   trajectory this industry might ultimately be upon, whether

13   it would attenuate the rate of decline or stay in secular

14   decline, and we wanted to inform ourselves of what the

15   magnitude of that impact might be, and ultimately, we

16   concluded that even if we had it completely wrong, the

17   impact was of the magnitude described on that page.                 So it

18   was really just, again, to have a point of view of fuller

19   understanding and perspective, but it didn’t -- it wasn’t

20   the basis upon which we were ultimately going to draw our

21   conclusions.

22   Q     And you were asked some questions about how the

23   company compared its projections compared to industry

24   forecasts and whether they were conservative, and do you

25   recall that series of questions?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 133 of 258
                                                                            133
 1   A     Yes, I do.

 2   Q     Did you take all that into consideration in your

 3   weighting of the DCF when you valued the publishing

 4   business?

 5   A     Yes, we did.    And in fact, we looked at the estimates

 6   in the near-term for the peer comparables as well, and as I

 7   indicated, it was somewhat more conservative, but it was not

 8   terribly more conservative.

 9   Q     Would you take the exhibit that’s NPP-2467, the

10   demonstrative that you were shown?         It has blue and yellow

11   and says “publishing comparison of October and March” across

12   the top.

13   A     Yes.

14   Q     Okay.    Did you -- do you recall you were asked a

15   series of questions about the percent growth rates?

16   A     I was.

17   Q     Okay.    And is it a valid comparison of the growth

18   rates between the March 2010 and the October 2010?              Is that

19   a valid comparison, just looking at those numbers?

20   A     I’m not sure what the relevance of that is.              I had

21   acknowledged that those are numbers on a page, but I don’t

22   understand what the relevance of it is to my valuation.

23   Q     Is the growth rates on each of those lines, is that

24   based on the number right before it?

25   A     Yes.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 134 of 258
                                                                         134
 1   Q     So if the number right before it changes, those

 2   numbers are changing?

 3   A     That’s right.

 4   Q     You were asked some questions about comparing

 5   multiples for the broadcasting.        Do you recall those

 6   questions?

 7   A     Yes, I do.

 8   Q     Okay.   I’d like you to turn to -- in your set of

 9   demonstrative slides that we used this morning, would you

10   turn to page 19?    And I’m focusing on -- oh, I’m sorry.

11   I’ll let you get there.

12   A     Okay.

13   Q     You were -- I’m focusing on the center piece of this,

14   the one that says “TV broadcasting” on the top.             Do you see

15   where I am?

16   A     I am.

17   Q     Okay.   And you were asked about increases in the

18   diversified multiples.     Why were the -- if there were

19   increases in the diversified multiples, how would that

20   impact your selection of a multiple range for Tribune’s TV

21   business?

22   A     It wouldn’t have an impact, because remember, we’re

23   doing a sum-of-the-parts analysis, where we’re trying to use

24   broadcasting companies to evaluate the broadcasting segment;

25   publishing companies to evaluate the value of the publishing
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 135 of 258
                                                                          135
 1   segment.   We have diversified companies here to give us a

 2   broader -- a fuller picture of the companies in the

 3   industry, but the premise of some of the parts is to take

 4   the most relevant, most comparable peers and use them as the

 5   basis of valuing, whether it be the publishing segment or

 6   the broadcasting segment.

 7   Q     And do you also recall that you were asked some

 8   questions about the slight increase in the mean and median

 9   and the mean from 7.4 to 7.6 and 6.9 to 7.2 in the median?

10   Do you recall those questions?

11   A     Yes, I do.

12   Q     And you made a comment about Gray being an outlier.

13   A     Right.

14   Q     Okay.    What is Gray?

15   A     Gray is a very heavily levered broadcaster, and its

16   multiple is -- principally reflects its leverage.              The

17   equity value is very de minimis there.

18   Q     And how did that impact your view as to whether Gray

19   should be included as an -- the increase in Gray or the

20   weighting of Gray should be included in your analysis of --

21   selection of a multiple?

22   A     Well, you can see, clearly, it’s an outlier, and if

23   you exclude it, then you’re left with a range of 7.8 to 6.8,

24   and Nexstar, if I remember correctly, is a very small

25   company, so it just confirms the reasonableness of the range
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 136 of 258
                                                                              136
 1   we used at -- when it was 7.4, we rounded up to 7.5.                  When

 2   it was 7.6, we rounded down to 7.5.            Entirely reasonable

 3   conclusion.

 4                   MS. KENNEY:    Thank you.

 5                   THE COURT:    Recross?

 6                   MR. QURESHI:   Thank you, Your Honor.

 7                             RECROSS EXAMINATION

 8   BY MR. QURESHI:

 9   Q       Very briefly, Mr. Mandava, if you can pull out the

10   chart NPP-2467.

11   A       Okay.    Hold on one second.       Okay.    I’m with you.

12   Q       Okay.    So sir, you’re not suggesting, are you, that

13   you don’t understand the relevance to valuation of comparing

14   one set of projections that, in the out-year, shows a

15   percentage decline of 7.9 percent versus the previous year,

16   and another set of projections that, in the out-year, shows

17   a percentage decline of 19.5 percent to the previous year?

18                   MS. KENNEY:    Objection to -- that isn’t what this

19   says.   Objection to the form of the question.

20                   THE COURT:    Well, actually, I thought that

21   exactly is what you elicited that it says.              Overruled.

22                   THE WITNESS:   What I didn’t understand what you

23   were asking me in the context of my valuation what did this

24   relate to, and I said that the EBITDA went up, so my

25   valuation went up.      And you related that to worsening rates
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 137 of 258
                                                                           137
 1   of decline in the outward EBITDA, and that’s why I didn’t

 2   understand where you’re going.

 3   BY MR. QURESHI:

 4   Q       Okay.    But you understand that a worsening rate of

 5   decline of EBITDA in the set of projections is going to lead

 6   you to a lower valuation.

 7   A       It would affect the terminal value, if that’s what

 8   you’re --

 9   Q       Right.

10   A       -- asking me.

11   Q       And it would cause the terminal value to go down,

12   wouldn’t it?

13   A       Sure.    And --

14                   MR. QURESHI:   Okay.    Thank you.

15                   THE COURT:   Thank you, sir.        You may step down.

16                   THE WITNESS:   Thank you.

17                   THE COURT:   Okay.   We’ll recess and reconvene at

18   1:30.   When we reconvene, we’ll do whatever administrative

19   business we need to do, so we don’t get crunched at the end

20   of the day because of my hard-stop at 3:30.

21                   MR. BENDERNAGEL:     We got you, Your Honor.

22                   THE COURT:   Stand in recess.

23                   MR. BENDERNAGEL:     Thank you.

24                   MR. QURESHI:   Thank you.

25   (Recess at 12:28 p.m. to 1:33 p.m.)
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 138 of 258
                                                                             138
 1               THE CLERK:    Be seated, please.

 2               THE COURT:    Good afternoon.

 3               ALL PARTIES:    Good afternoon, Your Honor.

 4               THE COURT:    All right.      A couple of minutes on

 5   administrative things.

 6               I am inclined to discontinue use of the overflow

 7   room.   We just have a -- literally, just a couple of people

 8   in there today and there's never been -- never been a day

 9   when there have been a lot of people there.            Does that cause

10   anybody any heartburn?

11               MR. BENDERNAGEL:      No.    That would be fine with

12   us, Your Honor.

13               THE COURT:    Okay.

14               Secondly, we set aside the week of April 12th for

15   our next session, assuming we don't get finished next week

16   or the parties don't otherwise settle.            And I think that's -

17   - oh, I was going to ask about next Tuesday's omnibus --

18               MR. BENDERNAGEL:      A week from Tuesday.

19               THE COURT:    A week from Tuesday.         Anyone drilling

20   down on that a little bit or -- I was just curious as I

21   looked ahead to the schedule.

22               MR. LANTRY:    Good afternoon, Your Honor.              Kevin

23   Lantry on behalf of the debtors.         There are a number of

24   claims objections, a few motions, but if I'm sensing what

25   you're asking, the debtors would be fine if that were to be
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 139 of 258
                                                                             139
 1   continued, if you need to have that open space.

 2               THE COURT:    I wasn't asking that.

 3               MR. LANTRY:    Okay.     If -- if what you are asking

 4   for is the duration, I think two hours.

 5               THE COURT:    Okay.

 6               MR. GOLDEN:    Your Honor, Daniel Golden, Akin,

 7   Gump, Strauss, Hauer and Feld.

 8               One of the motions on for the 22nd is the motion

 9   filed by Aurelius and certain other plan proponents

10   regarding state law constructive fraudulent conveyance

11   claims.   I would agree with Mr. Lantry's estimate of time,

12   other than we don't know as we sit here right now whether

13   any objections are going to be filed to that motion.                I

14   don't think the debtors are filing an objection, but I don't

15   know whether any other parties are filing an objection.

16               And so depending upon the level of the

17   objections, the two hours may be slightly longer.

18               THE COURT:    Well, it's scheduled to start at ten.

19   I have another hearing at 11:30.         I don't anticipate that's

20   going to be an involved matter.        But I do have hearings in

21   the afternoon, so.

22               MR. GOLDEN:    Okay.     Thank you, Your Honor.

23               MR. SEIFE:    Just for your information, Judge --

24   Howard Seife, Chadbourne.        It's not our current intention to

25   object to that motion either.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 140 of 258
                                                                            140
 1              THE COURT:     Okay.

 2              MR. SEIFE:     But while I'm at the podium, Your

 3   Honor, my calendar has April 12th as a Tuesday.             Are we

 4   starting on the Tuesday or the --

 5              THE COURT:     11th.    I'm sorry.

 6              MR. SEIFE:     11th.    Okay.     Thank you.

 7              THE COURT:     April 11th.      All five glorious days

 8   have been set aside --

 9              (Laughter)

10              THE COURT:     -- just for you.        And I think --

11              MR. BENDERNAGEL:       We're ready to continue.

12              THE COURT:     I think that's all I had.          I think

13   that's all I had on my list.       I would like to remind you to

14   -- I would like a report on Monday morning about time

15   allocations so far.

16              MR. BENDERNAGEL:       Okay.

17              THE COURT:     And to the extent parties can look

18   ahead to give me what they think is going to happen.

19              MR. BENDERNAGEL:       That would be great.

20              THE COURT:     All right.      Thank you.      Let's

21   proceed.

22              MR. BENDERNAGEL:       Your Honor, Ms. Kenney will put

23   on our next witness, Mr. Chachas.         And, again, we're going

24   to be using sensitive data so we would ask that the TV

25   screens at the front of the courtroom be turned off and
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 141 of 258
                                                                         141
 1   people be careful what they say about the highly

 2   confidential material.

 3                 Thank you.

 4                 THE COURT:    All right.

 5                 THE CLERK:    Please remain standing.        Raise your

 6   right hand and place your left hand on the Bible.

 7                         JOHN J. CHACHAS SWORN

 8                 THE CLERK:    Please be seated and adjust the

 9   microphone closer.

10                 Please state your full name for the record and

11   spell it.

12                 THE WITNESS:    My name is John J. Chachas,

13   C-H-A-C-H-A-S.

14                 THE CLERK:    Thank you.

15                 MS. KENNEY:    Good afternoon.      Good afternoon,

16   Your Honor.

17                 May I approach with witness binders?

18                 THE COURT:    You may.

19                 Thank you.

20                              DIRECT EXAMINATION

21   BY MS. KENNEY:

22   Q     Mr. Chachas, where are you currently employed?

23   A     I'm the managing partner of a firm called Methuselah

24   Advisors.

25   Q     What does your firm do?
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11    Page 142 of 258
                                                                           142
 1   A       My firm gives financial advice, investment banking

 2   services, transition services for generations to media and

 3   digital companies.

 4   Q       Okay.    Did you find -- are you the founder of that

 5   firm?

 6   A       Yes.    It's my firm.

 7   Q       And how long have you worked there?

 8   A       I began working there in -- on July 1st of 2010.

 9   Q       And your current position?

10   A       I'm the managing partner.

11   Q       Okay.    Where did you work before founding Methuselah

12   Advisors?

13   A       There was a brief period when I was a candidate for

14   the United States Senate, and prior to that I was a managing

15   director of Lazard.

16   Q       And before Lazard -- I'm sorry.            What type of work did

17   you do at Lazard?

18   A       I was involved in -- a managing director and co-head

19   of the firm's media practice in the Americas.               I gave

20   financial advice to media and digital companies.

21   Q       Were you the senior calling officer at Lazard?

22   A       I was one of three managing directors in the group,

23   and, yes.      I was a senior calling officer in managing

24   relationships in the media space.

25   Q       What does it mean to be the senior calling officer?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 143 of 258
                                                                         143
 1   A     It means you provide all of the services that the firm

 2   can offer you or the client interface, the senior person

 3   responsible ultimately for the -- for the work product that

 4   we provide to the client.

 5   Q     How long were you at Lazard?

 6   A     I was at Lazard from November 2002 until my departure

 7   in the beginning of 2010.

 8   Q     And which -- what -- can you just give us some

 9   examples of some of the companies that you worked with while

10   you were at Lazard?

11   A     Yes.   I worked across the media space active in

12   newspapers, magazines, television and radio with companies

13   such as the Walt Disney Company, the Hurst Corporation, the

14   E.W. Scripts Company, Cox Enterprises, Hubbard Broadcasting,

15   Ovation Networks, Time Warner from time -- a long list of

16   large companies and many smaller ones across all of the

17   sectors:   Clear Channel, Clear Channel Outdoor, Pulitzer,

18   Lee Enterprises, quite a long list.

19   Q     And where were you at before you were at Lazard?

20   A     I spent two years as a managing director in the media

21   practice at Merrill Lynch, and prior to that I spent

22   fourteen years, all of it in the media practice at First

23   Boston, which then became known as Credit Suisse First

24   Boston and today is known as Credit Suisse.

25   Q     And in this entire twenty-some-odd years were you
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 144 of 258
                                                                            144
 1   working with media and publishing companies?

 2   A     Yes.     My entire career I've worked with media,

 3   broadcasting and publishing companies.

 4   Q     Have you worked on restructurings during these twenty-

 5   four years?

 6   A     Yes, I have.

 7   Q     What type of work have you done on restructurings?

 8   A     I have been involved a variety of restructurings in

 9   the different subsectors valuing the enterprise, giving

10   advice to the board of companies as they either are in

11   restructuring, in a court restructuring, out of court

12   restructurings, helping to basically do all the things

13   required to -- to fix the balance sheet of these companies.

14   Q     Can you -- can you give us an example of some of the

15   clients that you've worked with in restructuring?

16   A     In -- in restructuring kinds of assignments in the

17   last three years when I was at Lazard I worked at five in

18   the -- in the publishing space specifically.            In addition to

19   the Tribune Company, I did work with respect to the

20   Minneapolis Star Tribune's bankruptcy with respect to the

21   reorganization of the Journal Register Company.             I worked

22   with the McClatchy Company on capital finance alternatives

23   for its balance sheet issues.        I worked with Lee

24   Enterprises.    Those are a few.

25                 In the broadcast arena, names like Citadel, I was
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 145 of 258
                                                                          145
 1   involved with prior to my departure.          Clear Channel Outdoor,

 2   Clear Channel Communications, all of those are things that I

 3   did that either involved highly leveraged companies or

 4   companies that were in financial distress.

 5   Q     Have you also performed valuations of media and

 6   broadcasting companies in your twenty-four years?

 7   A     Just a few, many.

 8   Q     And how many?

 9   A     I couldn't tell you.       Many.    Each year almost on every

10   project in some way or another I've been responsible for

11   working with a team of people to come up with a point of

12   view about value of those businesses, whether we were

13   raising capital, financing a company, financing a

14   transaction or helping a company that was in distress.              So

15   I've done many, many valuations.

16   Q     Can you give the Court some examples of the companies

17   for which you've done valuations?

18   A     I've done valuations for Clear Channel, for the Walt

19   Disney ABC Company, for the Hurst Corporation, Lee

20   Enterprises, Pulitzer -- no, excuse me, not Pulitzer, the

21   other side of Pulitzer, Freedom Communications, among

22   others.

23   Q     And where did you go to -- to college?

24   A     I went to college at Columbia University.

25   Q     And your degree is in what?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 146 of 258
                                                                          146
 1   A     History.

 2   Q     Did you get a master's degree?

 3   A     I did.     I went to Harvard Business School.

 4   Q     And you have an MBA?

 5   A     I have an MBA from Harvard.

 6   Q     Would you look at Page 1 of your slides, please?

 7   They're in your binder.      Is this an accurate copy of your

 8   CV?

 9   A     Yes, it is.

10   Q     Okay.

11                 MS. KENNEY:    We would like to proffer the witness

12   as an expert in valuing, publishing, and broadcasting

13   companies?

14                 THE COURT:    Is there any objection?

15                 MR. QURESHI:   No objection, Your Honor.

16                 THE COURT:    You can proceed accordingly.

17   BY MS. KENNEY:

18   Q     Mr. Chachas, when did you first become involved in

19   working with Tribune?

20   A     In this most recent iteration in early January of 2011

21   I was contacted by the company to do some work for it.              But

22   I had also done some work in an earlier time frame.

23   Q     And just very briefly what work did you do in the

24   earlier time frame?

25   A     I was the Lazard officer in the relationship
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 147 of 258
                                                                               147
 1   management role at the time that we were contacted in late

 2   2008 when Tribune was seeking financial advice and help, and

 3   I worked with the team in soliciting that business.                 And

 4   when we were hired I was very much involved throughout 2009

 5   and into 2010 in -- in all of the analysis that was done at

 6   that time.

 7   Q     Did that include valuation work?

 8   A     Very much so.

 9   Q     And then you left and ran for Senate and then you -- I

10   think you said and --

11   A     Yes, I did.

12   Q     And --

13   A     I left in late November of 2009 -- 2009 I informed the

14   firm that I was going to become a candidate back in my home

15   State of Nevada, and I left and spent most of the first part

16   of the year traveling back and forth in a transition

17   capacity, and finally left the firm in the -- in the early

18   part of 2010.

19   Q     And then I said -- I think you said that you got back

20   involved in January of this year?

21   A     That's right.

22   Q     Okay.     And what work were you engaged to perform when

23   you got back involved in January?

24   A     I was asked to provide another point of view of value,

25   if you will, and -- and do analysis to come to a conclusion
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 148 of 258
                                                                               148
 1   as to whether the October valuation offered by Lazard in the

 2   plan had merit and still had merit and have a point of view

 3   -- a second valuation point of view.

 4   Q     Okay.     And what was your conclusion?

 5   A     My conclusion was that the value as proposed is an

 6   appropriate value.

 7   Q     What steps did you take to reacquaint yourself with

 8   Tribune's operations?     You had been there for a little over

 9   a year or so and left and then what did you do to get

10   reacquainted?

11   A     I unpacked a bunch of boxes that had a lot -- an awful

12   lot of old information -- that was the first place -- and

13   reviewed a tremendous number of documents about the peer

14   companies, looked at the analysis that was presented in the

15   October plan, built for myself my own set of comparable

16   companies so that I could test some things that were done in

17   those analyses and read a good many documents.              We

18   eventually received a new set of forecast for the company in

19   the first part of my work in January.             We had due diligence

20   with corporate management in Chicago.             I had diligence with

21   operating management in Los Angeles.          I spoke at length with

22   a variety of people in the publishing and broadcasting

23   industry.   So I talked to actively to gain my own personal

24   assessment of what's happening in the industries.                That's

25   the bulk of what the -- that was getting reacquainted.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 149 of 258
                                                                           149
 1   Q       And then once you got reacquainted, what happened

 2   next?

 3   A       We -- we commenced a bunch of analysis designed to

 4   test the valuation framework in the January time frame which

 5   is so well laid out in the October analysis which has been

 6   talked about here much of the morning.              And I would say we

 7   retested and redid a fair bit of those analyses as of that

 8   date and time to conclude a point of view about value in

 9   January as opposed to the value that was offered as of the

10   October presentation.

11   Q       Did you prepare a report that contained your opinions

12   as to the validity of the October valuation?

13   A       Yes, I did.

14   Q       And would you take a look in your binder at the

15   document that's behind DCL Exhibit 1104?              Just let me know

16   when you're there.

17   A       Yes.   I'm here.

18   Q       Is that a copy of that report?

19   A       Yes, it is.

20                  MS. KENNEY:    I would like to submit Mr.

21   Chachas's report into evidence.

22                  THE COURT:    Is there any objection?

23                  MR. QURESHI:   No objection, Your Honor.

24                  THE COURT:    DCL 1104 is admitted without

25   objection.
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11    Page 150 of 258
                                                                           150
 1           (DCL Exhibit 1104 received in evidence.)

 2   BY MS. KENNEY:

 3   Q       If you go back to your slides, Mr. Chachas, I'm going

 4   to ask you to take a look at Slide 2.              It's also the

 5   enormous exhibit that's just to the left of you.               Could you

 6   tell the Court what this is?

 7   A       Yes.    This is a summary of the January supplemental

 8   work that was done where the January valuation midpoint is

 9   juxtaposed in the center column next to the valuation from

10   the October -- from the October analysis to the left of

11   that.

12   Q       And then there's a column that has the variance,

13   correct?

14   A       That's right.    There's a variance column to the right.

15   Q       Okay.   So I would like to stop at the top and I would

16   like to start with publishing business, and looking at this

17   I can see that from October to January the publishing

18   business goes down 42 million, the value.              Do you see that?

19   A       Yes.    It declined.

20   Q       Okay.   Can you explain to the Court briefly -- when

21   we'll talk about it in more detail, but could you explain

22   briefly what caused that decline?

23   A       We did the same analysis in each -- in each time

24   period.    We looked at comparable company analysis and DCF

25   analysis and redoing those arriving at a reference range.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 151 of 258
                                                                                151
 1   The midpoint of that reference range was lower in two -- in

 2   the January time frame than it was in the October time

 3   frame.

 4   Q        And what caused it to be lower?

 5   A        A decline in -- a decline in cash flow, modest

 6   increase in multiples.

 7   Q        Would you explain to the Court the methodologies you

 8   used in your January work that you did to value the

 9   Tribune's publishing business?

10   A        Sure.   We used the same standard methodologies.             We

11   tried to employee them in the best way that we can in each

12   of the businesses when you have the information -- fresh and

13   good information to do so, which are DCF analysis,

14   comparable company analysis, comparable acquisition or

15   present in transaction analysis, and in each instance we

16   apply those as we can.

17   Q        Okay.   And for the publishing business did you use all

18   three methodologies?

19   A        No.    We used two.

20   Q        And why was that?

21   A        Because there really are no recent relevant precedence

22   to gage -- to gage a sale of a newspaper company of this

23   kind or publishing asset of this kind at this time.

24   Q        Would you turn the page to Slide 3?           And --

25   A        Yes.    I'm there.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 152 of 258
                                                                           152
 1   Q        Would you briefly explain to the Court what Slide 3

 2   shows?

 3   A        Slide 3 is a summary of the valuation of the

 4   publishing business.       It contains a summary reference range

 5   for the comparable company analysis as well as a reference

 6   range for the discounted cash flow analysis and the arrived

 7   reference range of 865 million to 975 million, and point

 8   range of -- the point estimate of 920.

 9   Q        And let's start with the comparable company

10   methodology.     That's the first one on the line, correct?

11   A        Yes.

12   Q        And would you turn to Slide 4, please, the next slide?

13   A        I'm there.

14   Q        Okay.   And is Slide 4 the summary of the comparable

15   company analysis?

16   A        Yes.

17   Q        Okay

18   A        Slide 4 is a description of the output of the

19   comparable company analysis in the upper left quadrant of

20   the page revealing the value of a billion-ninety-nine to a

21   billion-two-eleven.       And on the right-hand side of the page

22   are the pure companies from which we derived multiples by

23   which to do the analysis.

24   Q        Okay.   And let's start on the right-hand side of the

25   page.    Were you involved in selecting the companies that are
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 153 of 258
                                                                         153
 1   contained on the right-hand side of the page as the -- with

 2   the multiples?

 3   A     Yes, I was.

 4   Q     And when were you originally involved in selecting

 5   those companies?

 6   A     In January of 2009, at the beginning of my work for

 7   the company back when we were first engaged I was very much

 8   a part of the design of the framework of the valuation.

 9   Q     Were you also part of the determination to value this

10   company on a sum of the parts methodology?

11   A     Yes.

12   Q     Okay.    And why did -- why a sum of the parts

13   methodology?

14   A     There are really too many pieces of companies like

15   this to look at one monolithic multiple or one -- one

16   discount rate or -- or to try to synthesize it down to a

17   single -- to a single whole.       And so the best way to do this

18   is to look at the values of each of the respected businesses

19   to capture the attributes of each of those businesses, the

20   growth characteristics of those businesses, how the

21   marketplace is valuing them, what the cost of capital is for

22   each of those businesses and, therefore, we designed this

23   approach to -- to capture that -- those nuances between the

24   businesses.

25   Q     Okay.    Now turning back to Slide 4 and to the right-
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11    Page 154 of 258
                                                                              154
 1   hand side and the comparable companies that are listed here,

 2   how did you select the comparable companies that are listed

 3   here?

 4   A        I looked at the entire universe of companies involved

 5   in the newspaper publishing industry in -- in the Americas,

 6   in Europe, in South America and in focusing in on the ones

 7   in America this is the right collection of a larger peer

 8   group.

 9   Q        Okay.   And let's focus specifically on the peer play

10   companies.

11   A        Yes.

12   Q        Why did you pick these peer play companies?

13   A        Again, we're trying to place a value on the discreet

14   publishing assets of the Tribune Company, not the Tribune

15   Company in its totality.      And these businesses are in large

16   measure pure newspaper publishing enterprises and,

17   therefore, are the right -- best -- not right, the best you

18   have of a peer group.      None are perfect.          But the best you

19   have.

20   Q        And why do you have diversified companies on here?

21   A        Well, there are companies in that group who are also

22   thought of as newspaper publishing companies.               Over their

23   lives they have been written on by analysts who were

24   characterized as newspaper companies.              Ginette [ph] is a

25   good example where a large proportion of its revenues and
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 155 of 258
                                                                            155
 1   cash flow come from a huge newspaper group and yet it is

 2   impacted by other businesses.        So we treat the diversified

 3   numbers as a -- as a place to go look, but not as our

 4   principle guidepost.

 5   Q     I see on this page that there's -- three of these

 6   companies have red boxes around their numbers.

 7   A     Yes.

 8   Q     Could you explain to the Court what the red boxes are

 9   there for?

10   A     Well, in trying to derive a multiple in this kind of

11   analysis, in my judgment and experience to simply go to, you

12   know, a mean and median sometimes losses a degree of -- of

13   precision in the process that you can apply.            And in my

14   experience knowing the attributes of the Tribune's newspaper

15   business and looking of these other businesses, it was -- it

16   was concluded that we could learn something by looking more

17   closely at these three and not merely at the means and

18   medians.

19   Q     Well, let's start with New York Times.             What do we

20   learn by looking at New York Times?

21   A     New York Times is today one of the few really national

22   papers and in that regard has characteristics which are

23   uniquely attractive to it compared to local papers who are

24   purely publishing really in their local geographies.                It has

25   two large markets and in that regard is useful and -- and
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 156 of 258
                                                                           156
 1   helpful in valuing Tribune, which also has Los Angeles and

 2   Chicago.   It also has a group of smaller papers in more

 3   midsize markets.    It has -- as I said, it has a national

 4   brand and a national traffic going through its website

 5   that's different and that I believe gives it some

 6   characteristics that are -- that are -- that are better than

 7   Tribune, if you will, from a public perception.

 8   Q     Okay.   And then you -- McClatchy is also in red.              Why

 9   is McClatchy one of the company's that you looked at?               What

10   are the characteristics?

11   A     Well, McClatchy's papers in Fort Worth, in Kansas

12   City, Charlotte, Sacramento -- I could go on -- are similar

13   in nature to those that Tribune operates in places like

14   Baltimore, Florida, Allentown.        So there are -- there are

15   other characteristics there.       McClatchy runs at slightly

16   higher margins so it's not exactly perfect either, but as a

17   useful benchmark.

18   Q     And, finally, Ginette.       What are the characteristics

19   about Ginette that you look at?

20   A     Well, Ginette has, for many years, been viewed as sort

21   of the bell weather of public company values in the

22   newspaper arena.    And it's a little difficult to value a

23   newspaper company and not look at Ginette given how many

24   papers it owns across the country.         It also owns U.S.A.

25   Today, but moreover, it's for many, many years in -- in
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                                                                               157
 1   analysts' reports, if you go back the fifteen years I've

 2   done this, Tribune and Ginette are frequently mentioned in

 3   the same sentence.      And so it was -- it seemed to me

 4   appropriate to -- to pay attention to that multiple.

 5   Q        And based on what you just told us about the companies

 6   that are highlighted in red, boxed in red here, how did you

 7   use the information from that company to derive the multiple

 8   range that I find on the left-hand side of the page, the

 9   five to five-and-a-half on the left-hand side of the page?

10   How do you use that information?

11   A        You use good judgment and you look at the mean number

12   and the median number and the three that are the most

13   comparable for you.       We banded the upper end at a number

14   below the New York Times and believe that a half a turn

15   multiple to arrive at five to the low end was an appropriate

16   breadth of a range.       You'll see that the midpoint there

17   between these three happens to be McClatchy, which is

18   essentially on top of the 5.25 in the center of our range.

19   That's what we did.

20   Q        Okay.   And I see that you used, if I'm reading this

21   right, on the left-hand side 2011 estimated EBITDA.                   Is that

22   right?

23   A        Yes.    I mean, one of the essential pieces of why I

24   wanted to do this analysis -- Lazard was already doing it,

25   but I wanted to do it myself -- is valuations are dynamic.
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                                                                         158
 1   They change day to day.     Today after the activities in the

 2   marketplace I can assure you all these multiples will look

 3   very different today.     And it was important.

 4         The question put to me was, is the number presented in

 5   the October plan a -- an appropriate number, is it -- is it

 6   still accurate, and in January when 2010's in the rearview

 7   mirror, you really need to focus on the value of these

 8   businesses and equity -- and equity investors are focusing

 9   on a forward-looking 2010 valuation -- 2011 valuation basis,

10   not a 2010 basis.    So at that juncture we focused very much

11   on the 2011 figures.

12   Q     And in your experience valuing companies in this

13   business, is that what people do, they use a forward-looking

14   --

15   A     Particularly in businesses that are going through, you

16   know, substantial, substantial change.            It's very difficult

17   to gain a lot of knowledge and guidance by looking at

18   multiples that have already occurred on historic

19   information.   They are frequently quoted.           They are in lots

20   of analyst's reports.     They are there because there's an

21   actual number and someone can tabulate it.            But in terms of

22   what equity investors are doing or what companies do when

23   they buy -- they buy other companies, they're very much

24   focused on future performance much more than they are on

25   historic performance.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 159 of 258
                                                                               159
 1   Q        Did you also perform a discounted cash flow for

 2   Tribune's publishing business?

 3   A        Yes, we did.

 4   Q        And would you turn to Slide 5, please?

 5   A        I'm there.

 6   Q        And what is Slide 5?

 7   A        Slide 5 is a summary of the output of the discounted

 8   cash flow analysis of the publishing business.

 9   Q        And you don't need to go into great detail here, but

10   could you provide the Court with a brief explanation of how

11   you performed at DCF in January?

12   A        This analysis excludes the cash flows for the TNS

13   [sic] business and the for sale by owner business.                So we

14   tried to isolate it down to the core -- what we call the

15   Core 8 publishing assets.          There are forecasts provided for

16   a forecast period.      Those forecasts are discounted back to

17   January 1 of 2011 at a weighted average cost of capital

18   which is tabulated elsewhere, not on this page, but it's in

19   the analysis elsewhere.       And in -- in doing this we have to

20   determine a reasonable approach to valuing the futures

21   beyond the forecast period of 2015, and that's done here in

22   the box called the terminal value to arrive at a value range

23   which I believe is in the box down below.

24   Q        And did you use Gordon growth to compute the terminal

25   value?
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 160 of 258
                                                                          160
 1   A        Yes.   We had a very substantial debate about this at

 2   Lazard and concluded that that was the right methodology

 3   given the characteristics of this particular industry, not

 4   business, industry at this time.

 5   Q        And what do you mean by that?

 6   A        Well, it's very difficult to look at five years ahead,

 7   sixty months of forecasts in a business that's under --

 8   undergoing wrenching change in its revenue line, in its

 9   capital spending and its -- and its headcount and

10   profitability and believe that multiples today that we can

11   divine from the public market are a good proxy to use to

12   apply to a 2015 EBITDA number to come up with value beyond

13   2015.

14            And so it's -- it's a well discussed academic question

15   about the use of effectively growth rates that go off into

16   perpetuity to come up with an approach for the terminal, and

17   we believe that that was a better approach in this instance

18   than to apply 2011 multiples that far out.

19   Q        And could I ask you to turn back to Slide 3, please?

20   A        Yes.

21   Q        Could you let -- tell the Court how you weighted the

22   comparable company approach and how you weighted the

23   discounted cash flow approach in developing your reference

24   range?

25   A        We gave a lot of consideration to both of these
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 161 of 258
                                                                            161
 1   methodologies.      It's important to say when you're valuing

 2   companies each of these different typical methodologies have

 3   different benefits and different constraints.              Precedent

 4   transactions is an example that focuses on -- on the sales

 5   of control in companies and the absence of those led us to

 6   not use that here.

 7         In the weighting of the two that we did use, we

 8   applied a seventy percent weighting to the comparable

 9   company analysis and a thirty percent weighting to the

10   discounted cash flow analysis.

11   Q     And why did you apply the seventy percent to

12   comparable and thirty percent to discounted cash flow?

13   A     In my judgment based on the characteristics of the

14   business and the industry and the difficulties of the

15   industry, these each presented to quite different views of

16   the world.   But in the end, the one which is informed by

17   today's prices, today's share prices and nearer term

18   operating performance versus longer range forecasts, it was

19   my judgment that it was appropriate to err on the side of

20   the higher value, the discounted cash -- I'm sorry -- the

21   comparable company value and to place greater weight on that

22   given that is really underpinned by nearer term information

23   than longer range forecasts.

24   Q     And you can tell by looking at this that the

25   discounted cash flow value is quite a bit lower than that
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 162 of 258
                                                                             162
 1   that is derived from the comparable company approach, right?

 2   A     Yes, it is.

 3   Q     And the discounted cash flow, that was based on

 4   management's projections, right?

 5   A     Yes.     All of this analysis is based on Tribune's

 6   forecasts that are provided to us.

 7   Q     And, in fact, the comparable company analysis is also

 8   based on management's projections?

 9                 MR. QURESHI:   Your Honor, objection.         Leading.

10                 MS. KENNEY:    What is -- I'll rephrase.

11   BY MS. KENNEY:

12   Q     What is the comparable company analysis based on?

13   A     The comparable company analysis is based on a 2011

14   estimate of EBITDA for the company that -- which we received

15   from the company and the peer group which we discussed

16   earlier.

17   Q     Now you heard some suggestion this morning that

18   perhaps you shouldn't be relying on management's

19   projections.    Do you recall that?

20   A     I'm sorry.

21   Q     During Mr. Mandava's testimony that perhaps you

22   shouldn't be relying on management's projections.              Do you

23   recall that testimony?

24   A     I recall hearing that.       Yes.

25   Q     Okay.    And do you believe that that would be a
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 163 of 258
                                                                          163
 1   reasonable thing to do, not rely on management's

 2   projections?

 3   A     In my twenty-five years of doing valuations of

 4   businesses when I'm presented with financial information

 5   that's credibly created by the team that runs these

 6   businesses, I find it very difficult to entirely discard it.

 7   So, no.    I don't think it's an appropriate thing to discount

 8   -- to discard a discounted cash flow analysis based on

 9   management's projections.

10   Q     Well, management's projections are -- are -- the DCF

11   is much lower.      What accounts for that?

12   A     The discounted cash flow analysis is built on five

13   years' worth of forecasts which look to continued erosion in

14   a business and continued erosion in cash flow.              Cash flows

15   decline.   We calculate a terminal value out in 2015 for the

16   years beyond and it results in a different -- a different

17   value range than looking at one-year forward 2011 estimates

18   multiplied by today's group or peer group of company

19   multiples.

20         So it is fair to say that the viewpoint of continued

21   erosion in their publishing business very much underpins the

22   discounted cash flow value range, which I took into great

23   consideration.

24   Q     In your opinion is the continued erosion a reasonable

25   perspective?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 164 of 258
                                                                            164
 1   A     I'm sorry to say, but in the work that I do in the --

 2   in the newspaper industry my sentiment is it's a completely

 3   reasonable position that this industry could continue to

 4   undergo substantial difficulty and decline.             It is not

 5   uniform across the industry about what that point of view

 6   is, but it is a reasonable outcome and I would say that

 7   based on, unfortunately, the first month of this year it

 8   looks as though that -- that trend line continues.

 9         In 2010, there's been a lot of talk about the increase

10   in profitability in this business, which was entirely to do

11   with firing a lot of people and, actually, improving your

12   contribution margins.     There was no revenue increase in this

13   business in 2010 and in the first month of 2011.              My own

14   collection of information about the industry is it's been

15   under about ten percent in the first month of the year.

16   Q     And are there public looking guidance that we can look

17   to for the publishing companies?

18   A     It's become a real challenge because in the old --

19   that's not a nice thing to say.        In the old days when I was

20   a young banker, the industry had many companies which

21   reported very actively and had a great many research events

22   during the year.    Therefore -- and it was well covered.

23   There was a large universe of industry analysts that covered

24   them and the companies covered them.          Today, there are very

25   few companies giving public guidance.             Those that do
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                                                                         165
 1   generally give it a year forward, if that, and -- and so,

 2   no.   There's very little information that's now available by

 3   the public -- by the public registrants in the newspaper

 4   fields.

 5   Q      And in your opinion why is that?

 6   A      They have had a very difficult time estimating their

 7   business and, in fact, they finally got better in 2010 after

 8   being terribly bad in 2009, 2008, 2007 of understanding the

 9   depth of this fall off, and I think that managements have

10   become very guarded about putting too much out there about

11   what they think is going to happen in an industry when

12   they're having difficulty -- difficulty forecasting it.

13   Q      I want to turn back to the blow-up.           I think it's

14   Slide 2.   On the next line down is broadcasting.            Are you --

15   do you see where I am, Mr. Chachas?

16   A      Yes.

17   Q      Okay.   And if you look across it's a -- very -- it's

18   gone down 128 million since October --

19   A      Yes.

20   Q      -- from October to January?

21   A      Yes.

22   Q      And could you briefly explain why it went down 128

23   million?

24   A      As I recall, the numbers moved a little bit down.

25   There was also some group allocation and other costs
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 166 of 258
                                                                               166
 1   associated with the -- with the broadcast group, and when

 2   you -- I don't think we had meaningful multiple change in

 3   the January time frame.       I would have to go back and look.

 4   But, essentially, a decline in performance again.

 5   Q        What meth -- and maybe -- perhaps you can turn to

 6   Slide 6?    And I can -- in the --

 7   A        I'm here.

 8   Q        Is the information contained on Slide 6, is that what

 9   carried forward to Slide 2?

10   A        Yes.    That's correct.

11   Q        Okay.   And what methodologies did you use to value

12   broadcasting business in your January work?

13   A        The two that I used are the comparable company

14   analysis and the -- and the discounted cash flow analysis

15   again.

16   Q        And the January presentation includes a line for

17   precedent transactions.       Do you see that?

18   A        Yes, I do.

19   Q        And why didn't you place any reliance or place any

20   weight on the precedent transactions?

21   A        Again, there have been very few sales of broadcast

22   station groups in the time frame that's reasonable.                   If you

23   go back three years there may have been two station groups

24   four years ago and it just wasn’t reliable.              I don't -- I

25   don't think it's a useful -- a useful methodology.
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                                                                         167
 1   Q     And what was this methodology?          How did the -- how did

 2   the numbers here, how did they -- where did they come from?

 3   A     There was an attempt -- I was probably somewhat

 4   responsible for it -- in the early part of 2009 because we

 5   knew there were no good precedents.          I asked people to try

 6   to craft a proxy methodology looking at older transactions

 7   to come up with the premium that had been paid in premiums

 8   and what those premiums reflected over public market values,

 9   and then to reapply that premium in a -- in an attempt to

10   come up with a proxy for a precedent transaction methodology

11   and we ultimately rejected it.        We don't think it -- it's

12   not instructive.

13   Q     Why is it still on the page?

14   A     I have no idea.      I was surprised when I saw it in the

15   October one as well.

16   Q     And you didn't place any reliance on the precedent

17   transaction?

18   A     No, ma'am.

19   Q     Okay.    Let's turn to Slide 7.

20   A     Yes.     I'm here.

21   Q     What does Slide 7 show?

22   A     Slide 7 is similar to the slide you showed about

23   publishing.    It's a summary of the broadcasting comparable

24   company analysis.    On the left-hand side it reveals the

25   values for the various segments of the broadcasting group,
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 168 of 258
                                                                            168
 1   and on the right-hand side a series of peer companies and

 2   multiples of their 2011 forecasts at EBITDA.

 3   Q     Did you select the companies that are included on the

 4   right-hand side of the page?

 5   A     I was very much part of that selection.             Yes.

 6   Q     And when did you originally work on that selection?

 7   A     Your -- my memory serves me, we probably did this back

 8   in, again, the January/February time frame of 2009 when we

 9   were originally engaged with the company.            I periodically

10   look to see if there's a new television company or a new

11   cable programming one that I don't know about, and it's been

12   a long time since I've been surprised.            And that is the same

13   list that existed then and it's the same list that we would

14   use now.

15   Q     How did -- how did you select which companies you were

16   going to include as peer play and which as diversified?

17   A     Well, we have three pieces here, not just the two.

18   The bottom piece is the cable piece which we'll get to in a

19   second, and the top piece we incorporate companies that are

20   large owners of broadcast assets and are thought of and

21   valued and written about as broadcast assets.             And in the

22   diversified area you'll see Media General, Entravision and

23   Scripts are all viewed as diversified companies in the sense

24   that they each have some other businesses in their

25   portfolio, but they have a large component that's television
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 169 of 258
                                                                           169
 1   broadcasting station business.        And the pure plays up above

 2   do only TV -- TV broadcasting.

 3   Q     And in your twenty-four years of experience in this

 4   industry, are you familiar with each of the companies

 5   included in the pure play?

 6   A     I have probably worked on purchasing or selling 250

 7   television stations in my career and I know all of those

 8   companies well.

 9   Q     All right.    And I've looked to the right-hand side in

10   the multiples under TV broadcasting and there's a red box

11   around the mean under pure play and --

12   A     Yes.

13   Q     -- why is that boxed?

14   A     Well, in this particular circumstance there really are

15   three companies that I -- I thought we should look more

16   closely at than purely the mean.         But the mean was actually

17   a useful -- a useful point of reference and it helped

18   underpin the upper end of the range we were prepared to use

19   in ascribing to our station business.             But there -- it's

20   fair to say that we gave greater focus to a couple of others

21   as well.

22   Q     Which are those, the ones you gave greater focus to?

23   I'm sorry.

24   A     It would be -- it would be Bilow, Lynn [ph] and to a

25   lesser extent Sinclair for --
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 170 of 258
                                                                          170
 1   Q       I --

 2   A       -- for differing reasons.

 3   Q       Could you go through those reasons?

 4   A       Bilow owns stations on large markets the way Tribune

 5   does in large markets.      It owns Dallas, Houston, Seattle,

 6   Portland, Phoenix, and almost all of them are top

 7   affiliates.     And when I say -- that's a term, I shouldn't

 8   say that.      They are -- they are typical big four affiliates.

 9   ABC, NBC, CBS or Fox.

10           Lynn has certain other stations that are down in term

11   of market size, also has a few large markets.              Again,

12   operates at high margins, attractive margins and owns some

13   larger markets.

14           Sinclair we include because it tends to be in large

15   markets and also owns a fair number of network affiliates

16   which are not with the top four.          Ad because analysts and

17   investors have a slightly different view of those kinds of

18   assets versus traditional ABC, NBC, CBS and Fox assets, I

19   thought it was important to look at Sinclair.              But when you

20   look at the dispersion of those multiples from 6.9 to 7.6,

21   you -- you start to see how we arrived at our -- which is

22   your next question about your six-and-a-half to seven-and-a-

23   half multiple.

24   Q       And what type of affiliates does Tribune's TV stations

25   have?
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                                                                          171
 1   A       It's mixed, but the vast majority are the C and W.

 2   Q       Did you include Gray in your selection of the

 3   multiple?

 4   A       We did include Gray in the calculation or the

 5   tabulation of the mean or the median.             It's a company I know

 6   very, very well.     As I think it's been previously stated,

 7   it's got a great deal of leverage and a very small equity

 8   market cap, and it operates, I believe it's largest market

 9   is Number 72.   So it's quite small and not really the best

10   peer.

11   Q       And you preempted my question, so I am going to ask

12   next, how did you use the comparable companies on the right

13   side of the page to derive your -- your multiple range of

14   6.5 to 7.5 contained in the box on the left-hand side of the

15   page?

16   A       We established the high end of the range as the mean

17   which we triangulated back to look at the other peers to

18   conclude is it likely that we were too low or too high, and

19   concluded that the seven-and-a-half multiple was supportable

20   by that mean and also by looking at the others that are

21   there, and took a one multiple turn reduction down to six-

22   and-a-half, looked back to see does that seem supportable by

23   comparison to the other multiples that are -- that are

24   available to us and concluded that was an appropriate range.

25   Q       Did you do something similar to cable?           Maybe we can
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                                                                            172
 1   walk through cable.     Which -- which comparable companies did

 2   you look at to value Tribune's cable operation?

 3   A     We looked at the three at the bottom right quadrant of

 4   that page with the greatest focus on -- on Discovery and

 5   Scripts, and -- and looked at the mean and median of that

 6   peer group, Viacom, Discovery and Scripts which are all peer

 7   play cable programming enterprises.

 8   Q     What is the Tribune's cable programming?

 9   A     Well, it runs a superstation called WGN in Chicago

10   which is a general entertainment station that broadcasts in

11   about 71 million, I believe, Nielson homes and it is a

12   general entertainment station.

13   Q     Does it have a substantial or any amount of original

14   programming?

15   A     Not a -- not a substantial amount of original

16   programming.   In fact, the majority of its programming is --

17   is really syndicated content and there's a little bit of

18   stuff, but not much compared to its cable programming

19   brethren over here to the right.         This value -- this asset

20   is one that is -- it would have been uncharitable to place a

21   six-and-a-half to seven-and-a-half multiple on a station of

22   that kind.   So we looked at the cable programming universe.

23   It's fair to say that many people wouldn't consider WGN in

24   the cable -- a true cable programming company.             But it is

25   much more like a cable programming company, it seemed to us,
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                                                                         173
 1   than it was a station business.

 2   Q     And how did you select the multiple of seven to eight?

 3   A     We -- we looked at the mean of 9.1 among the peer

 4   group that our -- seven to eight is -- the seven to eight

 5   you've circled, actually, it pertains to the group

 6   allocation, not to the actual value --

 7   Q     Oh, I'm sorry.

 8   A     -- of the cable programming.

 9   Q     Eight --

10   A     That's okay.

11   Q     Eight to nine.

12   A     Eight to nine.

13   Q     Thank you.

14   A     Right.   The nine times multiple was underpinned by the

15   mean of the peer group and we took a one-multiple point turn

16   to establish a fair range of value, which you see there at

17   eight to nine, and we multiplied that by its 2011 estimate

18   of EBITDA.

19   Q     Did you also perform a DCF for the broadcasting

20   business?

21   A     Yes, we did.

22   Q     Is that shown -- summary of that shown on Page 8,

23   Slide 8?

24   A     Yes, it is.

25   Q     Could you just briefly describe the way you performed
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                                                                         174
 1   your DCF?

 2   A     Very similar to the methodology I described in the

 3   publishing arena well known to, I'm sure, many people here

 4   with one important exception; that in determining the

 5   appropriate terminal value for this enterprise, we continued

 6   to utilize the multiple of the end multiple -- the terminal

 7   multiple coming from a peer multiple as opposed to a

 8   perpetuity growth methodology.

 9   Q     Okay.    And I would like you to turn back to Slide 6,

10   please, Mr. Chachas.

11   A     I'm there.    Yes.

12   Q     Would you describe the weighting that you gave to the

13   various methodologies on Slide 6?

14   A     Yes.    In this circumstance we weighted the discounted

15   cash flow analysis sixty percent and the comparable company

16   analysis forty percent and, again, I'll remind you we didn't

17   place any weight on that line called precedent transactions

18   in the center.

19   Q     Why did you weight comparable companies the way you

20   weighted comparable companies, why the mix?

21   A     Each time I have valued a company I try to apply my

22   judgment from my accumulated years of working on it -- in

23   the industry and my knowledge to ascribe an appropriate

24   weighting.    And in instances where you have cash flows of a

25   business, of that business itself, it is a very valuable and
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                                                                            175
 1   useful tool.

 2         And in this circumstance, particularly when it looks

 3   like that business is continuing in a manner relatively

 4   consistent, which is to say there's not enormous change, the

 5   discounted cash flow analysis was a very informative tool

 6   and the comparable company analysis also informative, though

 7   I determined that it could -- it could suffer a slightly

 8   less weighting given the differences -- the inherent

 9   differences between the businesses.          So we chose sixty/forty

10   as the range -- as the weighting, excuse me.

11   Q     And in that -- that's sixty percent discounted cash

12   flow and forty percent comparable company?

13   A     Yes.

14   Q     And next line on the blow-up that's next to you is

15   other wholly owned assets and I can see that that went up 17

16   million.   Do you know why the value of other wholly owned

17   assets went up 17 million?

18   A     I believe it went up because the peer multiple -- I've

19   got to go back and look.     I believe the peer multiple --

20   these are small assets.     Tribune Media Services we valued

21   using several methodologies, all three methodologies, and

22   then there's a tiny other asset in there as well.              But I

23   think it was largely driven by a focus on the 2011 cash flow

24   as opposed to 2010 and a 2011 cash flow, so cash flow went

25   up, and then the multiples.
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                                                                           176
 1   Q     And -- and that actually reminded me, did you use 2011

 2   EBITDA when you were valuing the TV stations?

 3   A     TV stations differently than cable programming.               Cable

 4   programming yes, we used 2011 estimates solely.             In

 5   programming -- in station businesses today, this is -- this

 6   sort of evolved five or seven years ago where the political

 7   environment started to spend enormous sums of money every

 8   other year.   It's become a very significant piece of the

 9   broadcast station business and one that's not easily

10   predicted, so it's quite spiky.        The custom in valuing these

11   assets has been to use a blended average of two rolling

12   years to capture that -- that distinction in the business

13   and we did that here, '10 and '11.         We used '10 and '11 for

14   numbers.

15   Q     If you look back at Page 2, which is the blow-up, I'm

16   going to turn to the next line which is -- I'm going to come

17   down to the next line that has a larger number which is non-

18   controlled investments.     Do you see where I am?

19   A     Yes, I do.

20   Q     And the increase is 357 million there.            Is that right?

21   A     Yes.    That's right.

22   Q     And what accounts for that increase?

23   A     These are --

24   Q     Well, I'm sorry.     Let me ask you first what are

25   Tribune's non-controlled investments?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 177 of 258
                                                                         177
 1   A       There are several, the largest of which is a 31.3

 2   percent interest in the food partnership, the TD Food

 3   partnership.   There is a thirty -- I believe, 30.8 percent

 4   economic interest in Career Builder, and I believe a 27.8

 5   percent economic interest in a partnership called,

 6   Classified Ventures.     They also own a couple of smaller

 7   minority assets as well, one I think called, Legacy and the

 8   other called, Topics.     But the key ones would be the food

 9   partnership interest and the Classified Venture interest and

10   the Career Builder interest.

11   Q       And let me ask that question again about what caused

12   the increase of 357 million in Tribune's non-controlled

13   investments?

14   A       The bulk of the value was a calculated increase in the

15   value of -- of the food network and the rest came from

16   increases in values of Classified Ventures and Career

17   Builder under our analysis.

18   Q       Could you please turn to Slide 9?         What does Slide 9

19   show?

20   A       Slide 9 is a summary of various valuation exercises to

21   put a value on the minority interests, which I mentioned

22   before.   I missed one.    I'm sorry.      I forgot to mention Home

23   Finder.   But it had no value so it didn't matter.

24           So it's a summary of the value of each of these

25   minority components of the valuation.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 178 of 258
                                                                         178
 1   Q      And the range of value, what is the range of value for

 2   the Tribune minority investments in your January work?

 3   A      It's summarized in the blue bar, the light blue bar

 4   that says two-billion-oh-sixty-six to two-billion-three-

 5   eighty-five with a point estimate of two-billion-two-twenty-

 6   six.

 7   Q      And that two-billion-two-twenty-six, does that -- is

 8   that what comes back to Page 2?

 9   A      Yes.   I believe so.      Yes.

10   Q      Why don't we start with the largest one here, which is

11   the TV Food Network.     Do you have experience or do you

12   understand -- let me just -- what is TV Food Network?

13   A      TV Food Network is a highly popular genre specific

14   cable programming service that broadcasts original

15   programming about food.

16   Q      And who is the other partner or partners in the TV

17   food partnership -- TV Food Network partnership?

18   A      The managing partner is Scripts, and to be precise

19   Scripts Networks.    There was a point when Scripts was

20   altogether as one company.       It broke into two companies.

21   Scripts Networks now owns the cable programming assets and

22   E.W, Scripts owns the TV and newspaper assets, but it's

23   Scripts.

24   Q      Do you have any experience on working with Scripts

25   outside of Tribune?
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 179 of 258
                                                                               179
 1   A       Yes, I do.    The first assignment I ever did in 1987

 2   was for the E.W. Scripts Company.          I have a long

 3   relationship and knowledge of this asset and company.                I

 4   have been in there offices 65, 70 times in the last twenty-

 5   four years and have done assignments in some instances, not

 6   as many as I would like, but I've done some assignments for

 7   them.   Yes.

 8   Q       And can you give us just a couple of examples of --

 9   A       Sure.

10   Q       -- the type of the assignments that you've done for

11   Scripts?

12   A       I worked on its initial public offering.            I worked at

13   one juncture in valuing the food partnership itself in

14   relation to a repurchase of a small minority interest by a

15   prior partner.      I have had countless conversations with them

16   about a variety of acquisitions or merger activities.                We

17   have had conversations about the sale of shares of the

18   company.   It has a large family that owns significant

19   shares.    So I -- I'm well versed in the value of the Food

20   Network.

21   Q       Do you continue to talk to people at Scripts?

22   A       All the time, as recently as yesterday.

23   Q       What valuation methodologies did you use to value TV

24   Food Network partnership?

25   A       In this context in January we did comparable company
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 180 of 258
                                                                         180
 1   analysis and precedent transaction analysis.

 2   Q     Would you turn to Slide 10, please?

 3   A     Yes.

 4   Q     What is Slide 10?

 5   A     Slide 10 is a summary of the analysis done in January

 6   with respect to the Food Network summarizing each of the

 7   methodologies and indicating a reference range for the --

 8   for the asset in question.

 9   Q     Could you briefly describe the manner in which you use

10   the comparable company analysis to value the Tribune's

11   minority at least in the partnership?

12   A     Sure.     We had the -- we used -- the best information

13   we have -- again, this is 2011 estimated EBITDA for the

14   company -- for the partnership and 2011 estimated net

15   income.   We concluded a multiple range of eight to nine

16   times forward EBITDA and a multiple range of fifteen to

17   seventeen times forward net income.          Those multiples are

18   derived largely from looking at the parent company itself.

19   Scripts is a well researched, well known nine-billion-dollar

20   highly liquid publicly traded company where a great deal of

21   effort is placed by the investment community to focus on the

22   Food Network.

23         So, frankly, I think it is the -- it is the only peer

24   company you would use to try to ascribe a comparable company

25   multiple to this partnership interest.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 181 of 258
                                                                           181
 1   Q       And looking at the multiples for Scripts, how do you

 2   move from the multiples to Scripts to the multiples that you

 3   have in the middle of this page under the word, "multiple"?

 4   A       Well, the Scripts multiple was -- was higher than

 5   this.   We took a discount of about a turn from Scripts.

 6   First of all, you need to look at Scripts carefully because

 7   to value Scripts on a public company basis, there are some

 8   things you need to do.     So you have to get your multiple

 9   right in the first instance of S&I itself.            That involves

10   doing something that -- that some people don't do, which is

11   a view of its partnerships, its attributable debt, its

12   allocable portion of two partnerships.

13           It has a partnership with Cox Enterprises now on a

14   channel called the weather -- it's called The Travel

15   Channel, and it has the partnership here.            So you have to

16   calculate that the right way.        We calculated the appropriate

17   2011 multiple for Scripts.       We took a modest discount to

18   that to underpin the upper end of the range on EBITDA, same

19   exercise if you look down I believe there's a footnote

20   somewhere that focuses on the net income multiple that we

21   used which was a discount off of Scripts' forwarded multiple

22   of net income, and then we created a range because a range

23   is appropriate in coming to a judgment about the value.

24   Q       Why would you take a discount off the Scripts multiple

25   for your high end?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 182 of 258
                                                                           182
 1   A       Scripts is -- it has the benefit of multiple networks,

 2   two very popular and successful ones in Home and Garden, and

 3   Food.   It also owns other assets such as DIY, the Great

 4   American Country. It's a collection of assets and this is as

 5   attractive an asset as it is.        It's a single asset and it

 6   was our belief that certainly an investor's not going to pay

 7   the same price for a thirty-one percent interest in a unique

 8   asset relative to a distributed collection of assets that it

 9   could buy in a liquid case in -- in Scripts.

10   Q       You said you also used a precedent transaction

11   methodology to value TV Food Network partnership?

12   A       Yes, we did.

13   Q       And could you briefly describe how you did that?

14   A       I looked at a long list of different sales of cable

15   programming assets and there aren't very many which are good

16   precedents that are recent and usable.            We considered a

17   couple and in the end focused on one which was Scripts'

18   purchase itself of the Travel Channel, which had about 80

19   million homes, had a comparable amount of license fee,

20   slightly higher license fees interestingly than Food has,

21   and concluded that that multiple, which I believe was 13.7

22   on a forward basis was the only recent and good peer.               You

23   could have looked for other things, but we -- we chose that

24   one.    We ascribed a high end multiple range of fourteen and

25   a two-turn -- two-turn range so twelve times to fourteen
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 183 of 258
                                                                           183
 1   times, and applied that to a -- to a -- the food partnership

 2   figures to arrive at a value.

 3   Q       Now you only used one transaction.            Is that what you

 4   said?

 5   A       Yes.

 6   Q       Why do you still have a range?

 7   A       Ranges are appropriate in businesses, in valuing

 8   business.      Single estimates to me are -- are misleading and

 9   we generally have erred in all of our work here at the

10   higher -- trying to make sure we give higher credit at the

11   high end of value.      Frankly, I think the value of 13.7 for a

12   control stake, a hundred percent control -- a control stake

13   in the partnership that involves travel is a very full

14   multiple.      And it seems to me that the appropriate way to do

15   this is always to have some range of -- of value if you're

16   trying to draw a proxy to a particular asset.

17   A       It was one.

18   Q       Why didn't you include The Weather Channel in your

19   analysis of -- and rely on that in selecting your multiple?

20   A       I didn't have a lot of confidence that the market

21   multiple that was being talked about and reflected in

22   various industries -- industry data of 13.8 or 13.9, I can't

23   remember which it is -- I didn't have a lot of faith that

24   that multiple actually reflected what I thought NBC and

25   Providence Equities and the other financial partner were
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 184 of 258
                                                                         184
 1   really paying to buy the asset.        That was the first instance

 2   -- issue is I believe that the adjustments that they had

 3   made in their estimates of cash flow suggested they were

 4   paying -- and they believed they were paying considerably

 5   less, but then there are other attributes.            There are

 6   attributes of the business itself, weather as a -- sorry,

 7   weather as an asset, as an informationally-oriented cable

 8   programming business with a high degree of traffic and

 9   volume coming from its web business compared to travel,

10   which is an original programming, genre-specific, lifestyle

11   sort of channel, much more comparable to the asset in

12   question here in food.     It was a better choice.

13   Q     And turning back to slide ten, can you explain to the

14   Court how you weighted the methodologies that you looked at?

15   A     Yes.   We placed 70 percent of the weighting on the

16   comparable company analysis and 30 percent of the weighting

17   on the precedent transactions.

18   Q     Are you aware that Lazard had performed, at one point

19   in time, a DCF for TV Food Network partnership?

20   A     I was aware that that work was going on.             I was gone

21   at that time at the firm we had.         I was just leaving, I

22   believe, in March or February of 2010 when the discussions

23   began about Tribune's need to put some capital in because

24   Scripts was going to put money in.         So, yes, I was aware

25   that analysis was done, but I was not part of that.
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 185 of 258
                                                                             185
 1   Q       Would you turn -- take a look at slide 11, please.              Is

 2   this the -- your understanding that this is the DCF that

 3   Lazard had prepared?

 4   A       Yes, it is.

 5   Q       And you reviewed this -- did you review this in doing

 6   the work that you did in January?

 7   A       Yes, I reviewed it.

 8   Q       And how does the information on slide 11, how did that

 9   affect your analysis of the TV Food Network partnership?

10   A       It did not affect my analysis in terms of driving my

11   conclusions about the value of the asset.              These were based

12   on forecasts I believe, which were February or March of

13   2010.   I'm not sure these forecasts actually even

14   incorporate the cash flows of the Cooking Channel, which is

15   now a material piece of the partnership.              I looked at the

16   value range that's revealed in the lower middle-right

17   quadrant down in the center of this page of three-billion-

18   six-forty-one to four-billion-one-oh-eight and concluded it

19   was comparatively similar to values while were being

20   revealed by other methodologies and consequently didn't

21   spend any more time on it.

22   Q       Do you know why you didn't do -- or why didn't you do

23   a DCF in your analysis in January?

24   A       In my loan work, I was asked to begin to look at the

25   value of the company as of October and to have a point of
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 186 of 258
                                                                          186
 1   view about whether that value was still a relevant value.                I

 2   was satisfied by the methodologies that I had employed in

 3   January with respect to this partnership combined with my

 4   knowledge about what is happening in this partnership to

 5   have a very good sentiment that we had given it a very full

 6   value, indeed, and I didn't feel that that was a material

 7   omission in any way that needed to be dealt with.              And I'm

 8   not sure we could have gotten it anyway.

 9   Q     What do you mean you're not sure you could have gotten

10   it?

11   A     Scripts has never been particularly forthcoming with

12   long-range forecasts on any of its networks, I can assure

13   you, and in this instance, I think the only reason that

14   Tribune even had access to this was that there was an inter-

15   -partnership negotiation over the relative value of Cooking

16   going in versus Food, which is already there.             Otherwise, I

17   don't think Tribune has access to any kind of information

18   like this.

19   Q     Would you turn back to Page 10, please.

20   A     Sure.

21   Q     Or maybe you've never moved from it.

22   A     I think I have it memorized.

23   Q     Did you take any discounts for lack of marketability

24   or lack of control for your value of the TV Food Network?

25   A     I wrote in my report that I believe that discounts are
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 187 of 258
                                                                          187
 1   appropriate in these non-controlled assets.            In Lazard's

 2   work, it had not, and it did not in October, and it's not

 3   reflected in the numbers that are here.

 4   Q     Could one be justified?

 5   A     One absolutely can be justified.            I know a great deal

 6   about his partnership, and I think there is a great deal of

 7   academic work supported by the facts of the partnership that

 8   would suggest that a minority discount and a liquidity

 9   discount, a salability discount, there are a variety of ones

10   that might be applicable here.        We elected not to change

11   what had already been done in October, but I felt very much

12   that there is a reason to apply such discounts.

13   Q     And if a discount would -- was applied, what would

14   happen to the value?

15   A     I'm sorry?

16   Q     If a discount was applied, what would happen to the

17   value of TV food network?

18   A     The value indicated in this page would be lower.

19   Q     Could you turn -- please turn to slide 12.             Would you

20   briefly tell the Court what slide 12 shows.

21   A     Slide 12 is similar to the prior ones on publishing

22   and on broadcasting.     It is a summary of the valuation of

23   the CareerBuilder stake.

24   Q     And what is CareerBuilder?

25   A     CareerBuilder -- sorry, pardon me.            CareerBuilder is a
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 188 of 258
                                                                         188
 1   web-based business that assists people seeking employment.

 2   It's a job site.

 3   Q        In your work in January, how did you value the

 4   CareerBuilder -- the minor -- Tribune's minority interest in

 5   CareerBuilder?

 6   A        We used comparable company analysis as the means of

 7   ascribing a value to the 30-percent interest that they

 8   owned.

 9   Q        And looking in the middle of the page under the word

10   Operating Metric, what operating metric was used for -- to

11   value CareerBuilder?

12   A        Well, we looked at -- we looked at all of these

13   operating metrics of 2011 revenue and EBITDA and net income.

14   We looked at them all.     I personally have a strong sentiment

15   that in valuing enterprises like this, you really need to

16   look at EBITDA more than any other.          Valuing a dollar of

17   revenues can be very misleading if the contribution margin

18   of those businesses varies a great deal.            And while

19   multiples in the marketplace sometimes catch up with it,

20   it's not always the case.        But we did, because we had a

21   single methodology we felt comfortable using, used all of

22   these metrics in arriving at the reference range that's

23   indicated.

24   Q        And why did you only use the comparable company

25   methodology?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 189 of 258
                                                                         189
 1   A      We didn't feel that we had good forecast by which to

 2   do.   We don't control or run this business.           We don't have

 3   employees in this business.       We didn't feel that we had good

 4   information by which to utilize or deploy a DCF analysis and

 5   really didn't feel that there were very good precedent

 6   transactions to use at all.

 7   Q      Did you apply a discount for lack of marketability or

 8   for illiquidity to your value of CareerBuilder?

 9   A      No, we did not.

10   Q      Could you have?

11   A      I would have done so, yes.        I think it's a good idea.

12   Q      And what is your valuation of CareerBuilder in

13   January?

14   A      The 30 percent -- the 30.8-percent economic range

15   that's indicated as in the blue bar down below, 375 to 440.

16   Q      Could you turn to slide 13, please.

17   A      Yes.

18   Q      What does slide 13 show?

19   A      Classified Ventures is a joint-venture partnership, if

20   you will, by a -- it's an independent entity in which

21   Tribune has an economic interest, and this is a summary of

22   the valuation analysis.     We did it concluding a value of

23   their 27.8-percent interest.

24   Q      How did you value Career -- I'm sorry, Classified

25   Ventures in January?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 190 of 258
                                                                         190
 1   A     We suffered from the same limitation and focused on

 2   the comparable-company methodology.

 3   Q     And what do you mean by the same limitation?

 4   A     There really aren't a great set of precedent

 5   transactions, and nor did we have access to forecast data in

 6   order to do a DCF analysis, so we relied upon the

 7   comparables, which themselves are limited.

 8   Q     Did you apply a discount for lack of marketability or

 9   illiquidity to your valuation of Classified Ventures?

10   A     No, ma'am.    Once again, we didn't apply any discount

11   in this value.

12   Q     In your opinion, for Classified Ventures, could one be

13   justified a discount?

14   A     Yes, indeed.

15   Q     I'd like you to turn back to the -- it's the blowup

16   right next to you, but it's also Page 2 in your binder, if

17   you prefer.   Just let me know when you get there, Mr.

18   Chachas.

19   A     I'm here.     Got it three ways.

20   Q     See that the midpoint in January is 7,019, correct?

21   A     That's right.

22   Q     And that's as compared to a midpoint in October of

23   6.75 million, right?

24   A     That's right.

25   Q     And that's a $269 million rise in value, right?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 191 of 258
                                                                         191
 1   A     Yes.

 2   Q     Yet you testified that 6.75 billion was still

 3   reasonable.

 4   A     Yes.

 5   Q     Why is that?

 6   A     I believe, based upon the total facts and

 7   circumstances and the value of all the pieces of this

 8   enterprise, that in looking at the changes that had occurred

 9   between the October timeframe and the January timeframe,

10   which as you can see, the businesses which we run and

11   operate have declined value, and those are the ones that

12   Tribune has influence over.       Tribune can deploy capital,

13   change direction and create value for its stockholders, its

14   owners.   In the case of these non-controlled investments,

15   you are very much an owner of an asset, which we, by the

16   way, probably can't sell very easily, and we have no

17   influence or very, very little influence other than some

18   representation, and I believe that the increase in value

19   that's indicated at $269 million is not sufficient to

20   warrant changing my view that the reasonable value, the

21   value of six-billion-seven-fifty as a point of value for the

22   June date, June 30th, is a reasonable number, an appropriate

23   number.   And further, I wrote and I believe that if you

24   apply any kind of reasonable discount to these non-

25   controlled investments and that range academically runs from
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 192 of 258
                                                                         192
 1   as low as ten to as high as 30 percent, the entire increase

 2   that's attributable with these non-controlled minority

 3   interests goes away, and consequently, there was -- there

 4   could be no change in the value whatsoever.            So I am

 5   comfortable and believe that the six-billion-seven-fifty

 6   figure is appropriate.

 7   Q     But what would happen if you applied a ten-percent

 8   discount?

 9   A     Ten percent based on --

10   Q     I'm sorry, to the minority investments.

11   A     Ten percent of 200 -- two billion -- 226 million would

12   be a reduction of 225 million, so we'd be left with a

13   difference of 269 minus 223, 35-million dollar, an

14   insignificant and [indiscernible- 2:40:37] number.              A

15   discount of 15 percent would take you to a point where the

16   actual value range is lower than the six-billion-seven-

17   fifty, and as I said before, these valuations are dynamic.

18   They change at all times.        I think the value that we had in

19   January is very much supported and supports the six-billion-

20   seven-fifty conclusion.

21   Q     Would a ten-percent discount, in your experience, be

22   an aggressive or conservative discount?

23   A     I think a ten-percent discount, given what I believe

24   to be the case, particularly in the Food partnership, would

25   be an extremely -- extremely modest discount.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 193 of 258
                                                                         193
 1   Q     If -- Mr. Chachas, are you able to come back for

 2   rebuttal testimony if you're asked?

 3   A     If you must, yes.

 4   Q     Thank you.

 5                 THE COURT:    Cross examination.

 6   MR. QURESHI:    Thank you.     Your Honor, the binders that I

 7   handed out for the cross examination of Mr. Mandava, we'll

 8   be using again, so if you have that available.

 9                              CROSS EXAMINATION

10   BY MR. QURESHI:

11   Q     Mr. Chachas, good afternoon.

12   A     Hello.

13   Q     Sorry.    We're just getting you a binder.           It should be

14   up there somewhere.     Mr. Chachas, we met at your deposition,

15   but for the record, my name is Abid Qureshi of Akin Gump on

16   behalf of Aurelius.     So were you in the courtroom for Mr.

17   Mandava's testimony this morning?

18   A     Yes, I was.

19   Q     Okay.    And did you also discuss with Mr. Mandava his

20   testimony during the lunch break?

21   A     I did not.

22   Q     Okay.

23   A     I congratulated him on his completion.

24   Q     And having heard his testimony, did you agree with

25   everything you heard from Mr. Mandava?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 194 of 258
                                                                              194
 1   A     I agreed with -- yes.       Yes.

 2   Q     Okay.    So would it be fair for me to assume that if I

 3   asked you the same questions I asked him, I would generally

 4   get the same answers?

 5   A     I think in general, you probably would.

 6   Q     Okay.    Well, let's see if I can come up with something

 7   new then.    Mr. Chachas --

 8                 THE COURT:   I'd be grateful.

 9   A     Me, too.

10   BY MR. QURESHI:

11   Q     Well, let's -- let me just clear one thing up.                In

12   your direct testimony, you used the word "we" a lot, and I

13   just want to be clear that when you used "we" and you were

14   talking about the October valuation, you weren't at Lazard

15   for the October valuation, correct?

16   A     That's right.     If I conveyed the word "we" in that

17   context, that's not what I meant.

18   Q     So you had nothing to do with the preparation of the

19   October report.

20   A     No.

21   Q     Okay.    Your firm, Methuselah, you're the only

22   employee, right?

23   A     Yes.

24   Q     Okay.    And -- well, why don't we turn in your binder,

25   please, to the very first exhibit, which for the record is
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 195 of 258
                                                                         195
 1   DCL Exhibit 1088.    And that is a copy of your engagement

 2   letter, is that not?

 3   A     Yes.

 4   Q     Okay.    And if you'd turn over to the second page, you

 5   will see in the first paragraph it says, you may use the

 6   assistance of the following additional persons at the

 7   following hourly rates.     Do you see that?

 8   A     Yes.

 9   Q     And I gather the idea was that if you needed some

10   additional assistance, your client was authorizing you to go

11   and use the services of some of these people, correct?

12   A     I am in the process of building an investment banking

13   practice and was soliciting employment from a variety of

14   different people, and so, yes, I anticipated the possibility

15   of hiring people and using people, and that was what was in

16   this letter.

17   Q     Okay.    And one of the people that you anticipated

18   hiring was Christopher Saunders, correct?

19   A     Right.

20   Q     And, in fact, isn't it true that Mr. Saunders spent

21   many hours in connection with this engagement for Tribune?

22   A     Mr. Saunders had spent some hours with me, yes.

23   Q     Okay.

24   A     I wouldn't say many hours.

25   Q     Well, let's see what you told me in your deposition.
     Case 08-13141-BLS        Doc 8350-3   Filed 03/14/11   Page 196 of 258
                                                                                  196
 1                   MR. QURESHI:     Can you please play clip number

 2   nine.

 3           (A recording was played.)

 4           "Q      How much time did each of those firms spend in

 5   connection with this engagement for you?

 6           "A      I can't recall.       We were only engaged January the

 7   15th, so we've only been engaged formally for a month.                   I

 8   would suspect in the aggregate, each one -- no, 100

 9   professional hours in each.

10           "Q      Okay.

11           "A      I'd have to go check.

12           "Q      And --

13           "A      Many more hour by myself and by Mr. Saunders."

14   Q       So many more hours than 100 by you and Mr. Saunders in

15   connection with this engagement?

16   A       Yes, by me and Mr. Saunders, yes.

17   Q       Okay.    And isn't it also true that Mr. Saunders, at

18   the time of your engagement letter and at the time of the

19   work, is an employee in the investment bank at Citigroup?

20   A       Yes.

21   Q       And did you know, Mr. Chachas, that -- strike that.

22   Did you ask Sively [ph] in advance or did you tell Sively

23   that Mr. Saunders was an investment banker at CitiGroup?

24   A       I don't believe I had the conversation with him about

25   where he worked.         At the time, I was seeking to employ him.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 197 of 258
                                                                         197
 1   Q     Okay.    And you are aware that Citigroup is one of the

 2   entities that's being released under the DCL plan, correct?

 3   A     Yes, I am.

 4   Q     Okay.    Now, you also used, did you not, the services

 5   of a couple of firms in connection with the work that you

 6   did, Adiology [ph] and Civin [ph].

 7   A     Those are the two firms that were referred to as the -

 8   -

 9   Q     Right.

10   A     -- the ones that had the hours.

11   Q     Right.

12   A     Yes.

13   Q     And I asked you in your deposition if you relied on

14   the work product of those two firms in connection with

15   completing your expert report, and you told me that you had,

16   didn't you?

17   A     Yes.

18   Q     Okay.    And then you also recall that -- well, the

19   description that you gave me at your deposition of the work

20   that these firms did was that they helped you acquire and

21   tabulate information on the industry and on Tribune's peers

22   in connection with your analysis, right?

23   A     Yes.

24   Q     And you recall that at your deposition, I then asked

25   your counsel if I could receive copies of these reports from
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 198 of 258
                                                                          198
 1   these two firms that you relied upon.             Do you remember that?

 2   A     I remember.

 3   Q     And it turns out, Mr. Chachas, if I'm right that you

 4   were mistaken in the deposition testimony that you gave me,

 5   right, that, in fact, you didn't rely upon these reports in

 6   completing your expert report?

 7   A     The expert report pertained purely to the valuation in

 8   January.   I was doing a lot of research about the industry

 9   generally, and the analysis and work that I was doing that

10   involved those firms was a deeper look in the history of it,

11   and it was not germane to the January analysis.

12   Q     Right.     So the hundreds of hours that these firms

13   spent working, all of it, you didn't even request that the

14   work commence until after your expert report was submitted;

15   is that right?

16   A     I'm sorry, I don't understand your question.

17   Q     Well, the work that these firms did that you told me

18   in your deposition --

19   A     Uh-huh.

20   Q     -- mistakenly that you relied upon, isn't it the case

21   that that work was not requested by you until after you

22   submitted your expert report?

23   A     I believe the work that I did with these folks was

24   from the period January 15th through my expert report, and

25   some of that work product wasn't germane to the report that
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11    Page 199 of 258
                                                                            199
 1   I wrote.

 2   Q     Okay.    Well, I'm going to read to you an email that I

 3   received from your counsel.       It's from Ms. Kenny.          I

 4   received it on March the 8th.        Actually, it was written to a

 5   colleague of mine, Mr. Gulati.        And the email reads, "Mr.

 6   Chachas has gone back and looked at the material to which he

 7   was referring," and that's the work of these two firms.

 8   "That material was not requested or received by Mr. Chachas

 9   until after his expert report was submitted."              Is that

10   accurate, sir?

11   A     Could you read it again, please?

12   Q     Sure.    "That material was not requested or --"

13   A     Could you read the whole thing?             Could you read the

14   whole thing, please?

15   Q     Sure.    You know what?     Why don't I hand you a copy.

16                 MR. QURESHI:   May I approach, Your Honor?

17                 THE COURT:   You may.

18                 MR. CHACHAS:   Thank you.

19   BY MR. QURESHI:

20   Q     So you see the top email from Ms. Kenny to --

21   A     Yes.

22   Q     -- Mr. Gulati.

23   A     I do.

24   Q     And it says, "Mr. Chachas has gone back and looked at

25   the material to which he was referring.            That material was
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 200 of 258
                                                                            200
 1   not requested or received by Mr. Chachas until after his

 2   expert report was submitted.        He obviously could not have

 3   relied on that material in preparing his expert report and

 4   does not intend to rely on the material in providing

 5   testimony at the hearing."

 6   A        May I explain to you why that's correct?

 7   Q        So is it correct that you neither requested nor

 8   received that material before submitting your expert report?

 9   A        A great many hours were spent creating analysis that

10   was not needed and was not requested when my testimony was

11   focused on January's valuation, not on the historical

12   performance of the newspaper industry, the historical

13   success or lack thereof, of peer companies in predicting

14   their performance.     A lot of the research that I had

15   commenced early on was not needed and, therefore, not

16   requested.

17   Q        Now, I'm confused.   So at your deposition, you told me

18   that you had these reports, you had this analysis, you

19   relied on it in preparing your expert report.              Not true,

20   right?

21   A        Not in relation to my judgment about the January

22   evaluation, sir.

23   Q        Okay.   Now, Ms. Kenny writes me and says you neither

24   requested nor received the information until after the date

25   of your report, which is February 8th.             Also, not true?
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 201 of 258
                                                                         201
 1   A     Correct.

 2   Q     Okay.   So what is true?

 3   A     What is true is that I asked and had folks pull for me

 4   enormous amounts of data going back into the

 5   2005/2006/2007/2008 timeframe, and that information was not

 6   necessary in the context of looking at a January evaluation

 7   for the enterprise.

 8   Q     Okay.   Well, if you do come back to testify on

 9   rebuttal, I'd appreciate it if you send me that.             And I will

10   make that request to your counsel.         Now, you departed Lazard

11   in late 2009, correct?     That's -- I should say that's when

12   you announced your departure.

13   A     Yes.    I announced my departure in late 2009.

14   Q     And you formally left by April of 2010.

15   A     That's correct.

16   Q     And between the announcement of your departure in

17   November and when you officially departed in April of 2010,

18   you were in a transitional role, right?

19   A     That's correct.

20   Q     And you were spending much of that time handing off to

21   others at Lazard matters that you have been responsible for.

22   A     That's correct.

23   Q     And also fair to say that during that transitional

24   period, you weren't there a lot.

25   A     I was gone a fair bit, yes.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 202 of 258
                                                                         202
 1   Q       Okay.   And with respect to the March valuation report,

 2   also true that you were not the person that was ultimately

 3   responsible for the preparation of the March report, right?

 4   A       That would be correct.

 5   Q       Okay.   And in fact, most of your involvement in the

 6   March valuation report dated back to the 2009 timeframe

 7   when, I think, as you described it to me at your deposition,

 8   you were developing the framework for that report.

 9   A       Yes.

10   Q       And I think we've established that you had nothing to

11   do with the October report, right?

12   A       Other than the framework continued forward toward

13   October, that's right.

14   Q       Okay.   And the January update was also prepared by

15   Lazard, correct?

16   A       Lazard prepared things, and I was involved in

17   directing what things that I thought needed to be done, as

18   well.

19   Q       Now, let's turn for a moment, sir, to your expert

20   report.    Do you have that in front of you?

21   A       (No audible response)

22   Q       If you refer back to the binder handed to you by your

23   counsel.   I did not put in another copy.           I apologize.

24   A       I've got it.   Yes.

25   Q       I'd like you to turn to paragraph 33.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 203 of 258
                                                                         203
 1   A     Yes.

 2   Q     And if you'd turn to Page 16 of the report, that

 3   paragraph carries over.     And toward the end of that

 4   paragraph, you write, "Management's five-year forecasts also

 5   reflect uncertainty surrounding the ultimate ownership and

 6   leadership of the debtors, which impedes current operating

 7   management's ability to predict whether or not and which

 8   significant capital investments and initiatives will be

 9   undertaken after emergency from bankruptcy to change the

10   publishing business."     Did I read that correctly?

11   A     You read that sentence correctly.

12   Q     Okay.    And when I asked you about that at your

13   deposition, you -- what you told me is that the approach to

14   the business by current management, you used the word

15   "stasis."    Do you remember that?

16   A     I believe I used the word "stasis."            I don't know in

17   what context, but yes.

18   Q     And what you meant by that is that the current

19   management team will leave the business as is, they won't

20   presume any great change that leads to a particular end in

21   the forecast, right?

22   A     I think what I meant was that the absence of clarity

23   led to a stasis, that people didn't tend to take the steps

24   or risks necessary to reinvent the business, which is what I

25   think I wrote.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 204 of 258
                                                                         204
 1   Q     Okay.    And then, when I asked you what the basis was

 2   for the statement that there's uncertainty surrounding the

 3   ownership, one of the things you told me is that you don't

 4   believe any of Tribune's current four co-presidents will

 5   emerge as the ultimate CEO of the enterprise, right?

 6   A     I think I said they may not emerge.

 7   Q     Right.   And you also told me that you have received

 8   inquiries from others about finding a candidate to be CEO

 9   for the enterprise, right?

10   A     Yes.

11   Q     Okay.    And those people, in turn, that contacted you

12   told you that they had been contacted by members of new

13   ownership of the company, correct?

14   A     They had been contacted, yes.

15   Q     Okay.    And do you know who the new ownership of the

16   company is under the DCL plan?

17   A     I think it's a collection of different owners of the

18   senior claims in the company.

19   Q     And do you know who the largest owners of the senior

20   claims are?

21   A     I believe that some of the largest owners would be JP

22   Morgan, Angelo Gordon, Oaktree would be the three largest

23   that come to mind.

24   Q     Okay.    Now, the diligence that you did in connection

25   with the projections --
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 205 of 258
                                                                         205
 1   A     Yes.

 2   Q     -- you got hired in mid-January.            You had two

 3   meetings, right?    You flew out to Los Angeles, you met with

 4   Mr. Hartenstein for an hour and 15 minutes, I think you told

 5   me.

 6   A     That sounds right.

 7   Q     And then you had a second meeting in Chicago sometime

 8   late January/early February, right?

 9   A     Yes.

10   Q     Okay.   And isn't it also true that during those

11   meetings -- well, let me back up.         You were aware, I gather,

12   when you dusted off the box, so to speak, that Tribune

13   substantially outperformed 2010 projects, correct?

14   A     Yes, I was.

15   Q     Okay.   And when you had those meetings with

16   management, you never asked them if they intended to update

17   their long-term projections in light of their 2010

18   outperformance, correct?

19   A     I don't recall whether I did.          I think we asked did we

20   have the most accurate long-range forecast to use.

21   Q     And the October report, you're aware that that

22   includes projections going out to 2015, correct?

23   A     Yes.

24   Q     And back in March, when you were still involved, the

25   projections only went out to 2014, correct?
     Case 08-13141-BLS     Doc 8350-3   Filed 03/14/11   Page 206 of 258
                                                                               206
 1   A        Yes.    As each year passes --

 2   Q        All right.   And --

 3   A        -- a new one was added.

 4   Q        And in your discussions with management, you never

 5   asked them how they arrived at the 2015 numbers; isn't that

 6   right?

 7   A        I believe that I spoke with Lazard about that and was

 8   advised about how the extra year was added at the end.                I

 9   don't believe I spoke to Chandler or to Nils Larsen the day

10   we met about that, no.

11   Q        Or anybody else that managed it.

12   A        I don't think so, no.

13   Q        Okay.   Now, turn to Page 3, please, of the Lazard

14   expert report, which is an exhibit to your report.                It's the

15   executive summary page.        Do you have that in front of you?

16   A        I do.

17   Q        Okay.   And there, you talk about the top-down

18   projections -- or I should say Lazard talks about the top-

19   down projections prepared by the company in October 2010.

20   Do you see that?

21   A        Yes, I do.

22   Q        Okay.   And if you go down a couple of bullet points,

23   there's one that begins, "As a result, some simplifying

24   assumptions were made in Lazard's updated valuation analysis

25   as compared to the approach used in Lazard's March valuation
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 207 of 258
                                                                          207
 1   analysis," and it goes on from there, correct?

 2   A        Yes, it does.

 3   Q        And last Friday, I think it was, when I took your

 4   deposition, you weren't able to tell me what those

 5   simplifying assumptions were, right?

 6   A        I couldn't recall all of those, no.

 7   Q        Now, let's talk for a minute about capital

 8   expenditures.     And I don't -- well, you were here this

 9   morning, so you recall that I discussed with Mr. Mandava

10   publishing projections going out to 2015 that show fairly

11   dramatic decline and straight-line CAPEX that doesn't move,

12   right?

13   A        Yes.

14   Q        Flat for the whole period of the forecast.           And, sir,

15   isn't it also true that in your meetings with management,

16   you never asked why CAPEX for publishing would remain

17   constant over a period of time when the EBITDA is dropping

18   as dramatically as it does in Tribune's forecast?

19   A        I don't believe I asked that question, no.

20   Q        Okay.

21   A        We did talk about the fact that they had a mothballed

22   print facility in Los Angeles and several other aspects of

23   their capital plant, but I don't think we talked about the

24   straight-lining of their capital expenditure budget.

25   Q        Okay.   Let's talk about Food Network real quick.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 208 of 258
                                                                         208
 1   A     Okay.

 2   Q     Food Network is a minority interest, you said.

 3   A     Yes, sir.

 4   Q     So isn't it true that because it's a minority

 5   interest, that Tribune can't compel that partnership to make

 6   cash distributions?

 7   A     That's true.

 8   Q     Okay.   And Tribune does not control the timing of cash

 9   distributions from that partnership, correct?

10   A     That is true.

11   Q     All right.    Let's talk about the January update very

12   briefly.   Now, you agree, I'm sure, as Mr. Mandava did, that

13   every valuation expert in doing a valuation should rely upon

14   the most up-to-date information available, right?

15   A     Yes, sir.

16   Q     And as of the February 8th date of the expert report

17   that you submitted, isn't the January supplement the most

18   current estimate that Lazard had prepared of Tribune's

19   distributable enterprise value?

20   A     Yes, it was.    We were aware from our Chicago meeting

21   in February when a board DEC had been finalized, I think,

22   for a board meeting on February 4th that there were some

23   slightly altered or fresh numbers that were immaterial in

24   our overall analysis, so the version we used in January, we

25   believed to be appropriate and adequate.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 209 of 258
                                                                         209
 1   Q     Right.   And turn -- can we go to the January valuation

 2   update, please?     Do you still have that in front of you?         If

 3   you go in the binder I handed you, it's the second tab.             And

 4   for the record, it is NPP 2284.

 5   A     And what page are you on?

 6   Q     If you could turn to Page 6 of that document, please.

 7   A     Yes, I'm there.

 8   Q     Okay.    And this is the page where you'll see at the

 9   top a zero-percent weight was applied to the DCF for

10   publishing, correct?

11   A     Correct.

12   Q     And when a zero-percent DCF is applied to publishing,

13   the total distributable value goes up a little over half a

14   billion dollars from your October estimate of 6.75.

15   A     That's true.

16   Q     Correct?

17   A     Yes.

18   Q     Okay.    And you believe that in the context of the

19   $6.75 billion valuation, even that change, half a billion

20   dollars, is not material; isn't that right?

21   A     I believe I said that a change of that magnitude still

22   didn't arise to something that I think would be sufficient

23   to change my view that the $6.75-billion number was

24   appropriate for a June emergent state.            That's right.

25   Q     And do you know if there was a half-a-billion-dollar
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 210 of 258
                                                                         210
 1   increase in the debtor's enterprise value, who would get the

 2   benefit of that?

 3   A     It would flow through the waterfall to whomever the

 4   owners of the company were, I presume.

 5   Q     And do you think they would find half-a-billion

 6   dollars to be a material amount?

 7   A     I suspect they would.

 8   Q     Okay.

 9                 MR. QURESHI:   Your Honor, may I have a moment,

10   please?

11                 THE COURT:   You may.

12                 MR. QURESHI:   I have nothing further.         Thank you.

13                 THE COURT:   Any -- oh, well let me.         Is there any

14   other cross examination?

15         (No audible response)

16                 THE COURT:   Any redirect?

17                 MS. KENNY:   Yes, Your Honor.

18                          REDIRECT EXAMINATION

19   BY MS. KENNY:

20   Q     When management updated their projections in October,

21   what information did they have about whether they were going

22   to outperform 2010's budget?

23   A     In the October timeframe, I believe the business --

24   the EBITDA of the business, not the revenues of the

25   business, which continue to go down, but the EBITDA of the
     Case 08-13141-BLS      Doc 8350-3   Filed 03/14/11   Page 211 of 258
                                                                             211
 1   business had begun to outperform their month-by-month model

 2   in June, July and August, and I believe they made an updated

 3   estimate based on that information that they were seeing

 4   some improvement relative to their forecast.

 5   Q        Would you please look at Page 6?            I think the last

 6   page we looked at.

 7   A        I'm sorry, what exhibit are you using now?

 8   Q        I'm sorry.    I'm looking at the January supplemental

 9   work.

10   A        Yes.

11   Q        Page 6.

12   A        Page 6, yes.    I'm there.

13   Q        And you see that much of the increase in value on Page

14   6 is a $193-million increase in publishing.               You weren't

15   there.    Page 6 of the January supplement.

16   A        Sorry.    A little paper here.       In the right binder

17   here?

18   Q        Yeah, okay.    Just tell me when you're at Page 6, Mr.

19   Chachas.

20   A        Yeah, sorry.    Just give me one second.

21   Q        That's okay.

22   A        I want to make sure I get the right page.             Too many of

23   these look alike.       The wrong one.

24   Q        If you look at the binder that you were first working

25   with, it says DCL Exhibit 1092.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 212 of 258
                                                                           212
 1   A     I've got it.    Page 6, which has the zero-DCF

 2   publishing weight page on it?

 3   Q     Correct.

 4   A     Yes.

 5   Q     All right.    Is a zero-DCF publishing weight reasonable

 6   in your view?

 7   A     I don't believe it's reasonable.

 8   Q     And why not?

 9   A     In 25 years of doing valuations of businesses, when I

10   have multiple-year forecasts that are created by teams of

11   people that run the assets in multiple geographies and who

12   prepare those numbers, for us to discard them outright seems

13   inappropriate.

14   Q     Do you know why a zero-DCF publishing weight was run

15   on this page, why that was done?

16   A     Yes.   I was part of asking that be run.

17   Q     Why did you ask that it be run?

18   A     The numbers revealed through a DCF analysis on the

19   forecast are sufficiently lower than the comparable company

20   analysis, which is the other employed methodology, but it

21   seemed appropriate to understand the implications.              You

22   know, this is a valuation that's composed of a lot of moving

23   parts, and it's difficult to isolate a particular item.

24   It's very convenient to isolate a particular item, but it's

25   not very helpful.    I wanted to see overall the implications
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 213 of 258
                                                                         213
 1   of different analyses, and since I knew people would look at

 2   the DCF analysis and ask the question, gee, this range looks

 3   lower, I wanted to know what the extreme, which I don't

 4   agree with, to entirely discard the management team's view

 5   of the business, what it would reveal in the value.

 6   Q     And the fact that the increase in -- that leads to the

 7   508 million, that comes from change in the DCF publishing

 8   weight, right?

 9   A     Yes, that's correct.

10   Q     And what was it at the 10/4 number, the weighting of

11   the DCF?

12   A     We --

13   Q     For publishing.

14   A     Thirty.

15   Q     And this shows there already.

16   A     That's right.

17   Q     And did the fact that this is a zero-percent

18   weighting, did that play into your opinion as to whether the

19   $500 million was a number that troubled you?

20   A     I don't --

21                 UNIDENTIFIED MALE:     Objection.      Leading.

22   A     I don't --

23                 THE COURT:   Sustained.

24                 MS. KENNY:   I'll reform the question.

25   BY MS. KENNY:
     Case 08-13141-BLS    Doc 8350-3   Filed 03/14/11   Page 214 of 258
                                                                              214
 1   Q       Did the fact that publish -- this is a zero-DCF

 2   publishing weight, did that have -- play any effect -- any

 3   role in your opinion or analysis of this chart?

 4   A       I placed little weight on the page that contained the

 5   zero-DCF case, and in responding to the question regarding

 6   the relevance of a $500-million item, placed no relevance

 7   there either.

 8   Q       Thank you.

 9                 THE COURT:    All right.     Thank you, sir.       You may

10   step down.

11           (Witness excused)

12                 MR. BENDERNAGEL:     Your Honor, it's ten after

13   3:00.   I know you have a hard stop at three o' clock.               I

14   mean, 3:30.    We can stop right now, or what I'd really like

15   to do is have Mr. Lotsoff, who has been here for the last

16   couple of days, make the proffer with respect to Mr.

17   Dempsey's testimony.       I'm told it won't take more than 15

18   minutes, and --

19                 THE COURT:    Let's go.

20                 MR. BENDERNAGEL:     -- that would seem to fit the

21   schedule.

22                 MR. LOTSOFF:    Thank you, Your Honor.         Jonathan

23   Lotsoff on behalf of the debtors.          We have some binders, if

24   I could approach.

25                 THE COURT:    Certainly.     Thank you.
     Case 08-13141-BLS   Doc 8350-3   Filed 03/14/11   Page 215 of 258
                                                                             215
 1               MR. LOTSOFF:    Your Honor, we would proffer the

 2   testimony of John Dempsey, a partner with Mercer, as a

 3   compensation expert in support of section 5.11 of the DCL

 4   plan.   That section gives the new board discretion to

 5   establish an equity reserve of up to five percent of

 6   Tribune's new common stock for grants over time to

 7   directors, officers and employees.         No objections have been

 8   filed with respect to that maximum five-percent number.                Mr.

 9   Dempsey has already testified as a compensation expert in

10   this court, in person or by proffer, on several prior

11   occasions in support of the debtors' annual incentive plans.

12   His biographical information, qualifications and expertise

13   are already set forth in the evidentiary records in those

14   proceedings, as well as in his expert report for these

15   purposes, which is marked DCL 1105, and that actually is tab

16   two in your binder.     So I'll be brief in the interest of

17   time.

18               Mr. Dempsey started with Mercer in 1985.                Mercer

19   is a global consultation consulting firm offering

20   professional services that include the analysis and design

21   of compensation and benefits programs, but his principal

22   area for approximately 25 years has been executive

23   compensation consulting.     That includes the development and

24   analysis of equity and cash-incentive plans.            It also

25   includes benchmarking or equity reserves against market
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                                                                            216
 1   practice.   And for the past approximately ten years, Mr.

 2   Dempsey has specialized in working with companies undergoing

 3   restructuring, both within and outside of Chapter 11.

 4               If called to testify, Mr. Dempsey would testify

 5   that in the course of his work for the debtors, he has

 6   become familiar with the company's management-compensation

 7   practices and that prior to its Chapter 11 filing, the

 8   company historically has made equity grants to management

 9   employees and directors as part of its regular compensation

10   practices in addition to, in the case of management, base

11   salary and an actual cash-incentive award.            The Tribune

12   incentive-compensation plan is set forth as tab one in your

13   binder, and that is marked as DCL Exhibit 670.             That plan

14   was implemented in 1997 and authorized grants of equity, as

15   well as cash-incentive grants, to officers, directors and

16   employees, and we'd move that that exhibit be admitted into

17   evidence at this time.

18               THE COURT:    Is there any objection?

19         (No audible response)

20               THE COURT:    I hear none.       DCL 670 is admitted

21   without objection.

22         (DCL 670 Exhibit received in evidence.)

23               MR. LOTSOFF:    Mr. Dempsey would testify that the

24   purpose of equity grants is to create long-term incentives

25   for participants that are tied to company performance and
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 1   that, in his opinion and experience, it's critically

 2   important to maintain proper incentives, particularly for

 3   the management team.     Mr. Dempsey would testify that the

 4   compensation committee of Tribune's board has reviewed and

 5   approved the inclusion of section 5.11 in the DCL plan.

 6   Tribune engaged Mercer and Mr. Dempsey to provide an opinion

 7   as to whether that provision, including the authorization

 8   for an equity reserve of up to five percent of common shares

 9   outstanding, is reasonable and market-based.

10              If called to testify, Mr. Dempsey would opine

11   that equity reserves for incentive grants to officers,

12   directors and employees are common among the debtor's public

13   industry peers, as well as among companies emerging from

14   bankruptcy, that the maximum five-percent reserve authorized

15   under the DCL plan is reasonable and market-based relative

16   to the practices of both groups, and indeed, is on the low

17   side of market practices, we'll see in a moment, and that

18   establishing an equity reserve also would be consistent with

19   the historical practices of the debtors.

20              As I noted, Mr. Dempsey, along with others on his

21   Mercer team at his direction, prepared a report documenting

22   his analysis and conclusions with respect to these matters,

23   and that is, again, labeled as DCL Exhibit 1105.             At this

24   time, we'd ask that -- or move that that exhibit be admitted

25   into evidence.
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                                                                           218
 1                 THE COURT:    Is there any objection?

 2                 MR. GOLDEN:    No objection, Your Honor.

 3                 MR. LOTSOFF:   And --

 4                 THE COURT:    DCL 1105 is admitted without

 5   objection.

 6            (DCL Exhibit 1105 received in evidence.)

 7                 MR. LOTSOFF:   Thank you, Your Honor.         You may

 8   want to turn to Exhibit A of that report, which again is

 9   behind tab two of your binder, because I'll be referring to

10   it.

11                 Based on publicly-available data, including from

12   SEC filings and court-approved plans of reorganization and

13   disclosure statements, Mr. Dempsey reviewed the equity-

14   reserve practices of three comparator groups.             The first is

15   a group of nine public-industry peers.            These are all media

16   companies, and these are reflected on Page 7 of Exhibit A,

17   Your Honor.    If the list looks familiar, it's because this

18   is the same peer group that Mr. Dempsey used to benchmark

19   the 2010 MIP program, which was recently approved by this

20   Court.

21                 The second subgroup of comparators is a group of

22   33 companies that exited Chapter 11 since January 1 of 2009,

23   and that list is set forth on Page 8 of Exhibit A.              You'll

24   see some asterisked companies on Page 8.            Those are a subset

25   of nine media-industry peers that had filed for and emerged
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 1   from Chapter 11.    All of the other companies on this list

 2   are of an appropriate asset scope.         They all have assets in

 3   excess of a billion dollars.

 4              The third subgroup of comparators is set forth on

 5   Page 9 of Exhibit A, and that's just for historical

 6   perspective, 11 additional companies that emerged from

 7   Chapter 11 between 2004 and 2008, all of them, again, having

 8   assets in excess of a billion dollars.

 9              Mr. Dempsey then compared the maximum authorized

10   five-percent reserve in the DCL plan to the comparator

11   groups' reserves, and he looked at the reserve as a

12   percentage of common shares outstanding, total authorized

13   shares outstanding, for all comparators, and for the Chapter

14   11 comparators, he also compared the value of the equity

15   reserve as a percentage of total equity value.

16              To determine reserve value for the Chapter 11

17   comparators, when available, Mr. Dempsey looked at the

18   actual equity mix that was utilized by the company as of

19   emergence or shortly thereafter.         Typically, the mix would

20   be a mix of fair-value -- full-value shares or restricted

21   stock units versus stock options.         If that data was not

22   available for a given company, he used, for such company,

23   the average of the 2009-to-2011 comparators, which was 53

24   percent full-value shares, 47 percent options.             And then in

25   valuing the options, he applied a Black-Sholes methodology.
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                                                                               220
 1              Mr. Dempsey would testify that the equity reserve

 2   authorized under the DCL plan, even if established by the

 3   new board at the maximum five-percent amount, is imminently

 4   reasonable and indeed at the lower end of market practice,

 5   and this is, again, true regardless of whether one considers

 6   the reserve as a percentage of common shares outstanding or

 7   the reserve value as a percentage of total equity value.

 8              And if I could direct Your Honor's attention to

 9   Page 7 of Exhibit A.     This, again, is the page that shows

10   the nine public-industry peers, not the bankruptcy

11   comparators.    And if Your Honor would look at the column to

12   the left, you'll see there's a column for current dilution,

13   and then the column to the right is the column for total

14   potential dilution.     The median, the 50th percentile of

15   total potential dilution for the public-industry peers is

16   15.5 percent.   The 25th percentile is 12.9 percent.                The

17   average is 19.5 percent.     And that is in comparison to the

18   proposed maximum Tribune reserve of five percent.              And you

19   look at the current dilution figures to the left, again, the

20   Tribune number is below all three of those parameters.

21              If I could direct the Court's attention to Page

22   11 of Exhibit A.    This is a chart that sets forth a

23   comparable comparison for the various bankruptcy peers.                   The

24   top third of the chart has data for the 2009-to-2011

25   bankruptcy peers.    The second third has data for the media
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 1   bankruptcy peers, which again is a subset of nine companies

 2   of the peer group above.     All of those media bankruptcy

 3   peers, again, are from the 2009-to-2011 period.             And the

 4   last third would be all bankruptcy peers, which would be

 5   2004 to 2011.

 6                At the bottom, you have three alternatives, if

 7   you will, for Tribune company, depending on the assumed

 8   equity mix, which would be determined, of course, by the new

 9   board.    Regardless of the equity mix, the percentage of

10   common shares outstanding comprised of the reserve would be,

11   at most, five percent, and you'll see that in the Tribune

12   box at the left-hand side, five percent for all three

13   alternatives.   And that compares, if you go up that left-

14   hand column, which shows the emergence reserve as a

15   percentage of shares outstanding for the various

16   comparators, again compares very conservatively to the peer

17   groups.    The median for all three of those peer groups is

18   ten percent.    If we look at the 2009-to-2011 peer group, the

19   25th percentile is eight percent.         The average is nine

20   percent.   And the numbers are similar if you go down the

21   list for the other comparators.        The 25th percentile ranges

22   from 7.9 to 10 percent.     The average is from 9 to 9.4

23   percent.

24                In terms of emergence reserve value as a

25   percentage of total-equity value, Tribune's figures again
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 1   would determine -- would be dependent on the equity mix

 2   determined by the new board.       If the new board established

 3   the reserve at the full five percent of common shares

 4   outstanding and granted 100 full-value shares of RSUs, the

 5   emergence reserve value as a percentage of total value would

 6   be five percent.    As you grant more options, the percentage

 7   of total-equity value would fall.

 8               So we've posited just two possible scenarios

 9   here.   One is 75 percent stock, 25 percent options.                Under

10   that scenario, the Tribune reserve would be valued at 4.3

11   percent of total-equity value.        If, instead, you assume 53

12   percent/47 percent split, which is the average again for the

13   2009-to-2011 bankruptcy peers, the value of the Tribune

14   reserve as a percentage of total-equity value would be 3.6

15   percent.   Again, this compares very favorably to all of the

16   bankruptcy comparators.

17               If we look at the 2009-to-2011 subset -- and

18   we're now looking at the far-right column -- the median is

19   6.1 percent, the 25th percentile is 4.8 percent, which is

20   approximately Tribune's value would be if it were granted

21   entirely as stock and funded at the full or established at

22   the full five-percent reserve, and the average is six

23   percent.   And if you look at the other comparators down the

24   line, again, the Tribune reserve value as a percentage of

25   total-equity value, at maximum, would be at or below the
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                                                                           223
 1   25th percentile.

 2                So in sum, Mr. Dempsey would opine that the

 3   proposed reserve set forth in section 5.11 is imminently

 4   reasonable and conservative relative to market practice,

 5   both of the public-industry peers and bankruptcy

 6   comparators.   We'd also ask that the Court take judicial

 7   notice of two expert compensation consultant reports that

 8   were filed in the Spansion case.         One is an expert report of

 9   Pearl Meyer of Steven, Hall and Partners.            The other is a

10   report of Todd McGovern of Hewitt Associates.             Those are

11   respectively marked as DCL Exhibits 970 and 971.             They are

12   set forth in tabs three and four of your binder.             The

13   purpose is not to necessarily introduce the opinions per se

14   as they related to the Spansion reserve, but just to show

15   that there are two other recent studies that were done that

16   come up with results that are entirely consistent with Mr.

17   Dempsey's.

18                In that case, Ms. Meyer and Mr. McGovern looked

19   at 17 companies that emerged from Chapter 11 in Delaware

20   between January 1, 2009 and April of 2010, and they found

21   collectively that the median reserve was ten percent of

22   common shares outstanding.       The mode, or most frequently

23   occurring, value was ten percent, and the mean was 9.3

24   percent.   So, again, the Tribune proposed maximum reserve

25   comfortably fits within those parameters, as well.
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                                                                         224
 1                 So for that limited purpose, we would also move

 2   that those two reports be admitted into evidence, Your

 3   Honor.

 4                 THE COURT:    Is there any objection?

 5                 MR. GOLDEN:    No objection, Your Honor.

 6                 THE COURT:    I hear none.     They're admitted

 7   without objection.

 8            (DCL Exhibits 970 and 971 received in evidence.)

 9                 MR. LOTSOFF:   And that concludes my proffer.

10                 THE COURT:    Okay.   Well, let me ask for the

11   record.    Does anyone wish to cross-examine Mr. Dempsey?

12            (No audible response)

13                 THE COURT:    I hear no response.       Thank you.

14                 MR. LOTSOFF:   Thank you, Your Honor.

15                 THE COURT:    Mr. Bendernagel, anything further for

16   today?

17                 MR. BENDERNAGEL:      No, Your Honor, except for to

18   just point out we'll start Monday morning, I believe, at

19   10:00 a.m. with Mr. Whitman, followed by Mr. Hartenstein.

20   It might be helpful to get some visibility as to what -- at

21   that juncture, we'll be pretty much finished with our

22   presentation.    It'd be helpful to know where the noteholders

23   are going before weekend starts.

24                 THE COURT:    Doesn't look like they're going

25   anywhere at the moment.      I think they're here until the end.
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                                                                             225
 1              MR. BENDERNAGEL:       I meant immediately after Mr.

 2   Hartenstein.

 3              MR. ZENSKY:     Good afternoon, Your Honor.              David

 4   Zensky of Akin, Gump, Strauss, Hauer and Feld for the

 5   record.

 6              I'm surprised to hear Mr. Bendernagel put it that

 7   way because we've been discussing the past 24 to 48 hours

 8   exactly where we're going, but I assume he was asking me to

 9   apprise Your Honor of where we're going.

10              MR. BENDERNAGEL:       That's a reasonable assumption.

11              MR. ZENSKY:     So if I understand it, if the

12   debtors -- debtor committee lender plan concludes their case

13   sometime around lunch, we will be prepared to begin ours,

14   and we've notified the debtor committee lender plan

15   proponents of at least the order of our first three

16   witnesses, and we would likely include a short showing of

17   certain video deposition, and we will be sharing the exact

18   designations with the other side by tomorrow.             They've

19   requested the opportunity to show whatever appropriate

20   counter-designations may be warranted, and we'll be meeting

21   and conferring about that over the weekend.

22              Our first witness will likely be our valuation

23   witness, Mr. Sing, followed by Mr. Groper, and then followed

24   by Dr. Baron [ph].    So that should take us at least through,

25   I believe, the end of Tuesday, and we'll give them, this
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 1   weekend, the order as it proceeds from there, Your Honor.

 2                I do have one question that we didn't have a

 3   chance to talk about because Your Honor came on the bench

 4   and told us when the next set of dates available would be,

 5   and I guess the question is if we finish Thursday, if you'll

 6   be prepared to do your rebuttal case on Friday, which you

 7   are obviously foreshadowing with your witnesses.

 8                MR. BENDERNAGEL:      Obviously, if you finish on

 9   Thursday, we'll be ready to go with the next set of

10   witnesses.

11                MR. ZENSKY:   Okay.

12                MR. BENDERNAGEL:      But I do think it'd be helpful

13   just to -- one other thing.        No, I'll leave it at that.

14                MR. ZENSKY:   Is there anything else, Your

15   Honor --

16                THE COURT:    Yes.

17                MR. ZENSKY:   -- that you need from our side?

18                THE COURT:    No, just one, I would ask that -- so

19   they can be clean this weekend, that you clear the

20   tabletops, although you're welcome to leave all of your

21   other things here as you have overnight.             And secondly, for

22   those who are here from out of town that are staying for the

23   weekend, there will be a Saint Patrick's Day parade

24   tomorrow, so at least there'll be some distraction and

25   entertainment for you.
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 1              MR. BENDERNAGEL:                                Thank you, Your Honor.

 2              THE COURT:                  That concludes this session.                      Court

 3   will stand adjourned.                  Have a good weekend, everyone.

 4              UNIDENTIFIED MALE:                               Thank you.

 5              UNIDENTIFIED MALE:                               Thank you, Your Honor.

 6         (Proceedings adjourned at 3:25 p.m.)

 7                                             CERTIFICATION

 8             I certify that the foregoing is a correct

 9   transcript from the electronic sound recording of the

10   proceedings in the above-entitled matter.

11
                     Digitally signed by Traci Calaman
                     DN: cn=Traci Calaman, c=US,
12   Traci Calaman   o=DiazDataServices, ou=DiazDataServices,
                     email=info@diazdata.com
13                   Date: 2011.04.18 13:35:39 -04'00'                         13 March 2011
14   Traci Calaman, Transcriber                                                     Date
15

16
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